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 12
 13                         UNITED STATES DISTRICT COURT
 14                        CENTRAL DISTRICT OF CALIFORNIA
 15 NANCY SCHLIESER, an individual,
                                                 Case No. 8:19-cv-00443 JAK (PLAx)
    on behalf of herself and on behalf of all
 16 persons similarly situated,
                                                 DECLARATION OF MATTHEW J.
 17                      Plaintiff,              MATERN IN SUPPORT OF (1)
                                                 PLAINTIFFS’ MOTION FOR
 18          v.                                  FINAL APPROVAL OF CLASS
                                                 ACTION SETTLEMENT AND (2)
 19 SUNRISE SENIOR LIVING                        PLAINTIFFS’ MOTION FOR
    MANAGEMENT, INC., a Virginia                 ATTORNEYS’ FEES AND COSTS
 20 Corporation; and DOES 1-50, Inclusive,       AND ENHANCEMENT AWARDS
 21                      Defendants.             Date: December 6, 2021
                                                 Time: 8:30 A.M.
 22                                              Courtroom: 10B
 23
 24
 25
 26
 27
 28
                                                                     8:19-CV-00443 JAK (PLAX)
                                                        DECLARATION OF MATTHEW J. MATERN ISO
                                           1        MOTION FOR FINAL APPROVAL AND MOTION FOR
                                                                               FEES AND COSTS
       ;                                                                                    S
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   1
   2 CHRISTIAN VAN CLEAVE, an
     individual, on behalf of himself and on
   3 behalf of all persons similarly
     situated,
   4
                   Plaintiff,
   5
           v.
   6
     SUNRISE SENIOR LIVING
   7 MANAGEMENT, INC., a Virginia
     Corporation; and DOES 1-50, Inclusive,
   8
                   Defendants.
   9
 10
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 19
 20
 21
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                                                                   8:19-CV-00443 JAK (PLAX)
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                           DECLARATION OF MATTHEW J. MATERN
   1
             I, MATTHEW J. MATERN, hereby declare as follows:
   2
             1.     I am an attorney duly licensed to practice law in the State of
   3
       California. I am the principal of Matern Law Group, PC, Class Counsel and
   4
       counsel of record for plaintiff Nancy Schlieser in the action entitled Schlieser v.
   5
       Sunrise Senior Living Management, Inc., USDC Case No. 8:19-cv-00443 JAK
   6
       (PLAx).
   7
             2.     All of the facts stated in this declaration are based on my personal,
   8
       firsthand knowledge, unless another source of information or belief clearly appears
   9
       from the context, and as to all such matters I believe them to be true. If called as a
 10
       witness, I could and would readily and competently testify to all matters stated in
 11
       this declaration.
 12
             3.     This declaration is submitted in support of Plaintiffs’ Motion for Final
 13
       Approval of Class Action Settlement and Plaintiffs’ Motion for Attorney’s Fees and
 14
       Costs and Enhancement Awards.
 15
                                            The Parties
 16
             4.     Plaintiff Nancy Schlieser (“Schlieser”) is a former hourly, non-exempt
 17
       employee of defendant Sunrise Senior Living Management, Inc. (“Sunrise”) who
 18
       worked in various positions (Marketing Assistant, Director of Community
 19
       Relations and Director of Sales/Director of Sale & Marketing) at Sunrise’s Seal
 20
       Beach facility from May 2005 to February 2018. Plaintiff Christian Van Cleave
 21
       (“Van Cleave”) was employed by Sunrise as a non-exempt employee in the position
 22
       of Activities & Volunteer Coordinator at Sunrise’s La Jolla facility from July 2016
 23
       through November 2018. Sunrise operates senior and assisted living facilities
 24
       throughout the United States, including some 52 in California. (Schlieser and Van
 25
       Cleave will be collectively referred to as “Plaintiffs.” Ms. Schlieser, Van Cleave
 26
       and Sunrise will be collectively referred to as “the Parties”.)
 27
 28
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                                      The Schlieser Action
   1
             5.    On May 7, 2018, Ms. Schlieser retained Matern Law Group (“MLG”
   2
       or “Class Counsel”) to represent her in her claims against Sunrise. Upon being
   3
       retained, MLG investigated and researched Plaintiff’s claims and Sunrise’s
   4
       anticipated defenses. Plaintiff furnished relevant information and documents to
   5
       MLG which MLG reviewed and analyzed. (“Class Counsel” may at times refer to
   6
       MLG and the law firms representing plaintiff Christian Van Cleave.)
   7
             6.    On January 17, 2019, Ms. Schlieser filed a putative class and
   8
       representative action against Sunrise in the Orange County Superior Court, alleging
   9
       violations of California’s labor laws regarding meal and rest breaks; minimum and
 10
       overtime wages; payment of all wages due; required records; wage statements;
 11
       indemnity of employees for necessary business expenses; and for violation of the
 12
       unfair competition law (“UCL”) and for civil penalties under PAGA (“the Schlieser
 13
       Action”). (Ms. Schlieser filed a separate individual employment discrimination and
 14
       wrongful termination action which is pending before this Court, Case No. 8:19-cv-
 15
       00517-JAK-PLA [“Schlieser’s Individual Employment Law Action”] which is
 16
       expressly excepted from the settlement before the Court.)
 17
             7.    Sunrise removed the Schlieser Action to this Court on March 6, 2019
 18
       pursuant to the Class Action Fairness Act of 2005 (“CAFA”), 28 U.S.C. §§1441
 19
       and 1453. (Dkt. 1.)
 20
             8.    Sunrise produced a large volume of documents to Ms. Schlieser,
 21
       including payroll and timekeeping records, wage and hour policies, meal period and
 22
       rest break policies and wage statements, and other employment documents. Ms.
 23
       Schlieser propounded interrogatories on Sunrise, to which Sunrise responded and
 24
       Ms. Schlieser responded to special interrogatories from Sunrise as well as 45
 25
       requests for production and produced over 1,300 documents. Sunrise also agreed to
 26
       let Ms. Schlieser use the data and documents that had been provided for the
 27
       settlement discussions, and as well as PMK depositions and declarations from the
 28
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       Shiferaw action, in order to streamline the discovery process and avoid repetition of
   1
       prior discovery. Based on the information provided by Simpluris, Inc., the
   2
       Settlement Administrator, the Class is comprised of approximately 11,559
   3
       individuals, i.e., 11,566 persons on the class lists provided by Defendant less the
   4
       seven persons that submitted valid requests for exclusion.
   5
             9.     On December 9, 2019, Ms. Schlieser moved for class certification of
   6
       three classes with a hearing date of March 16, 2020. The first class was a Regular
   7
       Rate Class A which was stipulated to by the Parties based on admitted facts which
   8
       establish liability and encompassed “all persons who were employed in the
   9
       positions of Director of Sales and Associate Director of Sales in California from
 10
       July 1, 2016 through the present and who did not execute a Sunrise Senior Living
 11
       Dispute Resolution Agreement.”
 12
             10.    The second class, which was not stipulated to, was the Regular Rate
 13
       Class B and included “[a]ll persons who work or worked for Defendant in the
 14
       positions of Director of Sales, Associate Director of Sales, and Director of Sales &
 15
       Marketing in California from July 1, 2016 through the present.
 16
             11.    The third class, which was also not stipulated to, was the Regular Rate
 17
       Class C and includes “[a]ll persons who work or worked as non-exempt or hourly
 18
       employees of Defendant at one or more of its locations in California at any time
 19
       from July 1, 2016 through the present who were paid Incentive Pay which was
 20
       earned during one or more pay periods in which they were also paid overtime
 21
       wages. The motion was supported by over 400 pages of documentary evidence
 22
       including declarations, payroll records, deposition testimony and other employment
 23
       records.
 24
             12.    On September 19, 2019, Sunrise filed a motion to dismiss Ms.
 25
       Schlieser’s complaint and moved to strike certain allegations. The Court stayed the
 26
       Schlieser Action, pending mediation and ongoing settlement discussions pursuant
 27
       to the Parties’ stipulation. Upon being advised of the Settlement and the Parties’
 28
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       intent to seek court approval of the Settlement in a consolidated action, the Court
   1
       ordered the Parties to file a Joint Status Report regarding, inter alia, the time frame
   2
       for concluding all further proceedings, which the Parties filed on April 15, 2020.
   3
             13.    On December 7, 2018, Mr. Van Cleave filed a putative class action
   4
       complaint against Sunrise in the San Diego County Superior Court, entitled Van
   5
       Cleave v. Sunrise Senior Living Management, Inc., Case No. 37:2018-00061960-
   6
       CU-OE-CTL), alleging violation of the UCL, failure to pay overtime wages, meal
   7
       and rest periods, failure to provide accurate itemized wage statements and wages
   8
       when due (“the Van Cleave Class Action”). On January 8, 2019, Sunrise removed
   9
       the Van Cleave Class Action to the United States District Court for the Southern
 10
       District of California, Case No. 3:19-cv-00044-BEN-NLS pursuant to CAFA. On
 11
       February 15, 2019, Mr. Van Cleave filed a First Amended Collective and Class
 12
       Action Complaint, alleging violations of the Fair Labor Standards Act of 1938, the
 13
       UCL and California state wage and hour laws regarding overtime pay, meal
 14
       periods, wage statements, payment of wages when due, and breach of the covenant
 15
       of good faith and fair dealing (the Van Cleave Class and Collective Action). On
 16
       May 6, 2019, Van Cleave filed a PAGA-only complaint in the San Diego County
 17
       Superior Court, Case No. 37-2019-00023231-CU-OE-CTL (“the Van Cleave
 18
       Representative Action”). The Settlement Agreement provides that Mr. Van Cleave
 19
       will dismiss the Van Cleave Representative Action conditioned on this Court
 20
       granting final approval of this global Settlement. (Hereafter, the Schlieser Action,
 21
       the Van Cleave Class and Collective Action and the Van Cleave Representative
 22
       Action will be collectively referred to as “the Actions.”)
 23
                                             Settlement
 24
             14.    On August 12, 2019, the Parties participated in a mandatory settlement
 25
       conference with Magistrate Judge Paul L. Abrams. MLG prepared a settlement
 26
       conference statement for the conference. Mr. Van Cleave and Sunrise participated
 27
 28
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       in an Early Neutral Evaluation Conference with Magistrate Judge Allison H.
   1
       Goddard December 9, 2019.
   2
             15.    Both efforts were unsuccessful and thereafter the Parties agreed to
   3
       submit the Actions to joint mediation to seek a global settlement of their respective
   4
       disputes. In order to facilitate these discussions, the Parties obtained stays in the
   5
       Actions pending the outcome of these settlement discussions.
   6
             16.    On February 24, 2020, the Parties attended a full-day mediation with
   7
       mediator Lisa Klerman. No resolution was reached at the mediation. Settlement
   8
       discussions continued and mediator Klerman made a mediator’s proposal which
   9
       was accepted by all Parties on March 16, 2020 subject to a Memorandum of
 10
       Understanding (“MOU”) and a long-form agreement. The MOU was signed by all
 11
       Parties on May 21, 2020 and the Stipulation of Class Action Settlement and Release
 12
       was executed by all Parties on June 30, 2020. A true and correct copy of the
 13
       Stipulation of Class Action Settlement and Release (“Agreement”) is attached
 14
       hereto as Exhibit 1.
 15
             17.    Prior to the settlement conferences, Sunrise provided sample payroll
 16
       data for several locations selected by Plaintiffs as well as policy documents. In
 17
       preparation for the mediation, Sunrise produced additional data and documents
 18
       including bonus and commission data, all pertinent policy documents for the class
 19
       period including meal and rest period policies, commission policies and bonus
 20
       policies. Sunrise also produced Kronos timekeeping records and payroll data for
 21
       4,536 employees, representing 566,093 shifts, 68,583 pay periods, and 133,676
 22
       workweeks. These documents and data permitted the Parties to evaluate their
 23
       respective positions. Ms. Schlieser also retained an expert statistician who reviewed
 24
       and analyzed Sunrise’s time and payroll records and prepared an analysis of this
 25
       information, which was instrumental in creating a damages model for the
 26
       mediation.
 27
 28
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               18.   The mediation was conducted at arm’s length, and although the
   1
       negotiations were conducted in a professional manner, they were adversarial. The
   2
       Parties went into mediation willing to explore the potential for a settlement of the
   3
       dispute, but each side was also prepared to litigate its position through trial and
   4
       appeal if a settlement had not been reached. The postures of the Van Cleave and
   5
       Schlieser lawsuits, including Sunrise’s pending motion to dismiss and Ms.
   6
       Schlieser’s pending motion for class certification show that the Parties were
   7
       prepared to litigate their positions vigorously through trial and appeal if a
   8
       settlement could not be reached. That posture of a pending dispositive motion and
   9
       certification proceedings are also substantial evidence that the Parties had sufficient
 10
       information to evaluate the claims and defenses in settlement discussions.
 11
               19.   The Settlement is the result of an informed and detailed analysis of
 12
       Sunrise’s potential liability of total exposure in relation to the costs and risks
 13
       associated with continued litigation. Based on Class Counsel’s pre-litigation
 14
       investigation, discovery, and expert analysis, Class Counsel was able to act
 15
       intelligently and effectively in negotiating the proposed Settlement.
 16
               20.   This Court presided over a prior, related but resolved case against
 17
       Sunrise, Shiferaw v. Sunrise Senior Living Management, Inc., Case No. 2:13-cv-
 18
       02171-JAK-PLA, which involved similar wage and hour claims and resulted in a
 19
       $2,180,000.00 settlement for Sunrise’s California non-exempt employees for the
 20
       period between February 25, 2009 and July 1, 2016. MLG was class counsel in that
 21
       case.
 22
               21.   On June 4, 2020, my office submitted a copy of the Schlieser
 23
       complaint to the Department of Industrial Relations, Labor Workforce
 24
       Development Agency (“LWDA”), via the Department’s online submission portal,
 25
       under PAGA Case No. LWDA-CM-626230-18. On July 7, 2020, my office
 26
       submitted a copy of the Agreement via the Department’s online submission portal,
 27
       under PAGA Case No. LWDA-CM-626230-18. On September 23, 2021, my office
 28
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       submitted a copy of the Court’s Order Re Plaintiffs’ Motion for Preliminary
   1
       Approval of Class Action Settlement (Dkt. 88) via the Department’s online
   2
       submission portal, under PAGA Case No. LWDA-CM-626230-18. Aside from
   3
       email confirmations of those filings, my office has not received a response from the
   4
       LWDA regarding these filings and nothing to indicate any objection on the part of
   5
       the LWDA to the Agreement.
   6
       Amount in Controversy and Risks Associated with Proceeding with the Action
   7
             22.    Prior to the mediation, Plaintiffs retained an expert and analyzed the
   8
       value of the various claims and the total “soaking wet” value of the case at
   9
       $88,170,463 including interest and penalties. Based on defendant’s records, unpaid
 10
       meal period premiums were estimated at $9,430,157 based on 939,036 unique
 11
       violations and an average pay rate of $14.92. Unpaid overtime for all nonexempt
 12
       employees based on the alleged failure to include all incentive compensation in
 13
       regular rate, totaled $554,548. Plaintiffs also valued the derivative claims, finding
 14
       the potential waiting time penalties to be $23,212,908 for the 6,715 terminated
 15
       employees, wage statement penalties (for the 5,520 employees during the penalty
 16
       period) of $4,305,250. PAGA penalties for the 5,520 employees with 46,133
 17
       workweeks from January 17, 2018 through February 24, 2020) came to $8,674,600,
 18
       with the maximum PAGA penalty for Labor Code 226.3 violations amounting to
 19
       $41,993,000. Based on calculations performed by Plaintiffs’ expert using Sunrise’s
 20
       records, unpaid meal period premiums were estimated at about ten percent of the
 21
       estimated value. The claim for unpaid overtime for all non-exempt employees
 22
       based on the alleged failure to include all incentive compensation in regular rate
 23
       totaled less than one percent of the claim. Plaintiffs also valued their derivative
 24
       claims, finding the potential waiting time penalties to be about twenty five percent
 25
       of the total value of the claim for over 6,000 terminated employees, wage statement
 26
       penalties (for over 5,000 employees during the relevant period) totaling an
 27
       estimated five percent of the total value. Potential maximum PAGA penalties for
 28
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       the over 5,000 employees with over 40,000 workweeks from January 17, 2018
   1
       through February 24, 2020 came to about ten percent of the total value, with the
   2
       maximum PAGA penalty for Labor Code 226.3 violations amounting to nearly half
   3
       of the total maximum possible value of the claims. Later, in conjunction with the
   4
       settlement, Sunrise provided additional data regarding the composition of the
   5
       settlement class (as of June 15, 2020): (1) 4,356 people individuals are currently
   6
       employed by Sunrise as non-exempt will receive 2 points per shift worked during
   7
       the Class Period, (2) 7,386 individuals are former non-exempt employees who
   8
       worked during the Class Period, (3) 4,359 individuals (excluding Directors of Sales
   9
       and Assistant Directors of Sales who received other payments) who worked
  10
       overtime hours during a pay period in which they also received any bonus, and (4)
  11
       7,222 individuals who are classified as part-time according to Sunrise’s records.
  12
       The individual amounts of under-payment of wages to Participating Settlement
  13
       Class Members who held the positions of Director of Sales and Assistant Director
  14
       of Sales during the Class Period in connection with the programming error that
  15
       resulted in those individuals’ commissions being temporarily inadvertently
  16
       excluded from their regular rate of pay are estimated to be a combined $301,103.
  17
             23.    Plaintiffs and Class Counsel considered several factors in reaching the
  18
       decision to settle at this point in the Actions. One such factor is that although
  19
       Plaintiffs strongly believe in the merits of their claims, a legitimate controversy
  20
       exists as to crucial aspects of the claims and damages. For example, Plaintiffs
  21
       contend that as to the Regular Rate subclasses, all of the bonuses including, e.g.,
  22
       “spot bonuses” should have been included in the regular rate of purposes of
  23
       calculating overtime. However, Sunrise would likely contend that this issue was
  24
       already decided in Shiferaw where this Court granted partial summary judgment in
  25
       Sunrise’s favor on that basis that certain bonuses such as spot bonuses and long
  26
       term service awards did not have to be included in the regular rate. Shiferaw Dkt.
  27
       210. As another example, meal and rest period claims were still pending in Van
  28
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       Cleave, and there, too, Sunrise would point to this Court’s ruling in Shiferaw which
   1
       denied certification of those claims. Shiferaw demonstrates that the issues are
   2
       varied and complex, and that Sunrise will vigorously defend against Plaintiffs’
   3
       clams with able counsel. Defendant vigorously litigated the case and expressed
   4
       every intention of continuing its defense through class certification, trial, and
   5
       appeal. Defendant was represented by experienced and skilled attorneys from law
   6
       firms with strong reputations for vigorous advocacy in the defense of complex
   7
       employment class action cases, as was demonstrated in the Shiferaw case. I have
   8
       extensive experience in wage and hour class action litigation and I know from
   9
       experience that any case involving wage and hour claims against a large corporate
  10
       employer can, and often does, lead to costly litigation that goes on for years.
  11
       Absent settlement, the next steps in the case would include determining Plaintiff
  12
       Schlieser’s motion for class certification and another certification motion by Van
  13
       Cleave, a possible defense motion for summary judgment, the exchange of expert
  14
       discovery, trial preparation, and then trial.
  15
             24.    Plaintiffs also recognize the substantial risks involved in litigating the
  16
       Actions, including the fact that this Court may deny class certification of the two
  17
       classes to which there was no stipulation; the expensive, time-consuming, and
  18
       extremely uncertain proposition of proving the amount of wages due to each Class
  19
       Member; the prospect that the Court would, in its discretion, reduce any penalties
  20
       won under PAGA; the likelihood that any verdict will inevitably lead to one or
  21
       more appeals; and that further litigation will cause inconvenience, distraction,
  22
       disruption, delay, expenditures and recovery disproportionate to the potential
  23
       benefits of continued litigation. Risk of protracted litigation was significant in this
  24
       case insofar as Defendant’s position has been that individualized issues would pose
  25
       challenges to certification of the majority of Class claims such as whether each item
  26
       of additional compensation should have been included in the regular rate, whether
  27
       calculating the overtime rate using the total number of hours worked instead of the
  28
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       legal maximum number of regular hours worked was permissible, whether there
   1
       was a failure to provide meal and rest periods, whether incentive compensation was
   2
       not included in the regular rate used to pay premium wages for meal and rest break
   3
       violations, and “derivative” claims such as wage statement violations. The same
   4
       risks apply to the stipulated classes in Schlieser for certification is no guarantee as
   5
       to liability or damages. As another example, there is always the risk that Sunrise
   6
       could successfully challenge the manageability of the PAGA claim and that even if
   7
       Plaintiffs succeed on the claim, discretion could be exercised to reduce any
   8
       potential award of penalties. In contrast, because of the proposed settlement, Class
   9
       Members will receive timely and certain relief and avoid the risk of an unfavorable
  10
       judgment and a questionable appellate outcome. In sum, when the risks of
  11
       litigation, the uncertainties involved in achieving class certification, the burdens of
  12
       proof necessary to establish liability, and the probability of appeal of a favorable
  13
       judgment are balanced against the merits of Plaintiffs’ claims, it is clear that the
  14
       Settlement Amount is fair, adequate and reasonable, including the anticipated
  15
       $1,510,612 recovery to the Settlement Class. Thus, the overall benefits of the
  16
       proposed Settlement outweigh the potential risks, expense and likely duration of
  17
       further litigation. For these reasons, Plaintiffs and Class Counsel support the
  18
       proposed Settlement as being in the best interests of the Class.
  19
                                 Qualifications of Class Counsel
  20
             25.    MLG is a twenty-four attorney law firm that almost exclusively
  21
       represents employees in individual, representative, class and collective actions in
  22
       state and federal courts throughout California.
  23
             26.    Of all the attorneys at MLG, I am the attorney with the most active
  24
       trial and pretrial calendar. I have personally tried approximately twenty-five cases,
  25
       including approximately twenty jury trials. I have personally represented clients in
  26
       numerous wage and hour class, representative and collective actions that settled
  27
       with per-class-members recoveries in a similar range to the Settlement in this case.
  28
                                                                          8:19-CV-00443 JAK (PLAX)
                                                           DECLARATION OF MATTHEW J. MATERN ISO
                                              12           MOTION FOR FINAL APPROVAL AND MOTION
                                                                               FOR FEES AND COSTS
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              27.       I received a B.A. with honors in 1986 from Tulane University. I
   1
       received my J.D. from Southwestern University School of Law in 1991. I became
   2
       an active member of the State Bar of California in September 1992, and have been
   3
       an active member in good standing continuously since then. I have been practicing
   4
       as a litigation attorney in Los Angeles since 1992, and have been concentrating on
   5
       employment litigation since approximately 1997.
   6
              28.       In 1992, I founded the general partnership, which is the predecessor of
   7
       Rastegar & Matern, Attorneys at Law, A Professional Corporation. In 2012, I
   8
       founded the Law Offices of Matthew J. Matern, which changed its name to Matern
   9
       Law Group in January 2014, and then to Matern Law Group, PC on or about May
  10
       25, 2016.
  11
              29.       Since 1992, I have been heavily, continuously, and successfully
  12
       involved in active litigation and trial work, including extensive work in
  13
       employment litigation and wage and hour class, representative and collective
  14
       actions. Over the course of my career, I have been involved in approximately 100
  15
       class action settlements, with many of them settling in the seven figure range,
  16
       including settlements in the amount of $26 million, $18, million, $8.5 million, $7.0
  17
       million, $6.5 million, $6.5 million, $6.0 million, $6.0 million, $5.75 million, and
  18
       $5.0 million. I have represented clients in numerous wage and hour class action
  19
       lawsuits that settled with per-class-member recoveries in a range similar to the
  20
       anticipated per-class-member recovery in the instant case. I have also been
  21
       appointed Class Counsel in over 20 contested contested motions for class
  22
       certification.
  23
              30.       I have been counsel in a number of cases which resulted in published
  24
       appellate victories including two of the leading “me-too” witness cases in
  25
       California, Pantoja v. Anton (2011) 198 Cal.App.4th 87 and Meeks v. Autozone,
  26
       Inc. (2018) 24 Cal.App.5th 855; ABM Industries Overtime Cases (2017) 19
  27
       Cal.App.5th 277, as modified (Jan. 10, 2018); Julian v. Glenair (2017) 17
  28
                                                                           8:19-CV-00443 JAK (PLAX)
                                                             DECLARATION OF MATTHEW J. MATERN ISO
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       Cal.App.5th 853; Ventura v. ABM Industries, Inc. (2012) 212 Cal.App.4th 258;
   1
       Franco v. Arakelian Enterprises, Inc. (2012) 211 Cal.App.4th 314; Fuentes v.
   2
       AutoZone, Inc. (2011) 200 Cal.App.4th 1221; Gutierrez v. California Commerce
   3
       Club (2010) 187 Cal.App.4th 969; Franco v. Athens Disposal Company, Inc.
   4
       (2009) 171 Cal.App.4th 1277; and other non-published appellate victories,
   5
       including Christman v. Apple Am. Grp. II, LLC, (Cal. Ct. App. Oct. 4, 2017) No.
   6
       B271937, 2017 WL 4402124; Pauley v. CF Entm’t (9th Cir. Mar. 25, 2016) No. 14-
   7
       55131, 2016 WL 1169425 (two related appeals); Pauley v. CF Entm’t (9th Cir. May
   8
       13, 2019) No. 17-56057, 2019 WL 2089930 (three related appeals); Navarro v. 4
   9
       Earth Farms, Inc., No. B284853 (Cal. Ct. App. Feb. 8, 2019) 2019 WL 493781;
  10
       Soto v. Superior Court of San Bernardino Cty., No. E071920 (Cal. Ct. App. Sept. 9,
  11
       2019) 2019 WL 4254631 (writ issued) and Cacho v. Eurostar, Inc., No. S260295
  12
       (depublication of opinion granted by California Supreme Court). My work has led
  13
       me to be recognized as a Southern California Super Lawyer every year since 2009.
  14
             31.    The following experienced and well-regarded MLG attorneys also
  15
       worked on this case:
  16
                    A.     Senior Associate Scott A. Brooks graduated from the University
  17
       of California, Berkeley in 1987 with a degree in Political Science followed by a law
  18
       degree from Loyola Law School in 1992. Mr. Brooks has extensive experience in
  19
       labor and employment class and representative actions, complex litigation, and
  20
       mass torts. He was one of the Class Counsel in the class action lawsuit which
  21
       resulted in the published opinion, Sav-On Drug Stores, Inc. v. Superior Court
  22
       (2004) 34 Cal.4th 319 and a $47.5 million dollar settlement, reached during trial.
  23
       Mr. Brooks also served as one of the national coordinating counsel for the nation’s
  24
       largest retailer in toxic tort litigation, including the defense of Proposition 65 and
  25
       related claims. Mr. Brooks has extensive experience arguing before the California
  26
       appellate courts and has handled dozens of appeals and original proceedings, most
  27
       of which he served as the primary appellate counsel in briefing and argument.
  28
                                                                         8:19-CV-00443 JAK (PLAX)
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       Reported decisions in which Mr. Brooks served as Plaintiff’s or Class Counsel (in
   1
       trial and/or on appeal) on appeal include Heyen v. Safeway Inc. (2013) 216
   2
       Cal.App.4th 795, Puerto v. Superior Court (2008) 158 Cal.App.4th 1242, Harper v.
   3
       24 Hour Fitness, Inc. (2008) 167 Cal.App.4th 966, Ralphs Grocery Co. v. Superior
   4
       Court (2004) 112 Cal.App.4th 1090, and Prachasaisoradej v. Ralphs Grocery Co.,
   5
       Inc. (2007) 42 Cal.4th 217.
   6
                    B.     Senior Associate Matthew W. Gordon graduated summa cum
   7
       laude from Princeton University in 1995, earned a master’s degree in Education
   8
       from Ohio State University in 2004, and received his J.D. from the University of
   9
       California, Los Angeles in 2009. Mr. Gordon’s legal practice has focused almost
  10
       exclusively on wage-and-hour class actions and plaintiff’s side employment
  11
       litigation cases. During the course of his career, Mr. Gordon has been designated as
  12
       Class Counsel in scores of wage-and-hour cases.
  13
                    C.     Senior Associate Debra J. Tauger heads MLG’s law and motion
  14
       department. Ms. Tauger graduated from the University of California, Los Angeles
  15
       in 1981 and received her J.D. from Suffolk University Law School in 1987 where
  16
       she received the American Jurisprudence Award in her Employment Law class and
  17
       was on the Dean’s List. She has been an active member of the California State Bar
  18
       in good standing since December 1989. She is also admitted to the Massachusetts
  19
       Bar.
  20
                                     Attorney’s Fees and Costs
  21
              32.   The Settlement provides for attorney’s fees to Class Counsel in an
  22
       amount up to one-third (1/3) of the Settlement Amount, i.e., $816,666.00.
  23
       Plaintiffs’ counsel have agreed to split the fee as follows: one-third to MLG; one-
  24
       third to Van Cleave’s counsel; and one third to both Plaintiffs’ counsel in
  25
       proportion to our billing.
  26
              33.   Based on my experience, I believe the fees and costs provision is
  27
       reasonable. The fee award is reasonable when taking into account MLG’s lodestar
  28
                                                                        8:19-CV-00443 JAK (PLAX)
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       of $313,822.50 and the Van Cleave’s counsel’s lodestar of $392,082.86 for a total
   1
       lodestar of $710,905.36. MLG’s lodestar is based on approximately 365 hours of
   2
       work. MLG’s lodestar includes approximately 27 hours for work performed in
   3
       preparing the motion for preliminary approval which hours were not yet posted at
   4
       the time that Plaintiffs filed their motion for preliminary approval. True and correct
   5
       copies of MLG’s updated spreadsheets required by the Court’s Standing Order,
   6
       ¶9(e)(i), are both attached hereto as Exhibit 6. The billing records for Scott A.
   7
       Brooks, Matthew Gordon, Debra Tauger and me are included in the Excel
   8
       spreadsheet to be emailed to the Court per the Standing Order. The updated billing
   9
       records in Excel spreadsheet format for Co-Class counsel Sommers Schwartz, PC,
  10
       Zakay Law Group, APLC, and The JCL Law Firm, APC are attached hereto as
  11
       Exhibits 7, 8 and 9, respectively.
  12
             34.    The fee percentage requested is less than that charged by MLG for
  13
       other employment cases. Over the more than two years that MLG has been
  14
       representing Ms. Schlieser, MLG has invested significant time and effort into the
  15
       Schlieser Action with payment deferred to the end of the case, and then, of course,
  16
       contingent on the outcome. MLG’s efforts have resulted in a significant settlement
  17
       fund established to compensate Class Members for Sunrise’s allegedly unlawful
  18
       wage and hour practices.
  19
             35.    The efforts expended by MLG thus far include, but are not limited to,
  20
       investigating and researching Ms. Schlieser’s claims and Sunrise’s anticipated
  21
       defenses; reviewing documents provided by Ms. Schlieser; preparing the complaint;
  22
       reviewing thousands of pages of time and payroll records, policy documents and
  23
       other employment records produced by Sunrise; retaining an expert consultant to
  24
       analyze time and payroll data and prepare a damages analysis for the mediation;
  25
       propounding and responding to written discovery; reviewing and analyzing
  26
       Sunrise’s discovery responses; preparing a motion for class certification; obtaining
  27
       Sunrise’s stipulation for certification of a class; preparing Ms. Schlieser for and
  28
                                                                         8:19-CV-00443 JAK (PLAX)
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       representing her at her deposition; preparing Ms. Schlieser’s settlement conference
   1
       statement; reviewing and co-drafting Plaintiffs’ mediation brief; preparing for and
   2
       attending the mandatory settlement conference and the mediation; engaging in
   3
       subsequent settlement negotiations, meeting and conferring numerous times with
   4
       Sunrise’s counsel regarding discovery, class certification, settlement and other
   5
       matters; negotiating, reviewing and revising the MOU; negotiating and drafting the
   6
       Agreement and related Settlement documents; attending court hearings; drafting the
   7
       Motion for Preliminary Approval and arguing at the hearing, and preparing the final
   8
       approval motion and supporting documents.
   9
              36.    The lodestar does not include future work that will be required,
  10
       including preparing for and attending the final approval hearing, communicating
  11
       with counsel, clients and the settlement administrator, monitoring the process for
  12
       payments to the Participating Settlement Class Members and responding to post-
  13
       approval inquiries from them.
  14
              37.    I estimate that my firm will expend at least another 40 to 50 hours on
  15
       these future matters, at an average hourly rate of $850.00 per hour. Based on
  16
       experience, we will have Participating Settlement Class Members calling our office
  17
       to inquire about the status of the payments and for similar information. We also
  18
       bear the risk of taking whatever actions are necessary if Sunrise fails to pay. In two
  19
       of my recent cases, my firm spent over 500 hours post-final approval in efforts to
  20
       collect on behalf of the Class.
  21
              38.    MLG accepted Ms. Schlieser’s case on a contingent basis and has put a
  22
       substantial amount of time and energy into litigating it, all while receiving no
  23
       payment. The risk was significant given that, if the Schlieser Action was
  24
       unsuccessful, MLG would not have received any compensation for the time the
  25
       firm spent litigating it.
  26
              39.    Because most individuals cannot afford to pay for representation in
  27
       litigation on an hourly basis, MLG represents the majority of its employment law
  28
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       clients on a contingency-fee basis. Pursuant to this arrangement, we are not
   1
       compensated for our time unless we prevail at trial or successfully settle our clients’
   2
       cases. Because MLG is taking the risk that it will not be reimbursed for its time
   3
       unless its client settles or wins his or her case, MLG cannot afford to represent an
   4
       individual employee on a contingency basis if, at the end of the representation, all
   5
       MLG receives is its regular hourly rate for services. It is essential that MLG
   6
       recover more than its regular hourly rate when it succeeds, if it is to remain in
   7
       practice and continue representing individuals in civil rights employment disputes.
   8
             40.    My 2020 hourly rate is $950.00. The 2020 hourly rates for the other
   9
       MLG attorneys who worked on this Action are as follows: Senior Associate Scott
  10
       A. Brooks: hourly rate of 850.00; Senior Associate Matthew W. Gordon: $725.00;
  11
       and Senior Associate Debra J. Tauger: hourly rate of $875.00. MLG requests that
  12
       these billable rates be applied in this case, as the rates are reasonable in the
  13
       Southern California legal market for attorneys who handle complex class and
  14
       representative actions involving hundreds and thousands of employees.
  15
             41.    Through my practice I have become familiar with the fees charged by
  16
       attorneys in wage and hour class actions in Southern California, with comparable
  17
       experience to mine, as well as the MLG attorneys who worked on this matter. I
  18
       have obtained this familiarity in several ways: (1) by reviewing attorney fee
  19
       applications and awards filed in other employment discrimination and class action
  20
       cases in Southern California; (2) by reviewing declarations regarding prevailing
  21
       market rates and other factors filed in other employment discrimination and class
  22
       action cases in Southern California; (3) by reviewing surveys and articles on
  23
       attorney’s fees in legal newspapers, journals and treatises and (4) by discussing fees
  24
       in employment discrimination and class action cases with other attorneys. MLG has
  25
       been awarded fees of at least 33% of the common fund in numerous cases in state
  26
       and federal court, including in the Shiferaw action.
  27
  28
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             42.    The 2020 prevailing billing or “market” rates in Southern California
   1
       ranges from $350.00 to $1,200.00 per hour. Based on this information, I believe
   2
       that MLG’s current rates are consistent with the market rate for attorneys with
   3
       comparable expertise, experience, and qualifications in Los Angeles County.
   4
             43.    Ms. Schlieser’s reasonable litigation costs as of this date are
   5
       $10,644.73. These include the filing fees and service costs from the initial state
   6
       court action ($1,584.76). The costs following removal to this Court are $9,059.97
   7
       the bulk of which are Ms. Schlieser’s portion of the mediator’s fee ($3,000.00),
   8
       expert damage analysis ($4,052.50) and Ms. Schlieser’s deposition ($1,380.60),
   9
       with the remaining costs being for service and delivery of documents, e.g.,
  10
       chambers copies.
  11
                          Class Representative Enhancement Payment
  12
             44.    The Agreement provides for a Class Representative enhancement
  13
       payment to Plaintiffs of no more than $7,500.00 each. This payment is intended to
  14
       recognize Plaintiffs’ work, efforts and risks in assisting with the prosecution of the
  15
       Actions on behalf of the Class and in giving Sunrise a broader release than other
  16
       Settlement Class Members. During this litigation, Ms. Schlieser cooperated with
  17
       MLG and took actions to protect the interests of the Class. She provided valuable
  18
       information regarding Sunrise’s wage and hour practices and policies. She prepared
  19
       for and submitted to deposition. She kept informed of the developments in the
  20
       Actions, informed my office of relevant information and participated in decisions
  21
       concerning the Actions. The information and documentation provided by Ms.
  22
       Schlieser were instrumental in establishing the wage and hour violations alleged in
  23
       the Action, and the recovery provided for in the Settlement would not have been
  24
       possible to obtain without her participation.
  25
             45.    Ms. Schlieser faced many risks in bringing the case as a class action.
  26
       Ms. Schlieser assumed the expense and risk in prosecuting the case and considered
  27
       the best interests of the Class rather than her own personal interests in agreeing to
  28
                                                                         8:19-CV-00443 JAK (PLAX)
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       mediate and settle the case. She took the risk that prospective future employers may
   1
       not hire her because she brought this case against a past employer, and that she may
   2
       have been responsible for Defendant’s costs. Without the effort and risks taken by
   3
       Plaintiffs, the Class Members likely would not have received any financial benefit.
   4
       Because of Plaintiffs’ efforts, 11,559 Class Members will recover payments for
   5
       wage and hour violations they may have never known about on their own or been
   6
       willing to pursue on their own.
   7
             46.    If each Class Member attempted to pursue his or her legal remedies
   8
       individually, each person would have been required to expend a significant amount
   9
       of their own monetary resources and time. Because the claims are relatively
  10
       modest, and the filing fees and other litigation costs would inevitably exceed any
  11
       potential recovery, it would be economically infeasible for most Class Members to
  12
       litigate their claims separately. Trying potentially thousands of cases individually
  13
       would require substantial repetition of evidence and could result in conflicting
  14
       judgments while imposing an extraordinary burden on the Parties’ and the Court’s
  15
       resources.
  16
             47.    In sum, the Actions would not have been possible without Plaintiffs’
  17
       involvement, who put their own time and effort into the litigation, sacrificed the
  18
       value of their own individual claims, placed themselves at risk for the sake of the
  19
       other Class Members and gave up more rights than the other Class Members. The
  20
       requested Enhancement Payments are therefore reasonable to compensate Plaintiffs
  21
       for their active participation in the Action.
  22
             48.    On October 9, 2018, my office submitted Ms. Schlieser’s PAGA
  23
       notice to the LWDA and served it on Sunrise. True and correct copies of the PAGA
  24
       notice (without the enclosure) and LWDA’s confirmation receipt were collectively
  25
       attached as Exhibit 2 to my declaration submitted in support of preliminary
  26
       approval (Dkt. 74-2).
  27
  28
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             49.    On June 4, 2020 my office submitted a conformed copy of Ms.
   1
       Schlieser’s complaint to the LWDA. On July 7, 2020, my office submitted a copy
   2
       of the Settlement Agreement to the LWDA. True and correct copies of the
   3
       LWDA’s confirmation receipts were collectively attached as Exhibit 3 to my
   4
       declaration submitted in support of preliminary approval (Dkt. 74-4). On September
   5
       27, 2021, my office submitted a copy of the Court’s order granting preliminary
   6
       approval (Dkt. 88) to the LWDA via its online portal.
   7
             50.    I know of no conflict between Ms. Schlieser and any Class Member.
   8
       Neither Ms. Schlieser nor MLG has any relationship or interest in the California
   9
       Justice Gap Fund outside of using it as a cy pres in this Settlement.
  10
             I declare under penalty of perjury that the foregoing is true and correct.
  11
       Executed on October 7, 2021 at Manhattan Beach, California.
  12
  13
  14
  15                                               /s/ Matthew
                                              _____________    J. Matern
                                                             __________________
                                                     Matthew J. Matern
  16
  17
  18
  19
  20
  21
  22
  23
  24
  25
  26
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  28
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            1    (Attorneys on next page)
            2
            3
            4
            5
            6
            7
            8                            UNITED STATES DISTRICT COURT
            9                          CENTRAL DISTRICT OF CALIFORNIA
          10                                    SOUTHERN DIVISION
          11     NANCY SCHLIESER, an individual,             CASE NO. 8:19-cv-00443 JAK (PLAx)
                 and on behalf of others similarly
          12     situated,                                   JOINT STIPULATION OF CLASS
                                    Plaintiff,               ACTION SETTLEMENT AND
          13                                                 RELEASE
                        v.
          14                                                 HON. JOHN A. KRONSTADT
                 SUNRISE SENIOR LIVING                       COURTROOM 10B
          15     MANAGEMENT, INC., a Virginia
                 corporation; and DOES 1 through 50,
          16     inclusive,
                                    Defendants.
          17
                 CHRISTIAN VAN CLEAVE, an
          18     individual, on behalf of himself and on
                 behalf of all persons similarly situated,
          19
                                     Plaintiff,
          20           v.
          21     SUNRISE SENIOR LIVING
                 MANAGEMENT, INC., a Virginia
          22     Corporation; and DOES 1-50, Inclusive,
                                     Defendants.
          23
                 CHRISTIAN VAN CLEAVE, in his
          24     representative capacity,
          25                        Plaintiff,
                       v.
          26
                 SUNRISE SENIOR LIVING
          27     MANAGEMENT, INC., a Virginia
                 Corporation; and DOES 1-50, Inclusive,
          28                        Defendants.
Gibson, Dunn &
Crutcher LLP


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          28     Attorneys for Plaintiff CHRISTIAN VAN CLEAVE

Gibson, Dunn &
Crutcher LLP

                                                      2
                                          EXHIBIT 1, Page 23
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            1       JOINT STIPULATION OF CLASS ACTION SETTLEMENT AND RELEASE
            2           This Joint Stipulation of Class Action Settlement and Release (“Settlement” or
            3    “Settlement Agreement”) is made and entered into by and between Plaintiffs Nancy Schlieser
            4    and Christian Van Cleave (“Plaintiffs” or “Class Representatives”), as individuals and on
            5    behalf of others similarly situated, and Defendant Sunrise Senior Living Management, Inc.,
            6    (“Sunrise”) (collectively with Plaintiffs, the “Parties”).
            7                                            DEFINITIONS
            8           The following definitions are applicable to this Settlement Agreement. Definitions
            9    contained elsewhere in this Settlement Agreement will also be effective:
          10            1.     “Actions” means the actions entitled Schlieser v. Sunrise Senior Living
          11     Management, Inc., Case No. 8:19-cv-00443 JAK (PLAx) (C.D. Cal.) (the “Schlieser Class and
          12     Representative Action”); Van Cleave v. Sunrise Senior Living Management, Inc., Case No.
          13     3:19-cv-00044-L-NLS (S.D. Cal.) (the “Van Cleave Class and Collective Action”); and Van
          14     Cleave v. Sunrise Senior Living Management, Inc., Case No. 37-2019-00023231-CU-OE-CTL
          15     (San Diego Sup. Ct.) (the “Van Cleave Representative Action”).
          16            2.     “Attorneys’ Fees and Costs” means attorneys’ fees sought by Class Counsel for
          17     litigation and resolution of the Actions, and all reasonable costs incurred and to be incurred by
          18     Class Counsel in the Actions. Class Counsel will request attorneys’ fees in the amount of one-
          19     third of the Class Settlement Amount, or Eight Hundred Sixteen Thousand Six Hundred Sixty
          20     Six Dollars ($816,666.00) plus reasonable costs and expenses.
          21            3.     “Class Counsel” means and includes Jason J. Thompson of Sommers Schwartz,
          22     P.C.; Jean Claude Lapuyade of JCL Law Firm, A.P.C.; Shani O. Zakay of Zakay Law Group,
          23     APL; and Matthew J. Matern and Scott A. Brooks of the Matern Law Group, PC.
          24            4.     “Class Counsel Award” means any attorneys’ fees, expenses or costs awarded to
          25     Class Counsel by the Court.
          26            5.     “Class List” means a complete list of all Settlement Class Members that Sunrise
          27     will diligently and in good faith compile from its records and provide to the Settlement
          28     Administrator within twenty (20) calendar days after entry of an order granting Preliminary

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            1    Approval of this Settlement. The Class List will be formatted in Microsoft Office Excel and
            2    will include each Class Member’s full name; most recent mailing address and telephone
            3    number contained in Sunrise’s Human Resources personnel records; Social Security number;
            4    dates of employment; the respective number of Shifts that each Class Member worked during
            5    the Class Period according to Sunrise’s records; number of instances in which the Class
            6    Member both was paid incentive compensation and worked overtime during the same pay
            7    period according to Sunrise’s records; total number of wage statements issued to that Class
            8    Member according to Sunrise’s records; and any other information needed to calculate
            9    individual settlement payments.
          10            6.     “Class Period” means the period from July 1, 2016 to June 15, 2020.
          11            7.     “Class Representative Enhancement Payments” means the amounts to be paid to
          12     Plaintiffs in recognition of their effort and work in prosecuting the Actions on behalf of Class
          13     Members, and for their general release of claims. Subject to the Court granting final approval
          14     of this Settlement Agreement and subject to the exhaustion of any and all appeals, Plaintiffs
          15     will request Court approval of Class Representative Enhancement Payments of Seven
          16     Thousand Five Hundred Dollars ($7,500.00) each.
          17            8.     “Class Settlement Amount” means the non-reversionary gross Class Settlement
          18     Amount of Two Million Four Hundred Fifty Thousand Dollars ($2,450,000.00), to be paid by
          19     Sunrise in full satisfaction of all Released Claims, which includes all Individual Settlement
          20     Payments to Participating Class Members, the Class Representative Enhancement Payments
          21     to Plaintiffs, the Labor and Workforce Development Agency Payment, and Settlement
          22     Administration Costs. In no event will Sunrise be liable for more than the Class Settlement
          23     Amount except as otherwise explicitly set forth herein. As to the portion of Individual
          24     Settlement Payments to Participating Settlement Class Members that constitutes wages, the
          25     employers’ share of taxes, including FICA, FUTA, and SDI contributions, will not be paid
          26     from the Class Settlement Amount, but rather, Sunrise will be additionally and separately
          27     responsible for such employers’ share of taxes. The Settlement Administrator shall make these
          28     employer tax payments on behalf of Sunrise.

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            1           9.     “Court” means the United States District Court for the Central District of
            2    California.
            3           10.    “Effective Date” means the later of: (i) if no timely objections are filed, or if filed
            4    are withdrawn prior to final approval, the date upon which the Court enters an order granting
            5    final approval of the Joint Stipulation of Class Action Settlement and Release; or (ii) if timely
            6    objections are filed and not withdrawn, then either five (5) days from the final resolution of any
            7    appeals timely filed, or the expiration date of the time for filing or noticing any such appeals,
            8    provided that the Settlement is finally approved.
            9           11.    “Funding Date” means ten (10) business days after the Effective Date.
          10            12.    “Individual Settlement Payment” means each Participating Class Member’s
          11     respective share of the Net Settlement Amount.
          12            13.    “Labor and Workforce Development Agency Payment” means the amount that
          13     the Parties agree to pay to the Labor and Workforce Development Agency (“LWDA”) in
          14     connection with the Labor Code Private Attorneys General Act of 2004 (Cal. Lab. Code
          15     §§ 2698, et seq., “PAGA”). The Parties agree that Forty Thousand Dollars ($40,000.00) of the
          16     Class Settlement Amount will be allocated to the resolution of Class Members’ claims arising
          17     under PAGA. Pursuant to PAGA, Seventy-Five Percent (75%), or Thirty Thousand Dollars
          18     ($30,000.00), of the Labor and Workforce Development Agency Payment will be paid to the
          19     California LWDA, and Twenty-Five Percent (25%), or Ten Thousand Dollars ($10,000.00),
          20     of that Amount will be included in the Net Settlement Amount.
          21            14.    “Net Settlement Amount” means the portion of the Class Settlement Amount
          22     remaining after deducting the Class Representative Enhancement Payments, the Class Counsel
          23     Award, Settlement Administration Costs, and the Labor and Workforce Development Agency
          24     Payment. The entirety of the Net Settlement Amount will be distributed to Participating Class
          25     Members. There will be no reversion of the Net Settlement Amount to Sunrise.
          26            15.    “Notice of Objection” means a Settlement Class Member’s valid and timely
          27     written objection to the Settlement Agreement. For the Notice of Objection to be valid, it must
          28     include: (i) the objector’s full name, signature, address, and telephone number, (ii) a written

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            1    statement of all grounds for the objection accompanied by any legal support for such objection;
            2    (iii) copies of any papers, briefs, or other documents upon which the objection is based; and
            3    (iv) a statement whether the objector intends to appear at the Fairness Hearing. Any Settlement
            4    Class Member who does not submit a timely written objection to the Settlement, or who fails
            5    to otherwise comply with the specific and technical requirements of this section, will be
            6    foreclosed from objecting to the Settlement and seeking any adjudication or review of the
            7    Settlement, by appeal or otherwise.
            8           16.    “Notice Packet” means the Notice of Class Action Settlement, substantially in
            9    the form attached as Exhibit A.
          10            17.    “Parties” means Plaintiffs and Sunrise, collectively.
          11            18.    “Participating Settlement Class Members” means all Settlement Class Members
          12     who do not submit timely and valid Requests for Exclusion.
          13            19.    “Plaintiffs” means Plaintiffs Nancy Schlieser and Christian Van Cleave.
          14            20.    “Preliminary Approval” means the Court order granting preliminary approval of
          15     this Settlement Agreement.
          16            21.    “Released Claims” means all claims, judgments, liens, losses, debts, liabilities,
          17     demands, obligations, guarantees, penalties (including but not limited to PAGA penalties,
          18     waiting time penalties and all other penalties available under the California Labor Code), costs,
          19     expenses, attorneys’ fees, damages, indemnities, actions, causes of action, and obligations of
          20     every kind and nature in law, equity or otherwise, known or unknown, suspected or
          21     unsuspected, disclosed or undisclosed, contingent or accrued, arising out of or relating to the
          22     causes of action asserted or which could have been asserted based on the allegations in each of
          23     the operative complaints in the Actions, including, and notwithstanding the theory on which
          24     such causes of action were, or could be, based: (a) all claims for failure to pay overtime wages
          25     in violation of the Fair Labor Standards Act (29 U.S.C. Section 201, et seq.); (b) all claims for
          26     failure to pay minimum wages in violation of the Fair Labor Standards Act (29 U.S.C. Section
          27     201, et seq.); (c) all claims for unpaid overtime (Labor Code §§ 510, 1194, 1198, and IWC
          28     Wage Order 4, and IWC Wage Order 5-2001, § 3); (d) all claims for meal and rest period

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            1    violations (Labor Code §§ 226.7, 510, 512, 1194, 1197, IWC Wage Order No. 5-2001, §§ 11,
            2    12); (e) all claims for unpaid minimum wages (Labor Code §§ 1194, 1197, 1197.1, IWC Wage
            3    Order No. 5-2001, § 4); (f) all claims for the failure to timely pay wages upon termination,
            4    failure to pay waiting time violations, and failure to pay all wages due to discharged and quitting
            5    employees (Labor Code §§ 201, 202 and 203); (g) all claims for the failure to timely pay wages
            6    during employment (Labor Code § 204); (h) all claims for wage statement violations (Labor
            7    Code §§ 226, 1174, IWC Wage Order No. 5-2001, § 7); (i) all claims for the failure to maintain
            8    records (Labor Code §§ 226, 1174, and IWC Wage Order No. 5-2001, § 7); (j) all claims for
            9    failure to indemnify employees for necessary expenditures incurred in discharge of duties
          10     (Labor Code § 2802); (k) all claims asserted through California Labor Code sections 2698 et
          11     seq. (the Private Attorneys General Act of 2004 (“PAGA”)) arising out of the aforementioned
          12     claims; (l) all claims asserted through California Business & Professions Code § 17200 et seq.
          13     arising out of the aforementioned claims; and (m) all claims for breach of the covenant of good
          14     faith and fair dealing arising out of the aforementioned claims. However, released claims,
          15     including those made by Plaintiffs in connection with their the general release, do not extend
          16     to nor apply in any way to the action captioned Nancy Schlieser v. Sunrise Senior Living
          17     Management, Inc., et al., Case No. 8:19-cv-00517 (JAK PLAx), and shall not bar nor affect in
          18     any way the claims alleged and damages and relief sought therein.
          19            22.    “Released Parties” means Sunrise; any of its former and present parents,
          20     subsidiaries, holding companies, investors, sister and affiliated companies, divisions, and other
          21     related entities, as well as its and their successors, predecessors, shareholders, officers,
          22     directors, partners, assigns, agents, employees, principals, heirs, administrators, attorneys,
          23     vendors, accountants, auditors, consultants, fiduciaries, insurers, reinsurers, employee benefit
          24     plans, and representatives, both individually and in their official capacities, past or present, as
          25     well as all persons acting by, through, under or in concert with any of these persons or entities,
          26     including but not limited to entities holding ownership interests in Sunrise communities in
          27     California.
          28            23.    “Request for Exclusion” means a timely letter submitted by a Class Member

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            1    indicating a request to be excluded from the Settlement. The Request for Exclusion must: (i)
            2    set forth the name, address, and telephone number of the Settlement Class Member requesting
            3    exclusion; (ii) be signed by the Settlement Class Member; (iii) be returned to the Settlement
            4    Administrator; (iv) clearly state that the Settlement Class Member does not wish to be included
            5    in the Settlement; and (v) be faxed or postmarked on or before the Response Deadline.
            6           24.    “Response Deadline” means the deadline by which Settlement Class Members
            7    must postmark or fax to the Settlement Administrator Requests for Exclusion, or file Notices
            8    of Objection with the Court. The Response Deadline will be thirty (30) calendar days from the
            9    initial mailing of the Notice Packet by the Settlement Administrator, unless the 30th day falls
          10     on a Sunday or Federal holiday, in which case the Response Deadline will be extended to the
          11     next day on which the U.S. Postal Service is open.
          12            25.    “Settlement Administration Costs” means the reasonable fees and expenses
          13     payable from the Class Settlement Amount to the Settlement Administrator for administering
          14     this Settlement, including, but not limited to, printing, distributing, and tracking forms for this
          15     Settlement, calculating estimated amounts per Class Member, tax reporting, distributing the
          16     LWDA payment, Class Settlement Amount and Class Counsel Award, and providing
          17     necessary reports and declarations, and other duties and responsibilities set forth herein to
          18     process this Settlement, as requested by the Parties. The Settlement Administration Costs are
          19     presently estimated at Fifty-Five Thousand Dollars ($55,000.00). The Settlement
          20     Administration Costs will be paid from the Class Settlement Amount, including, if necessary,
          21     any such costs in excess of the amount represented by the Settlement Administrator as being
          22     the maximum costs necessary to administer the Settlement.
          23            26.    “Settlement Administrator” means Simpluris, Inc., or any other third-party class
          24     action settlement administrator chosen by Class Counsel, subject to approval by Sunrise, and
          25     approved by the Court for the purposes of administering this Settlement. The Parties each
          26     represent that they do not have any financial interest in the Settlement Administrator or
          27     otherwise have a relationship with the Settlement Administrator that could create a conflict of
          28     interest.

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            1           27.    “Settlement Class Member(s)” or “Settlement Class” means all persons who
            2    were employed in non-exempt positions at Sunrise’s California communities at any time
            3    during the period from July 1, 2016 to June 15, 2020. This encompasses all Released Claims
            4    alleged on behalf of all individuals in each of the Actions.
            5           28.    “Shifts” means any day or partial day worked by Settlement Class Members at
            6    Sunrise’s California communities during the Class Period.
            7                                    TERMS OF AGREEMENT
            8           Plaintiffs, on behalf of themselves and the Settlement Class, and Sunrise agree as
            9    follows:
          10            29.    Consolidation of Actions and Dismissal of Van Cleave Representative Action.
          11     The Parties agree that, before or concurrent with the filing of the Motion for Preliminary
          12     Approval, they will file stipulations in all Courts where the Actions are currently pending
          13     seeking the following relief: (1) the Van Cleave Class and Collective Action shall be
          14     transferred to the Central District of California for settlement purposes only, and Van
          15     Cleave will amend his complaint to add the PAGA claims asserted in the Van Cleave
          16     Representative Action; (2) the Van Cleave Class and Collective Action shall be
          17     consolidated with the Schlieser Class and Representative Action for settlement purposes
          18     only; (3) the Van Cleave Representative Action shall be dismissed, conditioned upon the
          19     Settlement receiving final approval and expiration of any appeal period; (4) all
          20     proceedings relating to the approval of the Settlement shall be before Judge John A.
          21     Kronstadt in the Central District of California.
          22            30.    Preliminary Approval Motion. The Parties agree to present the Settlement for
          23     preliminary approval and continued jurisdiction if preliminary approval is granted to Judge
          24     John A. Kronstadt in the United States District Court for the Central District of California and
          25     to endeavor in good faith to file a Motion for Preliminary Approval, including all executed and
          26     necessary exhibits, on or near June 15, 2020.
          27            31.    Funding of the Class Settlement Amount. Sunrise will make a one-time deposit
          28     of the Class Settlement Amount of Two Million Four Hundred Fifty Thousand Dollars

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            1    ($2,450,000.00) into a Qualified Settlement Fund to be established by the Settlement
            2    Administrator. Sunrise will pay the employer’s share of payroll taxes separately. After the
            3    Effective Date, the Class Settlement Amount will be used to pay: (i) Individual Settlement
            4    Payments; (ii) the Labor and Workforce Development Agency Payment; (iii) the Class
            5    Representative Enhancement Payments; (iv) the Class Counsel Award; and (v) Settlement
            6    Administration Costs. Sunrise will deposit the Class Settlement Amount and the employer’s
            7    share of payroll taxes by the Funding Date.
            8          32.    Non-Reversionary Settlement. Participating Settlement Class Members are
            9    entitled to one hundred percent (100%) of the Net Settlement Amount. Sunrise maintains no
          10     reversionary right to any portion of the Net Settlement Amounts, including any reduction in
          11     the Class Representative Enhancement Payments, Class Counsel Award, the PAGA
          12     Settlement Amount, and the Settlement Administration Costs. If there are any timely submitted
          13     opt outs or reduction in the Class Representative Enhancement Payments, Class Counsel
          14     Award, the PAGA Settlement Amount, and/or the Settlement Administration Costs, the
          15     Settlement Administrator shall proportionately increase the Individual Settlement Payments
          16     for each Participating Settlement Class Member so that the amount actually distributed to
          17     Participating Settlement Class Members equals one hundred percent (100%) of the
          18     corresponding Net Settlement Amount.
          19           33.    Attorneys’ Fees and Costs. Plaintiffs’ counsel will apply to the Court for
          20     attorneys’ fees payable to Class Counsel in the amount of one-third of the Class Settlement
          21     Amount, or Eight Hundred Sixteen Thousand Six Hundred Sixty Six Dollars ($816,666), plus
          22     costs and expenses pursuant to Class Counsel’s billing records. The Settlement Administrator
          23     (and not Sunrise) shall issue an IRS Form 1099 to Class Counsel reflecting the Class Counsel
          24     Award.
          25           34.    Class Representative Enhancement Payments. In exchange for general releases
          26     of all known and unknown claims that they may have against Sunrise and Released Parties
          27     based on their employment with Sunrise, and in recognition of their effort and work in
          28     prosecuting the Actions on behalf of Class Members, Plaintiffs will apply for Class

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            1    Representative Enhancement Payments of Seven Thousand Five Hundred Dollars ($7,500.00)
            2    each. The Class Representative Enhancement Payments will be paid from the Class Settlement
            3    Amount and will be in addition to Plaintiffs’ Individual Settlement Payments paid pursuant to
            4    the Settlement Agreement. The Settlement Administrator (and not Sunrise) shall issue an IRS
            5    Form 1099 to each Plaintiff reflecting their Class Representative Enhancement Payments.
            6    Plaintiffs agree to assume responsibility of remitting to the Internal Revenue Service, the
            7    California Franchise Tax Board and any other relevant taxing authority the amounts required
            8    by law, if any, from their Class Representative Enhancement Payments. In exchange for these
            9    Class Representative Enhancement Payments, Plaintiffs agree not to publicize the settlement
          10     beyond what is legally required or expressly approved by the Court; and agree to respond to
          11     any inquiry regarding the settlement only by referring the inquiry to Class Counsel and saying
          12     nothing further.
          13            35.      Settlement Administration Costs. The Settlement Administrator will be paid for
          14     the reasonable costs of administration of the Settlement and distribution of payments from the
          15     Class Settlement Amount. These costs, which will be paid from the Class Settlement Amount,
          16     will include, inter alia, the required tax reporting on the Individual Settlement Payments, the
          17     issuing of 1099 and W-2 IRS Forms, distributing Notice Packets, calculating and distributing
          18     the Class Settlement Amount and Class Counsel Award, and providing necessary reports and
          19     declarations.
          20            36.      Labor and Workforce Development Agency Payment.             Subject to Court
          21     approval, the Parties agree that the amount of Forty Thousand Dollars ($40,000) from the Class
          22     Settlement Amount will be designated for satisfaction of Plaintiffs’ and Class Members’
          23     PAGA claims. Pursuant to PAGA, Seventy-Five Percent (75%), or Thirty Thousand Dollars
          24     ($30,000), of this sum will be paid to the LWDA and Twenty-Five Percent (25%), or Ten
          25     Thousand Dollars ($10,000), will become part of the Net Settlement Amount.
          26            37.      Net Settlement Amount. The entire Net Settlement Amount will be distributed
          27     to Participating Class Members. No portion of the Net Settlement Amount will revert to or be
          28     retained by Sunrise.

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            1          38.    Individual Settlement Payment Calculations. Individual Settlement Payments
            2    will be calculated and apportioned from the Net Settlement Amount and will be distributed as
            3    follows:
            4                 38(a)     Awards to Commissioned Employees: First, Sunrise will calculate
            5                           individual amounts of under-payment of wages to Participating Class
            6                           Members who held the positions of Director of Sales and Assistant
            7                           Director of Sales during the Class Period in connection with the
            8                           programming error that resulted in those individuals’ commissions
            9                           being temporarily inadvertently excluded from their regular rate of
          10                            pay. Each of these individuals will receive the full-calculated amount
          11                            of wages.
          12                  38(b)     Individual Settlement Awards: Once the awards to Commissioned
          13                            Employees are calculated and deducted from the Net Settlement
          14                            Amount, the Settlement Administrator will then apportion the
          15                            remainder of the Net Settlement Amount between Participating Class
          16                            Members (including those who held the positions of Director of Sales
          17                            and Assistant Director of Sales) based upon each individual’s total
          18                            number of points awarded, as follows:
          19
          20                                   i. Individuals who are currently employed by Sunrise will
          21                                   receive 2 points per shift worked during the Class Period.
          22
          23                                   ii. Individuals who are former employees of Sunrise will
          24                                   receive 3 points per shift worked during the Class Period.
          25
          26                                   iii. Individuals who are classified as part-time according to
          27                                   Sunrise’s records will have their point totals for (i) and (ii)
          28                                   reduced by ½ to account for their part-time status for the time

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            1                             period where they were classified as part-time.
            2
            3                             iv. Individuals (excluding Directors of Sales and Assistant
            4                             Directors of Sales who received payment under paragraph
            5                             38(a)) who worked overtime hours during a pay period in
            6                             which they also received any bonus payment will receive 5
            7                             points for each instance.
            8
            9                             v. All individuals will receive 10 points for each wage
          10                              statement they received during the Class Period.
          11
          12                              vi. The value of each individual point will be determined by
          13                              dividing the Net Settlement Amount by the total number of
          14                              points awarded, resulting in the individual “Point Value.” Each
          15                              Participating Class Member’s Individual Settlement Payment
          16                              will be calculated by multiplying that Participating Class
          17                              Member’s total number of points by the Point Value.
          18
          19                38(c)   The Individual Settlement Payments will be reduced by any required
          20                        deductions for each Participating Class Member as specifically set
          21                        forth herein, including employee-side tax withholdings or deductions.
          22
          23                38(d)   The entire Net Settlement Amount will be disbursed to all Settlement
          24                        Class Members who do not submit timely and valid Requests for
          25                        Exclusion. If there are any valid and timely Requests for Exclusion,
          26                        the Settlement Administrator shall proportionately increase the
          27                        Individual Settlement Payment for each Participating Settlement Class
          28                        Member according to the number of Shifts worked, so that the amount

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            1                             actually distributed to the Settlement Class equals one hundred percent
            2                             (100%) of the Net Settlement Amount.
            3           39.    No Credit Toward Benefit Plans. The Individual Settlement Payments made to
            4    Participating Settlement Class Members under this Settlement, as well as any other payments
            5    made pursuant to this Settlement, will not be utilized to calculate any additional benefits under
            6    any benefit plans to which any Settlement Class Members may be eligible, including, but not
            7    limited to, profit-sharing plans, bonus plans, 401(k) plans, stock purchase plans, vacation plans,
            8    sick leave plans, PTO plans, and any other benefit plan. Rather, it is the Parties’ intention that
            9    this Settlement Agreement will not affect any rights, contributions, or amounts to which any
          10     Class Members may be entitled under any benefit plans. For the avoidance of doubt, no
          11     Settlement Class Member shall be entitled to any additional right, contribution or amount under
          12     any benefit plan as a result of this Settlement or payments made hereunder.
          13            40.    Administration Process. The Parties agree to cooperate in the administration of
          14     the settlement and to make all reasonable efforts to control and minimize the costs and expenses
          15     incurred in administration of the Settlement.
          16            41.    Delivery of the Class List. Within twenty (20) calendar days of the entry of the
          17     Court’s order granting Preliminary Approval, Sunrise will provide the Class List to the
          18     Settlement Administrator. Within ten (10) calendar days after the Response Deadline, the
          19     Settlement Administrator will provide to counsel for Sunrise and Class Counsel the list of
          20     Participating Settlement Class Members, which shall exclude individuals who filed a timely
          21     Request for Exclusion. The Settlement Administrator shall not provide social security numbers
          22     or contact information with this list.
          23            42.    Notice by First-Class U.S. Mail. Within ten (10) calendar days after receiving
          24     the Class List from Sunrise, the Settlement Administrator will mail a Notice Packet to all
          25     Settlement Class Members via regular First-Class U.S. Mail, using the most current, known
          26     mailing addresses identified in the Class List.
          27            43.    Confirmation of Contact Information in the Class Lists. Prior to mailing, the
          28     Settlement Administrator will perform a search based on the National Change of Address

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            1    Database for information to update and correct for any known or identifiable address changes.
            2    Any Notice Packets returned to the Settlement Administrator as non-deliverable on or before
            3    the Response Deadline will be sent promptly via regular First-Class U.S. Mail to the forwarding
            4    address affixed thereto and the Settlement Administrator will indicate the date of such re-
            5    mailing on the Notice Packet.        If no forwarding address is provided, the Settlement
            6    Administrator will promptly attempt to determine the correct address using a skip-trace, or
            7    other search using the name, address and/or Social Security number of the Class Member
            8    involved, and will then perform a single re-mailing.
            9           44.      Notice Packets. All Settlement Class Members will be mailed a Notice Packet.
          10     Each Notice Packet will provide: (i) information regarding the nature of the Actions; (ii) a
          11     summary of the Settlement Agreement’s principal terms; (iii) the Settlement Class definition;
          12     (iv) the total number of Shifts each respective Settlement Class Member worked for Sunrise
          13     during the Class Period; (v) each Settlement Class Member’s estimated Individual Settlement
          14     Payment and the formula for calculating Individual Settlement Payments; (vi) the dates which
          15     comprise the Class Period; (vii) instructions on how to submit Requests for Exclusion or
          16     Notices of Objection; (viii) the deadlines by which the Settlement Class Member must
          17     postmark or fax Requests for Exclusion, or postmark Notices of Objection to the Settlement;
          18     and (ix) the claims to be released. The Parties’ proposed form of Class Notice is attached hereto
          19     as Exhibit A.
          20            45.      Posting of Settlement Agreement on Settlement Administrator’s Website.
          21     Within ten (10) calendar days of entry of the Preliminary Approval Order, the Settlement
          22     Administrator shall post the Settlement Agreement and any other Court-approved forms to its
          23     website.
          24            46.      Disputed Information on Notice Packets. Settlement Class Members will have
          25     an opportunity to dispute the information provided in their Notice Packets. To the extent
          26     Settlement Class Members dispute their employment dates or the number of Shifts on record,
          27     Settlement Class Members may produce evidence to the Settlement Administrator showing
          28     that such information is inaccurate. The Settlement Administrator will decide the dispute.

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            1    Sunrise’s records will be presumed correct, but the Settlement Administrator will evaluate the
            2    evidence submitted by the Settlement Class Member and will make the final decision as to the
            3    merits of the dispute. All disputes will be decided within ten (10) business days of the Response
            4    Deadline.
            5           47.      Defective Submissions. If a Settlement Class Member’s Request for Exclusion
            6    is defective as to the requirements listed herein, that Settlement Class Member will be given an
            7    opportunity to cure the defect(s). The Settlement Administrator will mail the Settlement Class
            8    Member a cure letter within three (3) business days of receiving the defective submission to
            9    advise the Settlement Class Member that his or her submission is defective and that the defect
          10     must be cured to render the Request for Exclusion valid. The Settlement Class Member will
          11     have until the later of (i) the Response Deadline or (ii) fifteen (15) calendar days from the date
          12     of the cure letter to postmark or fax a revised Request for Exclusion. If the revised Request for
          13     Exclusion is not postmarked or received by fax within that period, it will be deemed untimely.
          14            48.      Request for Exclusion Procedures. Any Settlement Class Member wishing to
          15     opt out of the Settlement Agreement must sign and fax or postmark a written Request for
          16     Exclusion to the Settlement Administrator by the Response Deadline. In the case of Requests
          17     for Exclusion that are mailed to the Settlement Administrator, the postmark date will be the
          18     exclusive means to determine whether a Request for Exclusion has been timely submitted.
          19            49.      Cancellation of Settlement Agreement. Within fourteen (14) calendar days of
          20     the expiration of the notice period as defined in the Court’s Order granting preliminary approval
          21     of the Settlement, Sunrise will have the option, in its sole discretion, to void the Settlement
          22     Agreement in the event that more than ten percent (10%) of all individuals eligible to become
          23     members of the Settlement Class submit timely and valid Requests for Exclusion or are
          24     otherwise deemed by the Court not to be bound by the Settlement. If Sunrise exercises this
          25     option, it shall be responsible for all Settlement Administration Costs incurred to the date of
          26     cancellation.
          27            50.      Adjustment of Net Settlement Amount. The Class Settlement Amount was
          28     calculated with, and is premised on, the understanding that there are approximately 12,000

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            1    Class Members eligible to participate in the Settlement and approximately 769,345 workweeks
            2    encompassed by the Class Period. If either of one those numbers, or both, increases by 10%
            3    or more as of the final class data production for mailing of the Class Notice, the Net Settlement
            4    Amount shall be increased by the same proportion as the increase and the Class Notice shall
            5    be adjusted as needed to reflect the increase to the Net Settlement Amount.
            6           51.     Release of Claims. The Parties agree that it is their intent that the terms set forth
            7    in this Settlement Agreement will release any further attempt, by lawsuit, administrative claim
            8    or action, arbitration, demand, or other action of any kind by each and all of the Settlement
            9    Class Members to obtain a recovery based on each and all of the allegations raised or which
          10     could have been raised in each of the operative complaints in the Actions, for harms arising
          11     during the Class Period. However, solely as to Plaintiff Schlieser, her released claims,
          12     including those she released in connection with her general release, do not extend to nor apply
          13     in any way to the claims asserted in the action captioned Nancy Schlieser v. Sunrise Senior
          14     Living Management, Inc., et al., Case No. 8:19-cv-00517 (JAK PLAx), and shall not bar nor
          15     affect in any way the claims alleged and damages and relief sought by her in that action.
          16            52.     Settlement Terms Bind All Class Members Who Do Not Opt-Out. Any
          17     Settlement Class Member who does not affirmatively opt-out of the Settlement Agreement by
          18     submitting a timely and valid Request for Exclusion will be bound by all of its terms, including
          19     those pertaining to the Released Claims, as well as any Judgment that may be entered by the
          20     Court if it grants final approval to the Settlement. The Settlement Agreement shall constitute,
          21     and may be pleaded as, a complete and total defense to any Released Claims currently pending
          22     or if raised in the future.
          23            53.     Released Claims Include Unknown Claims as to Named Plaintiffs. Upon the
          24     execution of the Settlement Agreement, to the extent allowed by California law, the Named
          25     Plaintiffs each waive all rights and benefits afforded by Section 1542 of the California Civil
          26     Code as to any Released Claims. Section 1542 provides:
          27            A GENERAL RELEASE DOES NOT EXTEND TO CLAIMS THAT THE
          28            CREDITOR OR RELEASING PARTY DOES NOT KNOW OR SUSPECT

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            1           TO EXIST IN HIS OR HER FAVOR AT THE TIME OF EXECUTING THE
            2           RELEASE AND THAT, IF KNOWN BY HIM OR HER, WOULD HAVE
            3           MATERIALLY AFFECTED HIS OR HER SETTLEMENT WITH THE
            4           DEBTOR OR RELEASED PARTY.
            5    However, solely as to Plaintiff Nancy Schlieser, these released claims do not extend to nor
            6    apply in any way to the action captioned Nancy Schlieser v. Sunrise Senior Living
            7    Management, Inc., et al., Case No. 8:19-cv-00517 (JAK PLAx), and shall not bar nor affect in
            8    any way the claims alleged and damages and relief sought by her in that action.
            9           54.    Objection Procedures. To object to the Settlement Agreement, a Settlement
          10     Class Member must file a valid Notice of Objection with the Court on or before the Response
          11     Deadline. The Notice of Objection must be signed by the Settlement Class Member and
          12     contain all information required by this Settlement Agreement. The filing date will be deemed
          13     the exclusive means for determining that the Notice of Objection is timely. Settlement Class
          14     Members who fail to object in the manner specified above will be deemed to have waived all
          15     objections to the Settlement and will be foreclosed from making any objections, whether by
          16     appeal or otherwise, to the Settlement Agreement. Settlement Class Members who file timely
          17     Notices of Objection will have a right to appear at the Final Approval Hearing in order to have
          18     their objections heard by the Court. At no time will any of the Parties or their counsel seek to
          19     solicit or otherwise encourage Settlement Class Members to submit written objections to the
          20     Settlement Agreement or appeal from the Order and Judgment. Class Counsel will not
          21     represent any Settlement Class Members with respect to any such objections to this Settlement.
          22            55.    Certification Reports Regarding Individual Settlement Payment Calculations.
          23     The Settlement Administrator will provide Sunrise’s counsel and Class Counsel a weekly
          24     report that certifies the number of Settlement Class Members who have submitted valid
          25     Requests for Exclusion, objections to the Settlement, and whether any Settlement Class
          26     Member has submitted a challenge to any information contained in his or her Notice Packet.
          27     Additionally, the Settlement Administrator will provide to counsel for both Parties any updated
          28     reports regarding the administration of the Settlement Agreement as needed or requested, as

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            1    consistent with the terms of the Settlement Agreement.
            2           56.    Distribution Timing of Individual Settlement Payments.            The Settlement
            3    Administrator will distribute the funds in the Settlement Fund within the time period set forth
            4    with respect to each category of payment. The Settlement Administrator will also issue a
            5    payment to itself for Court-approved services performed in connection with the Settlement.
            6                  56(a)     Class Counsel Award and Class Representative Enhancement
            7                            Payments: No later than five (5) business days after the Funding Date
            8                            has been reached and the Class Representatives and Class Counsel
            9                            have provided W-9 forms, the Settlement Administrator will issue
          10                             payments to Class Counsel of the Class Counsel Award and Class
          11                             Representative Enhancement Payments amounts awarded by the
          12                             Court;
          13                   56(b)     Individual Settlement Payment and PAGA Settlement Amount:
          14                             Within twenty-one (21) calendar days of the Funding Date, the
          15                             Settlement Administrator will issue the LWDA Payment Amount and
          16                             payments of the Individual Settlement Payment amounts to the
          17                             Participating Settlement Class Members.                The Settlement
          18                             Administrator will also issue a payment to itself for Court-approved
          19                             services performed in connection with the Settlement in the amount
          20                             approved by the Court.
          21            57.    Un-cashed Settlement Checks. Funds represented by Individual Settlement
          22     Payment checks returned as undeliverable and Individual Settlement Payment checks
          23     remaining un-cashed for more than one hundred twenty (120) calendar days after issuance will
          24     be void and those amounts will be used to offset any outstanding costs of Class Administration.
          25     If after making any such payments additional funds remain, they will be tendered to the State
          26     Bar of California Justice Gap Fund.
          27            58.    Certification of Completion.       Upon completion of administration of the
          28     Settlement, the Settlement Administrator will provide a written declaration under oath to certify

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            1    such completion to the Court and counsel for all Parties.
            2           59.     Treatment of Individual Settlement Payments. The portions of Individual
            3    Settlement Payments for under-payment of wages to Directors of Sales and Assistant Directors
            4    of Sales will be allocated one hundred percent (100%) as wages. All other Individual
            5    Settlement Payments will be allocated as follows: (i) twenty-five percent (25%) to settlement
            6    of wage claims and (ii) seventy-five percent (75%) to settlement of claims for interest and
            7    statutory penalties. The portion allocated to wages shall be reported on an IRS Form W-2 and
            8    the portion allocated to interest and penalties shall be reported on an IRS Form 1099 by the
            9    Settlement Administrator. Participating Settlement Class Members shall be responsible for
          10     remitting to state and/or federal taxing authorities any applicable other taxes due.
          11            60.     Administration of Taxes by the Settlement Administrator. The Settlement
          12     Administrator will be responsible for issuing to Plaintiffs, Participating Settlement Class
          13     Members, and Class Counsel any W-2, 1099, or other tax forms as may be required by law for
          14     all amounts paid pursuant to this Settlement. The Settlement Administrator will also be
          15     responsible for forwarding all payroll taxes and penalties to the appropriate government
          16     authorities.
          17            61.     Tax Liability. Sunrise makes no representation as to the tax treatment or legal
          18     effect of the payments called for hereunder, and Plaintiffs and Participating Settlement Class
          19     Members are not relying on any statement, representation, or calculation by Sunrise or by the
          20     Settlement Administrator in this regard.
          21            62.     Circular 230 Disclaimer. EACH PARTY TO THIS AGREEMENT (FOR
          22     PURPOSES OF THIS SECTION, THE “ACKNOWLEDGING PARTY” AND EACH
          23     PARTY TO THIS AGREEMENT OTHER THAN THE ACKNOWLEDGING PARTY, AN
          24     “OTHER PARTY”) ACKNOWLEDGES AND AGREES THAT (1) NO PROVISION OF
          25     THIS AGREEMENT, AND NO WRITTEN COMMUNICATION OR DISCLOSURE
          26     BETWEEN OR AMONG THE PARTIES OR THEIR ATTORNEYS AND OTHER
          27     ADVISERS, IS OR WAS INTENDED TO BE, NOR WILL ANY SUCH
          28     COMMUNICATION OR DISCLOSURE CONSTITUTE OR BE CONSTRUED OR BE

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            1    RELIED UPON AS, TAX ADVICE WITHIN THE MEANING OF UNITED STATES
            2    TREASURY DEPARTMENT CIRCULAR 230 (31 CFR PART 10, AS AMENDED);
            3    (2) THE ACKNOWLEDGING PARTY (A) HAS RELIED EXCLUSIVELY UPON HIS,
            4    HER, OR ITS OWN, INDEPENDENT LEGAL AND TAX COUNSEL FOR ADVICE
            5    (INCLUDING TAX ADVICE) IN CONNECTION WITH THIS AGREEMENT, (B) HAS
            6    NOT ENTERED INTO THIS AGREEMENT BASED UPON THE RECOMMENDATION
            7    OF ANY OTHER PARTY OR ANY ATTORNEY OR ADVISOR TO ANY OTHER
            8    PARTY, AND (C) IS NOT ENTITLED TO RELY UPON ANY COMMUNICATION OR
            9    DISCLOSURE BY ANY ATTORNEY OR ADVISER TO ANY OTHER PARTY TO
          10     AVOID        ANY    TAX      PENALTY        THAT      MAY      BE     IMPOSED       ON     THE
          11     ACKNOWLEDGING PARTY; AND (3) NO ATTORNEY OR ADVISER TO ANY
          12     OTHER PARTY HAS IMPOSED ANY LIMITATION THAT PROTECTS THE
          13     CONFIDENTIALITY OF ANY SUCH ATTORNEY’S OR ADVISER’S TAX
          14     STRATEGIES (REGARDLESS OF WHETHER SUCH LIMITATION IS LEGALLY
          15     BINDING) UPON DISCLOSURE BY THE ACKNOWLEDGING PARTY OF THE TAX
          16     TREATMENT OR TAX STRUCTURE OF ANY TRANSACTION, INCLUDING ANY
          17     TRANSACTION CONTEMPLATED BY THIS AGREEMENT.
          18            63.    No Prior Assignments. The Parties and their counsel represent, covenant, and
          19     warrant that they have not directly or indirectly assigned, transferred, encumbered, or purported
          20     to assign, transfer, or encumber to any person or entity any portion of any liability, claim,
          21     demand, action, cause of action or right herein released and discharged.
          22            64.    Nullification of Settlement Agreement. In the event that: (i) the Court does not
          23     finally approve the Settlement as provided herein; or (ii) the Settlement does not become final
          24     for any other reason, then this Settlement Agreement, and any documents generated to bring it
          25     into effect, will be null and void. Any order or judgment entered by the Court in furtherance
          26     of this Settlement Agreement will likewise be treated as void from the beginning.
          27            65.    Termination of Settlement Agreement. Plaintiffs (by unanimous agreement of
          28     all Plaintiffs) and Sunrise will each have the right to unilaterally terminate this Settlement

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            1    Agreement by providing written notice of their election to do so (“Termination Notice”) to all
            2    other Parties hereto within ten (10) business days of any of the following occurrences;
            3    provided, however, that the Parties agree to cooperate in good faith to address any issues the
            4    Court raises in connection with issuing Preliminary and/or Final Approval of the Settlement:
            5                  65(a)     the Court rejects, materially modifies, materially amends or changes,
            6                            or declines to issue a Preliminary Approval Order or a Final Approval
            7                            Order with respect to the Settlement Agreement and the Parties are not
            8                            permitted to remedy any deficiencies the Court identifies;
            9                  65(b)     an appellate court reverses the Final Approval Order, and the
          10                             Settlement Agreement is not reinstated without material change by the
          11                             Court on remand; or
          12                   65(c)     any court incorporates terms into, or deletes or strikes terms from, or
          13                             modifies, amends, or changes the Preliminary Approval Order, the
          14                             Final Approval Order, or the Settlement Agreement in a way that
          15                             Plaintiffs or Sunrise reasonably consider material, unless the
          16                             modification or amendment is accepted in writing by all Parties, except
          17                             that, as provided above, the Court’s approval of attorneys’ fees and
          18                             costs and service awards, or their amounts, is not a condition of the
          19                             Settlement Agreement.
          20            66.    Preliminary Approval Hearing. Plaintiffs will obtain a hearing before the Court
          21     to request the Preliminary Approval of the Settlement Agreement, and the entry of a
          22     Preliminary Approval Order for: (i) conditional certification of the Settlement Class for
          23     settlement purposes only, (ii) preliminary approval of the proposed Settlement Agreement, (iii)
          24     setting a date for a Final Approval/Settlement Fairness Hearing. The Preliminary Approval
          25     Order will provide for the Notice Packet to be sent to all Settlement Class Members as specified
          26     herein. In conjunction with the Preliminary Approval hearing, Plaintiffs will submit this
          27     Settlement Agreement, which sets forth the terms of this Settlement, and will include the
          28     proposed Notice Packet, which will include the proposed Notice of Class Action Settlement,

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            1    attached as Exhibit A. Class Counsel will be responsible for drafting all documents necessary
            2    to obtain preliminary approval.
            3           67.    Final Settlement Approval Hearing and Entry of Judgment. Upon expiration of
            4    the deadlines to postmark Requests for Exclusion or objections to the Settlement Agreement,
            5    and with the Court’s permission, a Final Approval/Settlement Fairness Hearing will be
            6    conducted to determine the Final Approval of the Settlement Agreement along with the
            7    amounts properly payable for: (i) Individual Settlement Payments; (ii) the Labor and
            8    Workforce Development Agency Payment; (ii) the Class Representative Enhancement
            9    Payment; (iii) Attorneys’ Fees and Costs; (iv) the Class Counsel Award; and (v) all Settlement
          10     Administration Costs. The Final Approval/Settlement Fairness Hearing will not be held earlier
          11     than thirty (30) calendar days after the Response Deadline. Class Counsel will be responsible
          12     for drafting all documents necessary to obtain final approval. Class Counsel will also be
          13     responsible for drafting the attorneys’ fees and costs and Class Counsel Award application to
          14     be heard at the Final Approval /Settlement Fairness Hearing.
          15            68.    Judgment and Continued Jurisdiction. Upon final approval of the Settlement by
          16     the Court or after the Final Approval/Settlement Fairness Hearing, the Parties will present the
          17     Judgment to the Court for its approval. The Judgment will dismiss the case with prejudice.
          18     After entry of the Judgment, the Court will have continuing jurisdiction solely for purposes of
          19     addressing: (i) the interpretation and enforcement of the terms of the Settlement, (ii) Settlement
          20     administration matters, and (iii) such post-Judgment matters as may be appropriate under court
          21     rules or as set forth in this Settlement Agreement.
          22            69.    Release by Plaintiffs. Upon the Effective Date, in addition to the claims being
          23     released by all Participating Class Members, Plaintiffs will release and forever discharge the
          24     Released Parties, to the fullest extent permitted by law, of and from any and all claims, known
          25     and unknown, asserted and not asserted, which Plaintiffs have or may have against the
          26     Released Parties, based on their employment with Sunrise, as of the date of execution of this
          27     Settlement Agreement. The releases include, but are not limited to, all disputes relating to or
          28     arising out of any state, local, or federal statute, ordinance, regulation, order, or common law,

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            1    including, but not limited to, Title VII of the Civil Rights Act of 1964, as amended, 42 U.S.C.
            2    § 2000(e), et seq.; the Civil Rights Act of 1866, as amended, 42 U.S.C. Sections 1981, et seq.;
            3    the Equal Pay Act, as amended, 29 U.S.C. § 206(d); the Fair Labor Standards Act of 1939, as
            4    amended, 29 U.S.C. § 201, et seq. and Code of Federal Regulations; the Orders of the
            5    California Industrial Welfare Commission regulating wages, hours and working conditions;
            6    the California Fair Employment & Housing Act, as amended, Cal. Govt. Code § 12900, et seq.;
            7    the California Family Rights Act of 1991, as amended; Cal. Govt. Code § 12945.2; the
            8    California Unruh Civil Rights Act, as amended, Cal. Civ. Code § 51, et seq.; the California
            9    Labor Code (including any claim for civil penalties under the California Labor Code Private
          10     Attorneys General Act); the California Government Code; Article 1 of the California
          11     Constitution; the Rehabilitation Act of 1973, as amended, 29 U.S.C. § 701 et seq.; the
          12     Americans with Disabilities Act of 1990, 42 U.S.C. § 12100, et seq.; the Family and Medical
          13     Leave Act of 1993, 29 U.S.C. § 2601, et seq. and any state law equivalent; the Employee
          14     Retirement Income Security Act of 1974, 29 U.S.C. § 1001, et seq.; the National Labor
          15     Relations Act, as amended, 29 U.S.C. § 151, et seq.; California Business and Professions Code
          16     Section 17200, et seq., other statutory and common law claims; statutory or common law rights
          17     to attorneys’ fees and costs, penalties/fines, and/or punitive damages; any action based on
          18     contract, quasi-contract, quantum meruit, implied contract, tort, wrongful or constructive
          19     discharge, breach of the covenant of good faith and fair dealing, defamation, libel, slander,
          20     immigration issues, infliction of emotional distress, negligence, assault, battery, conspiracy,
          21     harassment, retaliation, discrimination on any basis prohibited by statute or public policy,
          22     conversion, any interference with business opportunity or with contract or based upon any other
          23     theory; and/or similar causes of action. To the extent the foregoing release is a release to which
          24     Section 1542 of the California Civil Code or similar provisions of other applicable law may
          25     apply, Plaintiffs expressly waive any and all rights and benefits conferred upon them by the
          26     provisions of Section 1542 of the California Civil Code or similar provisions of applicable law
          27     which are as follows:
          28            A GENERAL RELEASE DOES NOT EXTEND TO CLAIMS THAT THE

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            1           CREDITOR OR RELEASING PARTY DOES NOT KNOW OR SUSPECT
            2           TO EXIST IN HIS OR HER FAVOR AT THE TIME OF EXECUTING THE
            3           RELEASE AND THAT, IF KNOWN BY HIM OR HER, WOULD HAVE
            4           MATERIALLY AFFECTED HIS OR HER SETTLEMENT WITH THE
            5           DEBTOR OR RELEASED PARTY.
            6    However, solely as to Plaintiff Nancy Schlieser, all released claims referenced above, including
            7    those made by her in connection with her general release, do not extend to nor apply in any
            8    way to the action captioned Nancy Schlieser v. Sunrise Senior Living Management, Inc., et al.,
            9    Case No. 8:19-cv-00517 (JAK PLAx), and shall not bar nor affect in any way the claims
          10     alleged and damages and relief sought by her in that action.
          11            70.    Older Workers’ Benefit Protection Act Waiver.
          12                   70(a)     With the exception of the claims alleged in Plaintiff Nancy Schlieser’s
          13                             lawsuit currently pending against Sunrise captioned Nancy Schlieser
          14                             v. Sunrise Senior Living Management, Inc., et al., Case No. 8:19-cv-
          15                             00517 (JAK PLAx), Plaintiffs specifically intend that the claims they
          16                             are releasing herein include any claims that Plaintiffs may have under
          17                             the Age Discrimination in Employment Act of 1967, as amended by
          18                             the Older Workers’ Benefit Protection Act of 1990.
          19                   70(b)     Plaintiffs are advised to consult with their counsel before signing this
          20                             Settlement Agreement because Plaintiffs are permanently giving up
          21                             significant legal rights. Plaintiffs acknowledge that they have been so
          22                             advised.
          23                   70(c)     Plaintiffs acknowledge that they have been given at least twenty-one
          24                             (21) days to execute and return this Settlement Agreement and have
          25                             been advised that, after they execute this Settlement Agreement,
          26                             Plaintiffs have seven (7) days to reconsider and revoke the Settlement
          27                             Agreement, recognizing that Plaintiffs will not be provided anything
          28                             under this Settlement Agreement until at least that seven (7) day

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            1                            revocation period has expired. The general release will then become
            2                            effective on the eighth (8th) calendar day after it is signed, provided
            3                            Plaintiffs do not revoke it.
            4                  70(d)     In order to effectively revoke this general release, the Parties agree that
            5                            Plaintiffs must provide written notice of such revocation within seven
            6                            (7) days after Plaintiffs execute this Settlement Agreement to counsel
            7                            for Sunrise, Jason C. Schwartz and Michele L. Maryott, via email to
            8                            jschwartz@gibsondunn.com and mmaryott@gibsondunn.com or by
            9                            fax to 202.467.0593 and 949.475.4668.
          10            71.    Exhibits Incorporated by Reference. The terms of this Settlement Agreement
          11     include the terms set forth in any attached Exhibits, which are incorporated by this reference as
          12     though fully set forth herein. Any Exhibits to this Settlement Agreement are an integral part of
          13     the Settlement.
          14            72.    Entire Agreement. This Settlement Agreement and any attached Exhibits
          15     constitute the entirety of the Parties’ settlement terms and supersede all prior written or oral
          16     agreements between the Parties.
          17            73.    Amendment or Modification. No amendment, change, or modification to this
          18     Settlement Agreement will be valid unless in writing and signed, either by the Parties or their
          19     counsel.
          20            74.    Authorization to Enter Into Settlement Agreement. Counsel for all Parties
          21     warrant and represent they are expressly authorized by the Parties whom they represent to
          22     negotiate this Settlement Agreement and to take all appropriate action required or permitted to
          23     be taken by such Parties pursuant to this Settlement Agreement to effectuate its terms and to
          24     execute any other documents required to effectuate the terms of this Settlement Agreement.
          25     The Parties and their counsel will cooperate with each other and use their best efforts to effect
          26     the implementation of the Settlement. If the Parties are unable to reach agreement on the form
          27     or content of any document needed to implement the Settlement, or on any supplemental
          28     provisions that may become necessary to effectuate the terms of this Settlement, the Parties

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            1    may seek the assistance of the Court to resolve such disagreement.
            2           75.    Binding on Successors and Assigns. This Settlement Agreement will be binding
            3    upon, and inure to the benefit of, the successors or assigns of the Parties hereto, as previously
            4    defined.
            5           76.    California Law Governs. All terms of this Settlement Agreement and Exhibits
            6    hereto will be governed by and interpreted according to the laws of the State of California.
            7           77.    Execution and Counterparts. This Settlement Agreement is subject to the
            8    execution of all Parties. The Settlement Agreement may be executed in one or more
            9    counterparts. All executed counterparts and each of them, including facsimile and scanned
          10     copies of the signature page, will be deemed to be one and the same instrument.
          11            78.    Acknowledgement that the Settlement is Fair and Reasonable. The Parties
          12     believe this Settlement Agreement is a fair, adequate and reasonable settlement of the Actions
          13     and have arrived at this Settlement after arm’s-length negotiations and in the context of
          14     adversarial litigation, taking into account all relevant factors, present and potential. The Parties
          15     further acknowledge that they are each represented by competent counsel and that they have
          16     had an opportunity to consult with their counsel regarding the fairness and reasonableness of
          17     this Settlement.
          18            79.    Invalidity of Any Provision. Before declaring any provision of this Settlement
          19     Agreement invalid, the Court will first attempt to construe the provision as valid to the fullest
          20     extent possible consistent with applicable precedents so as to define all provisions of this
          21     Settlement Agreement valid and enforceable.
          22            80.    Waiver of Certain Appeals. With the exception of a right to appeal the reduction
          23     of any award of attorneys’ fees, costs, and expenses as provided herein, Plaintiffs and Sunrise
          24     hereby waive their right to appeal or seek other judicial review of any order that is materially
          25     consistent with the terms of this Settlement Agreement.
          26            81.    Class Certification for Settlement Purposes Only. The Parties stipulate to class
          27     certification of any claims not yet certified for purposes of implementing the Settlement only,
          28     and in no way is that an admission by Sunrise that class certification is proper. The Settlement

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            1    will not be admissible in any proceeding as evidence that (i) a class or collective should be
            2    certified as Plaintiffs have proposed for any claims, including but not limited to any currently
            3    non-certified claims; (ii) that any of the Actions should proceed on a representative basis
            4    pursuant to PAGA; or (iii) Sunrise is liable to Plaintiffs or any other individuals they claim to
            5    represent in any of the Actions in connection with any claims that were or could have been
            6    asserted in any of the Actions.
            7           82.    Non-Admission of Liability. The Parties enter into this Settlement to resolve the
            8    dispute that has arisen between them and to avoid the burden, expense and risk of continued
            9    litigation. In entering into this Settlement, Sunrise does not admit, and specifically denies, that
          10     it violated any federal, state, or local law; violated any regulations or guidelines promulgated
          11     pursuant to any statute or any other applicable laws, regulations or legal requirements; breached
          12     any contract; violated or breached any duty; engaged in any misrepresentation or deception; or
          13     engaged in any other unlawful conduct with respect to its employees. Neither this Settlement
          14     Agreement, nor any of its terms or provisions, nor any of the negotiations connected with it,
          15     will be construed as an admission or concession by Sunrise of any such violations or failures
          16     to comply with any applicable law. Except as necessary in a proceeding to enforce the terms
          17     of this Settlement, this Settlement Agreement and its terms and provisions will not be offered
          18     or received as evidence in any action or proceeding to establish any liability or admission on
          19     the part of Sunrise or to establish the existence of any condition constituting a violation of, or a
          20     non-compliance with, federal, state, local or other applicable law.
          21            83.    No Media Statements: The Parties and their counsel agree that they will not issue
          22     any press releases, initiate any contact with the press, respond to any press inquiry, or have any
          23     communication with the press about the fact, amount, or terms of the Settlement.
          24            84.    Waiver. No waiver of any condition or covenant contained in this Settlement
          25     Agreement or failure to exercise a right or remedy by any of the Parties hereto will be
          26     considered to imply or constitute a further waiver by such party of the same or any other
          27     condition, covenant, right or remedy.
          28            85.    Enforcement Actions. In the event that one or more of the Parties institutes any

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            1    legal action or other proceeding against any other Party or Parties to enforce the provisions of
            2    this Settlement or to declare rights and/or obligations under this Settlement, the successful Party
            3    or Parties will be entitled to recover from the unsuccessful Party or Parties reasonable attorneys’
            4    fees and costs, including expert witness fees incurred in connection with any enforcement
            5    actions.
            6           86.    Mutual Preparation. The Parties have had a full opportunity to negotiate the
            7    terms and conditions of this Settlement Agreement. Accordingly, this Settlement Agreement
            8    will not be construed more strictly against one party than another merely by virtue of the fact
            9    that it may have been prepared by counsel for one of the Parties, it being recognized that,
          10     because of the arms-length negotiations between the Parties, all Parties have contributed to the
          11     preparation of this Settlement Agreement.
          12            87.    Representation By Counsel. The Parties acknowledge that they have been
          13     represented by counsel throughout all negotiations that preceded the execution of this
          14     Settlement Agreement, and that this Settlement Agreement has been executed with the advice
          15     of counsel. Further, Plaintiffs and Class Counsel warrant and represent that there are no liens
          16     on the Settlement Agreement.
          17            88.    All Terms Subject to Final Court Approval. All amounts and procedures
          18     described in this Settlement Agreement herein will be subject to final Court approval.
          19            89.    Cooperation and Execution of Necessary Documents. All Parties will cooperate
          20     in good faith and execute all documents to the extent reasonably necessary to effectuate the
          21     terms of this Settlement Agreement.
          22            90.    Binding Agreement. The Parties warrant that they understand and have full
          23     authority to enter into this Settlement Agreement, and further intend that this Settlement
          24     Agreement will be fully enforceable and binding on all parties, with retention of jurisdiction by
          25     the court as provided therein, and agree that it will be admissible and subject to disclosure in
          26     any proceeding to enforce its terms.
          27
          28

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                                 6/24/2020




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                                               #:2098

            1                       READ CAREFULLY BEFORE SIGNING
            2
                                                    PLAINTIFF CHRISTIAN VAN CLEAVE
            3
            4
                 Dated: _____________________
            5
                                                    Plaintiff Christian Van Cleave
            6
            7
                                                    PLAINTIFF NANCY SCHLIESER
            8
            9
                 Dated: _____________________
          10                                        Plaintiff Nancy Schlieser
          11
          12                                        DEFENDANT SUNRISE SENIOR LIVING
                                                    MANAGEMENT, INC.
          13
          14
          15     Dated: _____________________
                                                    By Edward Frantz, Vice President and Secretary
          16
          17
          18
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              Case 8:19-cv-00443-JAK-PLA Document 90-1 Filed 10/07/21 Page 53 of 122 Page ID
                                                #:2099

             1                                         APPROVED AS TO FORM
             2
                                                                SOMMERS SCHWARTZ, P.C.
             3
             4
                  Dated: June 22, 2020                       By:
             5                                                  Jason J. Thompson
             6                                                  Attorneys for Plaintiff Christian Van Cleave
             7
             8                                                  JCL LAW FIRM, A.P.C.
             9
           10     Dated:                                     By:
                                                                Jean-Claude Lapuyade
           11                                                   Attorneys for Plaintiff Christian Van Cleave
           12
           13
                                                                ZAKAY LAW GROUP, APL
           14
           15     Dated:     Ju
                              _n_e 2_2_,_2_0_2_0             By:
           16                                                  Shani O. Zakay
                                                               Attorneys for Plaintiff Christian Van Cleave
           17
           18
                                                                MATERN LAW GROUP, PC
           19
           20
                  Dated:                                     By:
           21                                                   Scott A. Brooks
           22                                                   Attorneys for Plaintiff Nancy Schlieser
           23
           24                                                   GIBSON DUNN & CRUTCHER LLP
           25
           26     Dated: June 21, 2020 By:
                                                                Michele L. Maryott
           27                                                   Attorneys for Defendant Sunrise Senior Living
           28                                                   Management, Inc.

 Gibson, Dunn &
 Crutcher LLP

                                                                31
                                                     EXHIBIT 1, Page 53
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              Case 8:19-cv-00443-JAK-PLA Document 90-1 Filed 10/07/21 Page 54 of 122 Page ID
                                                #:2100

             1                                         APPROVED AS TO FORM
             2
                                                                SOMMERS SCHWARTZ, P.C.
             3
             4
                  Dated: _____________________               By:
             5                                                  Jason J. Thompson
             6                                                  Attorneys for Plaintiff Christian Van Cleave

             7
             8                                                  JCL LAW FIRM, A.P.C.
             9
           10     Dated: _____________________
                          June 22, 2020                      By:
                                                                Jean-Claude Lapuyade
           11                                                   Attorneys for Plaintiff Christian Van Cleave
           12
           13                                                   ZAKAY LAW GROUP, APL
           14
           15              June 22, 2020
                  Dated: _____________________               By:
           16                                                   Shani O. Zakay
                                                                Attorneys for Plaintiff Christian Van Cleave
           17
           18
                                                                MATERN LAW GROUP, PC
           19
           20
                  Dated: _____________________               By:
           21                                                   Scott A. Brooks
           22                                                   Attorneys for Plaintiff Nancy Schlieser
           23
           24                                                   GIBSON DUNN & CRUTCHER LLP
           25
           26     Dated: June 21, 2020                       By:
                                                                Michele L. Maryott
           27
                                                                Attorneys for Defendant Sunrise Senior Living
           28                                                   Management, Inc.

 Gibson, Dunn &
 Crutcher LLP

                                                                31
                                                     EXHIBIT 1, Page 54
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                                               #:2101

            1                              APPROVED AS TO FORM
            2
                                                    SOMMERS SCHWARTZ, P.C.
            3
            4
                 Dated: _____________________    By:
            5                                       Jason J. Thompson
            6                                       Attorneys for Plaintiff Christian Van Cleave

            7
            8                                       JCL LAW FIRM, A.P.C.
            9
          10     Dated: _____________________    By:
                                                    Jean-Claude Lapuyade
          11                                        Attorneys for Plaintiff Christian Van Cleave
          12
          13                                        ZAKAY LAW GROUP, APL
          14
          15     Dated: _____________________    By:
          16                                        Shani O. Zakay
                                                    Attorneys for Plaintiff Christian Van Cleave
          17
          18
                                                    MATERN LAW GROUP, PC
          19
          20
                              June 30, 2020
                 Dated: _____________________    By:
          21                                        Scott A. Brooks
          22                                        Attorneys for Plaintiff Nancy Schlieser
          23
          24                                        GIBSON DUNN & CRUTCHER LLP
          25
          26     Dated:                          By:
                                                    Michele L. Maryott
          27
                                                    Attorneys for Defendant Sunrise Senior Living
          28                                        Management, Inc.

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                        EXHIBIT A

                             EXHIBIT 1, Page 56
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                                                       #:2103
          Van Cleave v. Sunrise Senior Living Management   Inc., Case No. 3:19-cv-00044-L-NLS (S.D. Cal.) and
            Schlieser v. Sunrise Senior Living Management Inc., Case No. 8:19-cv-00443-JAK-PLA (C.D Cal.)
                 UNITED STATES DISTRICT COURT, CENTRAL DISTRICT OF CALIFORNIA
                                     NOTICE OF CLASS ACTION SETTLEMENT
                   You are not being sued. This notice affects your rights. Please read it carefully.
 To:     All persons who were employed in non-exempt positions at Sunrise Senior Living Management, Inc.’s
         California communities at any time during the period from July 1, 2016 to June 15, 2020.
 On             , the Honorable John A. Kronstadt of the United States District Court, Central District of California, granted
 preliminary approval of this class action settlement and ordered the parties to notify all Class Members of the settlement.
 You have received this notice because Sunrise’s records indicate that you are a Class Member and therefore
 entitled to a payment from the settlement.
 Unless you choose to opt out of the settlement by following the procedures described below, you will be deemed a
 Participating Class Member and, if the Court grants final approval of the settlement, you will be mailed a check
 for your share of the settlement fund. The Final Approval Hearing on the adequacy, reasonableness, and fairness of the
 Settlement will be held at _:00 _.m. on               , 2021 in Courtroom 10B of the United States District Court, Central
 District of California, located at 350 W. First Street, Los Angeles, California 90012. You are not required to attend the
 Hearing in order to receive your share of the settlement fund.
                                                Summary of the Litigation
Plaintiffs Christian Van Cleave and Nancy Schlieser, on their behalf and on behalf of other current and former non-exempt
employees, allege that Sunrise Senior Living Management Inc. (“Sunrise”) violated California state labor laws as a result
of its alleged failure to, among other things: (1) pay minimum and overtime wages to employees for all hours worked;
(2) include bonuses and commissions in the regular rate of pay used to calculate overtime pay; (3) provide employees with
meal and rest breaks; (4) timely pay all wages owed to employees during each pay period and upon termination of their
employment; and (5) provide employees with accurate, itemized wage statements.
After the exchange of relevant information and evidence, the parties participated in a Mandatory Settlement Conference
before the Hon. Paul L. Abrams on August 12, 2019 and a mediation with Lisa Klerman, Esq. on February 20, 2020.
With their guidance, the parties were able to negotiate a complete settlement of Plaintiffs’ claims.
 Counsel for Plaintiffs, and the attorneys appointed by the Court to represent the class, Sommers Schwartz, P.C., JCL Law
 Firm, A.P.C., Zakay Law Group, APL, and Matern Law Group, PC (“Class Counsel”), have investigated and researched
 the facts and circumstances underlying the issues raised in the case and the applicable law. While Class Counsel believe
 that the claims alleged in this lawsuit have merit, Class Counsel also recognize that the risk and expense of continued
 litigation justify settlement. Based on the foregoing, Class Counsel believe the proposed settlement is fair, adequate,
 reasonable, and in the best interests of the Class Members.
 Sunrise denies that it violated any wage and hour laws and believes it has strong defenses to all of Plaintiffs’ claims. By
 agreeing to settle, Sunrise is not admitting liability or wrongdoing as to any of the factual allegations or claims in the case.
 Sunrise has agreed to settle the case as part of a compromise with Plaintiffs and to avoid the time and expense of further
 litigation.
                                     Summary of The Proposed Settlement Terms
 Plaintiffs and Sunrise have agreed to settle the underlying class claims in exchange for a Class Settlement Amount of
 $2,450,000.00. This amount includes: (1) individual settlement payments to all participating Class Members; (2) Class
 Representative Enhancement Payments of $7,500 each to Plaintiffs for their services on behalf of the class and for
 general releases of all claims arising out of their employment with Sunrise; (3) up to $816,666.00 in Class Counsel’s
 attorneys’ fees and Class Counsel’s litigation costs and expenses; (4) a $40,000 payment to the California Labor and
 Workforce Development Agency (“LWDA”) in connection and accordance with the Labor Code Private Attorneys
 General Act of 2004 (“PAGA”); and (5) reasonable Settlement Administrator’s fees and expenses currently estimated at
*-****
                        Questions? Contact the Settlement Administrator toll free at 1-***-***-****
                                                          Page 1
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 $55,000. If the Court approves these amounts, after#:2104
                                                       deducting the Class Representative Enhancement Payments,
 attorneys’ fees and costs, the payment to the LWDA, and the Settlement Administrator’s fees and expenses, a total of
 approximately $______________ (“Net Settlement Amount”) will be allocated to Class Members who do not opt out of
 the settlement (“Participating Class Members”).
 The formula for calculating settlement payments is as follows:
         1. Awards to Commissioned Employees: First, Sunrise will calculate individual amounts of under-payment of
            wages to Participating Class Members who held the positions of Director of Sales and Assistant Director of
            Sales during the Class Period in connection with a programming error that resulted in those individuals’
            commissions being temporarily inadvertently excluded from their regular rate of pay. Each of these individuals
            will receive the full calculated amount of their previously inadvertently unpaid wages.
         2. Individual Settlement Awards: Once the awards to Commissioned Employees are calculated and deducted from
            the Net Settlement Amount, the Settlement Administrator will apportion the remainder of the Net Settlement
            Amount between Participating Class Members (including those who held the positions of Director of Sales and
            Assistant Director of Sales) based upon each individual’s total number of points awarded. For this portion of the
            Settlement Awards, Sunrise will calculate the total number of shifts worked by each Participating Class Member
            during the Class Period. “Shifts” means any day or partial day worked by Class Members at Sunrise’s California
            communities during the Class Period. This portion of the Settlement Awards will be calculated as follows:
             a. Individuals who are currently employed by Sunrise will receive 2 points per Shift.
             b. Individuals who are former employees of Sunrise will receive 3 points per Shift.
             c. Individuals who are classified as part-time according to Sunrise’s records will have their point totals for (i)
                and (ii) reduced by ½ to account for their part-time status for the time period where they were classified as
                part-time.
             d. Individuals (excluding Directors of Sales and Assistant Directors of Sales who received payment under
                paragraph 1) who worked overtime hours during a pay period in which they also received any bonus
                payment will receive 5 points for each instance.
             e. All individuals will receive 10 points for each wage statement they received during the Class Period.
             f. The value of each individual point will be determined by dividing the Net Settlement Amount by the total
                number of points awarded, resulting in the individual “Point Value.” Each Participating Class Member’s
                Individual Settlement Payment will be calculated by multiplying that Participating Class Member’s total
                number of points by the Point Value.
 According to Sunrise’s records, you worked a total of ___shifts during the Class Period, worked overtime hours during a
 pay period in which you received a bonus payment on ___ occasions, and received a total of ___ wage statements. Your
 estimated point total is ________.
 If you believe the information provided above is incorrect, you must send a letter to the Settlement Administrator at the
 address listed above stating the reasons why you dispute the calculation of your total points. If you dispute the
 information stated above, Sunrise’s records will control unless you are able to provide documentation that establishes
 otherwise.
 IRS Forms W-2 and 1099 will be distributed to Participating Class Members and the appropriate taxing authorities
 reflecting the payments they receive under the settlement. Class Members should consult their tax advisors concerning the
 tax consequences of the payments they receive under the Settlement. For purposes of this settlement, 25% of each
 Individual Settlement Payment will be allocated as wages for which IRS Forms W-2 will be issued, and 75% will be
 allocated as non-wages, i.e., interest and penalties, for which IRS Forms 1099-MISC will be issued.




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                         Questions? Contact the Settlement Administrator toll free at 1-***-***-****
                                                           Page 2
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                                          Your Options #:2105
                                                       Under the Settlement
 Option 1 – Automatically Receive a Payment from the Settlement
 If want to receive your payment from the settlement, no further action is required on your part. You will automatically
 receive your settlement payment from the Settlement Administrator after the settlement receives final approval by the
 Court.
 Option 2 – Opt Out of the Settlement
 If you do not wish to participate in the settlement, you may exclude yourself by submitting a written request to the
 Settlement Administrator expressly and clearly indicating that you have received this Notice of Class Action Settlement
 and desire to be excluded from the settlement. The written request for exclusion must include your name, signature,
 address, telephone number, and last four digits of your Social Security Number. Sign, date, and mail the request for
 exclusion by First Class U.S. Mail or equivalent, to the address below.
 Settlement Administrator
 c/o



 The written request to be excluded must be postmarked or faxed no later than            , 2021. If you submit a request
 for exclusion which is not postmarked or faxed by            , 2021 your request for exclusion will be rejected, and you
 will be included in the settlement class.
 Option 3 – Object to the Settlement
 If you wish to object to the settlement because you find it unfair or unreasonable, you may submit an objection to the
 Court stating why you object to the settlement. Your objection must provide: (1) your full name, signature, address, and
 telephone number, (2) a written statement of all grounds for your objection accompanied by any legal support for such
 objection; (3) copies of any papers, briefs, or other documents upon which the objection is based; and (4) a statement
 about whether you intend to appear at the Final Fairness Hearing.
 The objection must be filed with the Clerk of the Court, United States District Court, Central District of California located
 at 350 W. 1st Street, Los Angeles, California 90012 and must include the case numbers referenced at the top of this
 notice. Late objections will not be considered. By submitting an objection, you are not excluding yourself from the
 settlement. To exclude yourself from the settlement, you must follow the directions described above under Option 2.
 Please note that you cannot both object to the settlement and exclude yourself. You must choose one option only.
 If you file an objection, you may also, if you wish, appear at the Final Approval Hearing set for
                                    at _.m. in Courtroom 10B of the of the United States District Court, Central District of
 California located at 350 W. 1st Street, Los Angeles, California 90012, and discuss your objection with the Court and the
 Parties at your own expense. You may also retain an attorney to represent you at the hearing. You may not speak at the
 hearing unless you file a timely objection.
 If you choose Option 1, and if the Court grants final approval of the settlement, you will be mailed a check for your share
 of the settlement funds. In addition, you will be deemed to have released or waived the following claims (“Released
 Claims) during the Class Period:
         All claims, judgments, liens, losses, debts, liabilities, demands, obligations, guarantees, penalties
         (including but not limited to PAGA penalties, waiting time penalties and all other penalties available
         under the California Labor Code), costs, expenses, attorneys’ fees, damages, indemnities, actions,
         causes of action, and obligations of every kind and nature in law, equity or otherwise, known or
         unknown, suspected or unsuspected, disclosed or undisclosed, contingent or accrued, arising out of or
         relating to the causes of action asserted or which could have been asserted based on the allegations in
         each of the operative complaints in the Actions, including, and notwithstanding the theory on which
*-****
                        Questions? Contact the Settlement Administrator toll free at 1-***-***-****
                                                          Page 3
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         such causes of action were, or could be, based:#:2106
                                                           (a) all claims for failure to pay overtime wages in
         violation of the Fair Labor Standards Act (29 U.S.C. Section 201, et seq.); (b) all claims for failure to
         pay minimum wages in violation of the Fair Labor Standards Act (29 U.S.C. Section 201, et seq.); (c)
         all claims for unpaid overtime (Labor Code §§ 510, 1194, 1198, and IWC Wage Order 4, and IWC
         Wage Order 5-2001, § 3); (d) all claims for meal and rest period violations (Labor Code §§ 226.7, 510,
         512, 1194, 1197, IWC Wage Order No. 5-2001, §§ 11, 12); (e) all claims for unpaid minimum wages
         (Labor Code §§ 1194, 1197, 1197.1, IWC Wage Order No. 5-2001, § 4); (f) all claims for the failure to
         timely pay wages upon termination, failure to pay waiting time violations, and failure to pay all wages
         due to discharged and quitting employees (Labor Code §§ 201, 202 and 203); (g) all claims for the
         failure to timely pay wages during employment (Labor Code § 204); (h) all claims for wage statement
         violations (Labor Code §§ 226, 1174, IWC Wage Order No. 5-2001, § 7); (i) all claims for the failure to
         maintain records (Labor Code §§ 226, 1174, and IWC Wage Order No. 5-2001, § 7); (j) all claims for
         failure to indemnify employees for necessary expenditures incurred in discharge of duties (Labor Code
         § 2802); (k) all claims asserted through California Labor Code sections 2698 et seq. (the Private
         Attorneys General Act of 2004 (“PAGA”)) arising out of the aforementioned claims; (l) all claims
         asserted through California Business & Professions Code § 17200 et seq. arising out of the
         aforementioned claims; and (m) all claims for breach of the covenant of good faith and fair dealing
         arising out of the aforementioned claims.
Solely with respect to the Released Claims, Participating Class Members will also waive all rights and benefits
afforded by Section 1542 of the California Civil Code as to any Released Claims. Section 1542 provides:
         A GENERAL RELEASE DOES NOT EXTEND TO CLAIMS THAT THE CREDITOR OR
         RELEASING PARTY DOES NOT KNOW OR SUSPECT TO EXIST IN HIS OR HER
         FAVOR AT THE TIME OF EXECUTING THE RELEASE AND THAT, IF KNOWN BY HIM
         OR HER, WOULD HAVE MATERIALLY AFFECTED HIS OR HER SETTLEMENT WITH
         THE DEBTOR OR RELEASED PARTY.
 If you choose Option 2, you will no longer be a Class Member, and you will (1) be barred from participating in the
 settlement, but you will not be deemed to have released the Released Claims, (2) be barred from filing an objection to the
 settlement, and (3) not receive a payment from the settlement.
 If you choose Option 3, you will still be entitled to money from the settlement. If the Court overrules your objection, you
 will be deemed to have released the Released Claims.
                                                 Additional Information
 This Notice of Class Action Settlement is only a summary of the case and the settlement. For a more detailed statement
 of the matters involved in the case and the settlement, you may refer to the pleadings, the settlement agreement, and other
 papers filed in the case.
 All inquiries by Class Members regarding this Class Notice and/or the settlement should be directed to the Settlement
 Administrator [insert contact information] or Class Counsel:


Jason Thompson                                                  Matthew J. Matern
Sommers Schwartz PC                                             Matern Law Group, PC
402 W Broadway, Suite 1760                                      1230 Rosecrans Ave., Suite 200
San Diego, CA 92101                                             Manhattan Beach, CA 90266
Phone: 1 (866) 942-0101                                         Phone: 1 (855) 888-2577


 PLEASE DO NOT CONTACT THE CLERK OF THE COURT, THE JUDGE, SUNRISE, OR SUNRISE’S
 ATTORNEYS WITH INQUIRIES.

*-****
                        Questions? Contact the Settlement Administrator toll free at 1-***-***-****
                                                          Page 4
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                                   #:2107


                MLG ATTORNEYS' FEES SUMMARY CHART

                                     TABLE 1
                             General Motion Practice
      Attorney             Rate                  Hours                 Fee
 Matthew J. Matern
                          $950.00                  2.10             $1,995.00
      Attorney
    Scott Brooks
                          $850.00                 16.70             $14,195.00
      Attorney
Fees Request for General Motion                   18.80             $16,190.00
Practice
                            Pre-Litigation Investigation
      Attorney              Rate                 Hours                 Fee
    Scott Brooks
                           $850.00                19.70             $16,745.00
      Attorney
Fees Request for Pre-Litigation                   19.70             $16,745.00
Investigation
                                     Pleadings
      Attorney              Rate                 Hours                 Fee
    Scott Brooks
                          $850.00                  6.40             $5,440.00
      Attorney
Fees Request for Pleadings (Complaints             6.40             $5,440.00
and Amended Complaints)


                  Stipulations, Notices, Reports, Case Management
      Attorney              Rate                 Hours                 Fee
    Scott Brooks
                           $850.00                 4.40             $3,740.00
      Attorney
Fees Request for Stipulation, Notices,             4.40             $3,740.00
Reports, Case Management


            General Communications with Plaintiffs and Class Members
      Attorney           Rate                  Hours                 Fee



                                          31
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    Scott Brooks
                         $850.00                21.40             $18,190.00
      Attorney
Fees Request for General                        21.40             $18,190.00
Communications with Plaintiffs and
Class Members
                            Discovery & Depositions
      Attorney             Rate                 Hours                Fee
    Scott Brooks
                          $850.00               57.30             $48,705.00
      Attorney
Fees Request for Discovery &                    57.30             $48,705.00
Depositions
                          Motion for Class Certification
      Attorney              Rate                Hours                Fee
    Scott Brooks
                          $850.00               34.10             $28,985.00
      Attorney
 Matthew J. Matern
                          $950.00               10.70             $10,165.00
      Attorney
Fees Request for Motion for Class               44.80             $39,150.00
Certification

                  Mediation, Settlement and Settlement Approval
    Attorney                Rate                Hours                Fee
   Debra Tauger
                          $875.00               58.70             $51,362.50
     Attorney
    Matthew W.
     Gordon               $725.00               12.20              $8,845.00
     Attorney


 Matthew J. Matern        $950.00               23.50             $22,325.00
      Attorney
    Scott Brooks
                          $850.00               97.80             $83,130.00
      Attorney
Fees Request for Mediation, Settlement          192.20            $165,662.50
and Settlement Approval




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               MLG ATTORNEYS' FEES SUMMARY CHART
                                  TABLE 2
 Attorney       Rate         HOURS BY TASKS            TOTALS
Debra Tauger   $875.00 Mediation,         58.70 Hours: 58.70
                       Settlement and           Amount:$51,362.50
                       Settlement
                       Approval
Matthew W.     $725.00 Mediation,               Hours: 12.20
Gordon                 Settlement and           Amount:$8,845.00
                                          12.20
                       Settlement
                       Approval
Matthew J.     $950.00 Mediation,               Hours: 36.30
Matern                 Settlement and           Amount:$34,485.00
                                          23.50
                       Settlement
                       Approval
               $950.00 Motion for Class
                                          10.70
                       Certification
                       General Motion
                                           2.10
                       Practice
Scott Brooks   $850.00 Discovery &              Hours: 257.80
                                          57.30
                       Depositions              Amount:$219,130.00
                       Stipulations,
                       Notices, Reports,
                                           4.40
                       Case Management

                         General
                         Communications
                                               21.40
                         with Plaintiff and
                         Class Members
                         General Motion
                                               16.70
                         Practice
                         Pleadings
                         (Complaint and
                         Amended               6.40
                         Complaint)

                         Pre-Litigation
                                               19.70
                         Investigation

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                        Motion for Class
                                             34.10
                        Certification
                        Mediation,
                        Settlement and
                                             97.80
                        Settlement
                        Approval
TOTAL                                                 Hours: 365.00
                                                      Amount: $313,822.50




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Date       ProfessionaDescription                                  Task    Hour   Rate      Total
04/10/2020 DJT        1529-002.001/ Schlieser, Nancy               S/M     3.60   $875.00   $3,150.00
                      Schlieser, Nancy vs. Sunrise Senior Living
                      Management, Inc.
                      Drafted SA
04/10/2020 DJT        1529-002.001/ Schlieser, Nancy               S/M     0.40   $875.00   $350.00
                      Schlieser, Nancy vs. Sunrise Senior Living
                      Management, Inc.
                      Discussed drafting SA with SAB
04/14/2020 DJT        1529-002.001/ Schlieser, Nancy               S/M     3.50   $875.00   $3,062.50
                      Schlieser, Nancy vs. Sunrise Senior Living
                      Management, Inc.
                      Drafted class notice for MPA                                                      `
04/14/2020 DJT        1529-002.001/ Schlieser, Nancy               S/M     1.50   $875.00   $1,312.50
                      Schlieser, Nancy vs. Sunrise Senior Living
                      Management, Inc.
                      Starting wokring on MPA
04/15/2020 DJT        1529-002.001/ Schlieser, Nancy               S/M     4.30   $875.00   $3,762.50
                      Schlieser, Nancy vs. Sunrise Senior Living
                      Management, Inc.
                      Worked on MPA
04/16/2020 DJT        1529-002.001/ Schlieser, Nancy               S/M     6.20   $875.00   $5,425.00
                      Schlieser, Nancy vs. Sunrise Senior Living
                      Management, Inc.
                      Worked on MPA
04/17/2020 DJT        1529-002.001/ Schlieser, Nancy               S/M     3.00   $875.00   $2,625.00
                      Schlieser, Nancy vs. Sunrise Senior Living
                      Management, Inc.
                      Worked on MPA
04/29/2020 DJT        1529-002.001/ Schlieser, Nancy               S/M     0.30   $875.00   $262.50
                      Schlieser, Nancy vs. Sunrise Senior Living
                      Management, Inc.
                      Discussed MPA with SAB
04/29/2020 DJT        1529-002.001/ Schlieser, Nancy               S/M     2.10   $875.00   $1,837.50
                      Schlieser, Nancy vs. Sunrise Senior Living
                      Management, Inc.
                      Worked on MPA
04/30/2020 DJT        1529-002.001/ Schlieser, Nancy               S/M     6.80   $875.00   $5,950.00
                      Schlieser, Nancy vs. Sunrise Senior Living
                      Management, Inc.
                      Worked on MPA
05/01/2020 DJT        1529-002.001/ Schlieser, Nancy               S/M     8.00   $875.00   $7,000.00
                      Schlieser, Nancy vs. Sunrise Senior Living
                      Management, Inc.
                      Worked on MJM dec for MPA
05/05/2020 DJT        1529-002.001/ Schlieser, Nancy               S/M     6.70   $875.00   $5,862.50
                      Schlieser, Nancy vs. Sunrise Senior Living
                      Management, Inc.
                      Finished preliminary draft of MJM's dec
                      ISO MPA
05/05/2020 DJT        1529-002.001/ Schlieser, Nancy               S/M     0.20   $875.00   $175.00
                      Schlieser, Nancy vs. Sunrise Senior Living
                      Management, Inc.
                      Drafted proposed order for MPA
05/05/2020 DJT        1529-002.001/ Schlieser, Nancy               S/M     0.10   $875.00   $87.50
                      Schlieser, Nancy vs. Sunrise Senior Living
                      Management, Inc.
                      Email to SAB regarding draft of MPA
05/13/2020 DJT        1529-002.001/ Schlieser, Nancy               S/M     1.00   $875.00   $875.00
                      Schlieser, Nancy vs. Sunrise Senior Living
                      Management, Inc.
                      Reviewed and revised MOU
05/14/2020 DJT        1529-002.001/ Schlieser, Nancy               S/M     0.20   $875.00   $175.00
                      Schlieser, Nancy vs. Sunrise Senior Living
                      Management, Inc.
                      Reviewed SAB's revision to SA; made
                      recommendation
05/22/2020 DJT        1529-002.001/ Schlieser, Nancy               S/M     0.30   $875.00   $262.50
                      Schlieser, Nancy vs. Sunrise Senior Living
                      Management, Inc.
                      Discussed MOU and SA with SAB
05/26/2020 DJT        1529-002.001/ Schlieser, Nancy               S/M     2.70   $875.00   $2,362.50
                      Schlieser, Nancy vs. Sunrise Senior Living
                      Management, Inc.
                      Revised SA per revised MOU
06/04/2020 DJT        1529-002.001/ Schlieser, Nancy               S/M     0.50   $875.00   $437.50
                      Schlieser, Nancy vs. Sunrise Senior Living
                      Management, Inc.
                      Discussed MPA with SB




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06/04/2020 DJT   1529-002.001/ Schlieser, Nancy             S/M    4.20   $875.00   $3,675.00
                 Schlieser, Nancy vs. Sunrise Senior Living
                 Management, Inc.
                 Revised motion for preliminary approval
06/04/2020 DJT   1529-002.001/ Schlieser, Nancy             S/M    2.70   $875.00   $2,362.50
                 Schlieser, Nancy vs. Sunrise Senior Living
                 Management, Inc.
                 Revised MJM's dec ISO MPA
06/04/2020 DJT   1529-002.001/ Schlieser, Nancy             S/M    0.40   $875.00   $350.00
                 Schlieser, Nancy vs. Sunrise Senior Living
                 Management, Inc.
                 Revised proposed order for MPA




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Date         Professional Description                            Task    Hour   Rate      Total
02/20/2020   MWG         1529-002.001/ Schlieser, Nancy          S/M     0.70   $725.00   $507.50
                         Schlieser, Nancy vs. Sunrise Senior
                         Living Management, Inc.
                         Communicate with SB regarding case
02/20/2020   MWG         1529-002.001/ Schlieser, Nancy          S/M     1.00   $725.00   $725.00
                         Schlieser, Nancy vs. Sunrise Senior
                         Living Management, Inc.
                         Reviewed mediation brief; reviewed file

02/24/2020   MWG         1529-002.001/ Schlieser, Nancy           S/M    8.00   $725.00   $5,800.00
                         Schlieser, Nancy vs. Sunrise Senior
                         Living Management, Inc.
                         Attended mediation in Irvine, CA
02/24/2020   MWG         1529-002.001/ Schlieser, Nancy           S/M    2.00   $725.00   $1,450.00
                         Schlieser, Nancy vs. Sunrise Senior
                         Living Management, Inc.
                         Traveled to/from mediation in Irvine, CA

02/27/2020   MWG         1529-002.001/ Schlieser, Nancy            S/M   0.20   $725.00   $145.00
                         Schlieser, Nancy vs. Sunrise Senior
                         Living Management, Inc.
                         Call with co-counsel regarding settlement

04/16/2020   MWG         1529-002.001/ Schlieser, Nancy          S/M     0.30   $725.00   $217.50
                         Schlieser, Nancy vs. Sunrise Senior
                         Living Management, Inc.
                         Telephone call with Lisa Klerman
                         regarding settlement




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Date         ProfessionaDescription                                  Task   Hour   Rate      Total
08/03/2019   MJM        1529-002.001/ Schlieser, Nancy               S/M    0.40   $950.00   $380.00
                        Schlieser, Nancy vs. Sunrise Senior Living
                        Management, Inc.
                        Discussion re settlement conference
                        statement
08/04/2019   MJM        1529-002.001/ Schlieser, Nancy               S/M    1.40   $950.00   $1,330.00
                        Schlieser, Nancy vs. Sunrise Senior Living
                        Management, Inc.
                        Review and revise settlement conference
                        statement
08/05/2019   MJM        1529-002.001/ Schlieser, Nancy               S/M    0.60   $950.00   $570.00
                        Schlieser, Nancy vs. Sunrise Senior Living
                        Management, Inc.
                        Review and revise settlement conference
                        statement
08/10/2019   MJM        1529-002.001/ Schlieser, Nancy               S/M    1.00   $950.00   $950.00
                        Schlieser, Nancy vs. Sunrise Senior Living
                        Management, Inc.
                        Prepare for Settlement Conference
08/11/2019   MJM        1529-002.001/ Schlieser, Nancy               S/M    0.30   $950.00   $285.00
                        Schlieser, Nancy vs. Sunrise Senior Living
                        Management, Inc.
                        E-mails to/from DK re: settlement
                        conference
08/11/2019   MJM        1529-002.001/ Schlieser, Nancy               S/M    1.80   $950.00   $1,710.00
                        Schlieser, Nancy vs. Sunrise Senior Living
                        Management, Inc.
                        Prepare for Settlement Conference
08/12/2019   MJM        1529-002.001/ Schlieser, Nancy               S/M    3.70   $950.00   $3,515.00
                        Schlieser, Nancy vs. Sunrise Senior Living
                        Management, Inc.
                        Attend Settlement Conference
09/19/2019   MJM        1529-002.001/ Schlieser, Nancy               GM     0.70   950.00    $665.00
                        Schlieser, Nancy vs. Sunrise Senior Living
                        Review Mtn to Dismiss and supporting
                        documents
10/21/2019   MJM        1529-002.001/ Schlieser, Nancy               GM     1.40   950.00    $1,330.00
                        Schlieser, Nancy vs. Sunrise Senior Living
                        Review and confer w/ SB re Opp to Ex Parte
12/03/2019   MJM           dO       M Schlieser,
                        1529-002.001/       Di i Nancy              MCC     4.10   950.00    $3,895.00
                        Schlieser, Nancy vs. Sunrise Senior Living
                        Strategy discussion re mtn for MCC; review
12/07/2019   MJM        d1529-002.001/ Schlieser, Nancy             MCC     2.30   950.00    $2,185.00
                         Schlieser, Nancy vs. Sunrise Senior Living
                         Review and revise mtn for MCC; review
                         data; review research




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12/08/2019   MJM   1529-002.001/ Schlieser, Nancy               MCC   3.60   950.00    $3,420.00
                   Schlieser, Nancy vs. Sunrise Senior Living
                   Management, Inc.
                   Review and mtn for MCC; decl ISO MCC
                   and supporting docs
12/09/2019   MJM   1529-002.001/ Schlieser, Nancy               MCC   0.70   950.00    $665.00
                   Schlieser, Nancy vs. Sunrise Senior Living
                   Management, Inc.
                   Review and revise mtn for MCC; decl ISO
                   MCC and supporting docs; confer re same
02/18/2020   MJM   1529-002.001/ Schlieser, Nancy               S/M   0.80   $950.00   $760.00
                   Schlieser, Nancy vs. Sunrise Senior Living
                   Management, Inc.
                   Review and revise mediation brief and data

02/19/2020   MJM   1529-002.001/ Schlieser, Nancy               S/M   0.20   $950.00   $190.00
                   Schlieser, Nancy vs. Sunrise Senior Living
                   Management, Inc.
                   Confer with DK re: mediation, e-mails
                   to/from DK and SB re: mediation
02/24/2020   MJM   1529-002.001/ Schlieser, Nancy               S/M   0.90   $950.00   $855.00
                   Schlieser, Nancy vs. Sunrise Senior Living
                   Management, Inc.
                   Discussion re mediation
03/27/2020   MJM   1529-002.001/ Schlieser, Nancy               S/M   0.50   $950.00   $475.00
                   Schlieser, Nancy vs. Sunrise Senior Living
                   Management, Inc.
                   Review and revise MOU; discussions re
                   same
04/30/2020   MJM   1529-002.001/ Schlieser, Nancy               S/M   0.80   $950.00   $760.00
                   Schlieser, Nancy vs. Sunrise Senior Living
                   Management, Inc.
                   Strategy re MPA
05/19/2020   MJM   1529-002.001/ Schlieser, Nancy               S/M   1.80   $950.00   $1,710.00
                   Schlieser, Nancy vs. Sunrise Senior Living
                   Management, Inc.
                   Review and revise MPA and decl; confer re
                   same
05/22/2020   MJM   1529-002.001/ Schlieser, Nancy               S/M   1.10   $950.00   $1,045.00
                   Schlieser, Nancy vs. Sunrise Senior Living
                   Management, Inc.
                   Review and revise MPA, decl and
                   supporting documents
06/01/2020   MJM   1529-002.001/ Schlieser, Nancy               S/M   0.90   $950.00   $855.00
                   Schlieser, Nancy vs. Sunrise Senior Living
                   Management, Inc.
                   Review and revise MPA, decl and
                   supporting documents




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06/15/2020   MJM   1529-002.001/ Schlieser, Nancy               S/M   1.00   $950.00   $950.00
                   Schlieser, Nancy vs. Sunrise Senior Living
                   Management, Inc.
                   Review and revise MPA, decl and
                   supporting documents
07/05/2020   MJM   1529-002.001/ Schlieser, Nancy               S/M   0.8    $950.00   $760.00
                   Schlieser, Nancy vs. Sunrise Senior Living
                   Management, Inc.
                   Review draft declaration, and send
                   comments to SAB for revisions
07/06/2020   MJM   1529-002.001/ Schlieser, Nancy               S/M   0.5    $950.00   $475.00
                   Schlieser, Nancy vs. Sunrise Senior Living
                   Management, Inc.
                   Review draft of MPA and send comments to
                   SAB for revisions
09/14/2021   MJM   1529-002.001/ Schlieser, Nancy               S/M   2.2    $950.00   $2,090.00
                   Schlieser, Nancy vs. Sunrise Senior Living
                   Management, Inc.
                   Review and revise MFA and supporting
                   declarations
09/16/2021   MJM   1529-002.001/ Schlieser, Nancy               S/M   1.5    $950.00   $1,425.00
                   Schlieser, Nancy vs. Sunrise Senior Living
                   Management, Inc.
                   Review and revise MFA and supporting
                   declarations
09/24/2021   MJM   1529-002.001/ Schlieser, Nancy               S/M   0.8    $950.00   $760.00
                   Schlieser, Nancy vs. Sunrise Senior Living
                   Management, Inc.
                   Review and revise MFA and supporting
                   declarations
09/24/2021   MJM   1529-002.001/ Schlieser, Nancy               S/M   0.5    $950.00   $475.00
                   Schlieser, Nancy vs. Sunrise Senior Living
                   Management, Inc.
                   Review MFA and supporting declarations




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Basis of Service Enhancement Award             Estimated Hours
Searched for and provided documents to         3
counsel regarding employment at Sunrise
including payroll and commission
documents.
Conferences with counsel re facts, claims,     8
overview of complex class and
representative litigation, the litigation
process generally, role and my obligations
as the representative plaintiff.     

Prepared for the settlement conference          6
with Magistrate Judge Abrams and attended
August 12, 2019 Settlement Conference
including discussing facilities operations, the
jobs of the employees, sales, commissions,
bonuses, payroll, and timekeeping.

Provided information for the initial         8
disclosure, helping to prepare for the
mandatory settlement conference, and
formal discovery including responding to
interrogatories and requests for production.

Prepared for and appear for January 7, 2020    20
deposition.                
 Prepared for and attend February 24, 2019     15
mediation.
Assisting in preparation of motion for class   3
certification, and providing declaration in
support of the motion.
 Reviewed proposed settlement and              3
conferring with counsel re evaluating the
settlement and related documents.




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Anticipated Activities         Estimated Hours   Average Hourly Rate
Preparing for and              10                $             850.00
attending the approval
hearings leading up to final
approval
Drafting the final approval    25                $            850.00
motion papers
Interfacing with the Claims    20                $            850.00
Administrator, monitoring
the processand payments
made to the Participating
Settlement Class Members
and responding to post-
approval inquiries from
them




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                                         TABLE 1

                           Task 1: Case Management & Administration.
           Timekeepers            Position          Rate      Hours               Fee
      Thompson, Jason J.         Sr. Partner    $     685.00   1.4         $        959.00
      Stoops, Kevin J.           Sr. Partner    $     615.00   0.0         $           -
      Parker, David R            Sr. Partner    $     500.00   0.0         $           -
      Kashima, Trent R           Jr. Partner    $     475.00   0.1         $         47.50
      Johnston, Rod             Sr. Associate   $      315.00  0.0          $            -
      Ash, Rob                  Sr. Associate   $      375.00  0.0          $            -
      Bailey, Elaina S          Jr. Associate   $      280.00  0.0          $            -
      Vaughn, Wendy E             Paralegal     $     125.00   0.0         $           -
      Stewart, Veronica L.        Paralegal     $      175.00  0.8         $        140.00
      Nichols, Debbie A.          Paralegal     $     150.00   0.0         $           -
                                       Fee Request for Task 1        2.3   $      1,146.50

                    Task 2: Communications with Clients and Class Members.
           Timekeepers           Position          Rate        Hours        Amount
      Thompson, Jason J.        Sr. Partner    $     685.00     0.2      $     137.00
      Stoops, Kevin J.          Sr. Partner    $     615.00     0.0      $        -
      Parker, David R           Sr. Partner    $     500.00     0.0      $        -
      Kashima, Trent R          Jr. Partner    $     475.00     0.0      $        -
      Johnston, Rod           Sr. Associate    $      315.00    0.0       $         -
      Ash, Rob                Sr. Associate    $      375.00    1.4      $     525.00
      Bailey, Elaina S         Jr. Associate   $      280.00    0.0       $         -
      Vaughn, Wendy E            Paralegal     $     125.00     0.0      $        -
      Stewart, Veronica L.       Paralegal     $      175.00    0.9      $     157.50
      Nichols, Debbie A.         Paralegal     $     150.00     0.0      $        -
                                      Fee Request for Task 2         2.5 $     819.50

                                      Task 3: Discovery.
           Timekeepers         Position          Rate         Hours             Amount
      Thompson, Jason J.      Sr. Partner     $    685.00      4.0         $      2,740.00
      Stoops, Kevin J.        Sr. Partner     $    615.00      0.0         $           -
      Parker, David R         Sr. Partner     $    500.00      0.0         $           -
      Kashima, Trent R        Jr. Partner     $    475.00     16.1         $      7,652.25
      Johnston, Rod          Sr. Associate    $     315.00     0.0          $            -
      Ash, Rob               Sr. Associate    $     375.00     0.0          $            -
      Bailey, Elaina S       Jr. Associate    $     280.00     0.0          $            -
      Vaughn, Wendy E          Paralegal      $    125.00      4.8         $        600.00
      Stewart, Veronica L.     Paralegal      $     175.00     0.0          $            -
      Nichols, Debbie A.       Paralegal      $    150.00      0.2         $         30.00
                                    Fee Request for Task 3         25.1    $     11,022.25


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                                      Task 4: Factual Investigation
           Timekeepers              Position           Rate         Hours             Amount
      Thompson, Jason J.           Sr. Partner     $     685.00      1.0         $       685.00
      Stoops, Kevin J.             Sr. Partner     $     615.00      0.0         $          -
      Parker, David R              Sr. Partner     $     500.00      0.0         $          -
      Kashima, Trent R             Jr. Partner     $     475.00      0.1         $        47.50
      Johnston, Rod               Sr. Associate    $     315.00      0.0          $           -
      Ash, Rob                    Sr. Associate    $     375.00      0.0          $           -
      Bailey, Elaina S            Jr. Associate    $     280.00      0.0          $           -
      Vaughn, Wendy E               Paralegal      $     125.00      0.0         $          -
      Stewart, Veronica L.          Paralegal      $     175.00      0.0          $           -
      Nichols, Debbie A.            Paralegal      $     150.00      0.0         $          -
                                         Fee Request for Task 4           1.1    $       732.50

                                        Task 5: Legal Research
           Timekeepers              Position          Rate          Hours             Amount
      Thompson, Jason J.           Sr. Partner    $     685.00       3.5         $     2,397.50
      Stoops, Kevin J.             Sr. Partner    $     615.00       0.0         $           -
      Parker, David R              Sr. Partner    $     500.00       2.0         $     1,000.00
      Kashima, Trent R             Jr. Partner    $     475.00       0.6         $       285.00
      Johnston, Rod               Sr. Associate   $      315.00      6.0         $      1,890.00
      Ash, Rob                    Sr. Associate   $      375.00      0.0          $            -
      Bailey, Elaina S            Jr. Associate   $      280.00      0.0          $            -
      Vaughn, Wendy E               Paralegal     $     125.00       0.0         $           -
      Stewart, Veronica L.          Paralegal     $      175.00      0.0          $            -
      Nichols, Debbie A.            Paralegal     $     150.00       0.0         $           -
                                         Fee Request for Task 5          12.1    $     5,572.50

                             Task 6: Litigation Strategy and Case Analysis
           Timekeepers              Position           Rate         Hours             Amount
      Thompson, Jason J.           Sr. Partner     $     685.00      3.4         $     2,329.00
      Stoops, Kevin J.             Sr. Partner     $     615.00      0.0         $          -
      Parker, David R              Sr. Partner     $     500.00      0.0         $          -
      Kashima, Trent R             Jr. Partner     $     475.00      0.0         $          -
      Johnston, Rod               Sr. Associate    $     315.00      0.0          $           -
      Ash, Rob                    Sr. Associate    $     375.00      0.0          $           -
      Bailey, Elaina S            Jr. Associate    $     280.00      0.0          $           -
      Vaughn, Wendy E               Paralegal      $     125.00      0.0         $          -
      Stewart, Veronica L.          Paralegal      $     175.00      0.2         $        35.00
      Nichols, Debbie A.            Paralegal      $     150.00      0.0         $          -
                                         Fee Request for Task 6            3.6   $     2,364.00

                                           Task 7: Pleading

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           Timekeepers            Position          Rate         Hours            Amount
      Thompson, Jason J.         Sr. Partner    $     685.00      1.1        $       753.50
      Stoops, Kevin J.           Sr. Partner    $     615.00      0.5        $       307.50
      Parker, David R            Sr. Partner    $     500.00      0.0        $          -
      Kashima, Trent R           Jr. Partner    $     475.00      0.1        $        47.50
      Johnston, Rod             Sr. Associate   $      315.00     2.3        $       724.50
      Ash, Rob                  Sr. Associate   $      375.00     0.0         $           -
      Bailey, Elaina S          Jr. Associate   $      280.00     0.0         $           -
      Vaughn, Wendy E             Paralegal     $     125.00      1.1        $       137.50
      Stewart, Veronica L.        Paralegal     $      175.00     0.2        $        35.00
      Nichols, Debbie A.          Paralegal     $     150.00      0.0        $          -
                                       Fee Request for Task 7            5.3 $     2,005.50

                                     Task 8: Motion to Dismiss
           Timekeepers            Position          Rate         Hours            Amount
      Thompson, Jason J.         Sr. Partner    $     685.00      0.3        $       205.50
      Stoops, Kevin J.           Sr. Partner    $     615.00      0.0        $          -
      Parker, David R            Sr. Partner    $     500.00      0.0        $          -
      Kashima, Trent R           Jr. Partner    $     475.00      0.0        $          -
      Johnston, Rod             Sr. Associate   $      315.00     0.0         $           -
      Ash, Rob                  Sr. Associate   $      375.00     0.0         $           -
      Bailey, Elaina S          Jr. Associate   $      280.00     0.0         $           -
      Vaughn, Wendy E             Paralegal     $     125.00      0.7        $        87.50
      Stewart, Veronica L.        Paralegal     $      175.00     0.0         $           -
      Nichols, Debbie A.          Paralegal     $     150.00      0.0        $          -
                                       Fee Request for Task 8            1.0 $       293.00

                                    Task 9: Motion to Transfer
           Timekeepers            Position          Rate         Hours            Amount
      Thompson, Jason J.         Sr. Partner    $     685.00      0.0        $           -
      Stoops, Kevin J.           Sr. Partner    $     615.00      0.8        $        492.00
      Parker, David R            Sr. Partner    $     500.00     20.0        $     10,000.00
      Kashima, Trent R           Jr. Partner    $     475.00      1.8        $        855.00
      Johnston, Rod             Sr. Associate   $      315.00     0.0         $            -
      Ash, Rob                  Sr. Associate   $      375.00     0.0         $            -
      Bailey, Elaina S          Jr. Associate   $      280.00     0.0         $            -
      Vaughn, Wendy E             Paralegal     $     125.00      0.0        $           -
      Stewart, Veronica L.        Paralegal     $      175.00     0.0         $            -
      Nichols, Debbie A.          Paralegal     $     150.00      0.0        $           -
                                       Fee Request for Task 9         22.6   $     11,347.00

                             Task 10: Motion for Preliminary Approval
          Timekeepers             Position          Rate         Hours         Amount
      Thompson, Jason J.         Sr. Partner    $     685.00     20.8        $ 14,248.00

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      Stoops, Kevin J.           Sr. Partner    $     615.00      0.0        $       -
      Parker, David R            Sr. Partner    $     500.00      0.0        $       -
      Kashima, Trent R           Jr. Partner    $     475.00      0.3        $    142.50
      Johnston, Rod             Sr. Associate   $      315.00     0.0         $        -
      Ash, Rob                  Sr. Associate   $      375.00     0.0         $        -
      Bailey, Elaina S          Jr. Associate   $      280.00     0.0         $        -
      Vaughn, Wendy E             Paralegal     $     125.00      1.0        $    125.00
      Stewart, Veronica L.        Paralegal     $      175.00     0.0         $        -
      Nichols, Debbie A.          Paralegal     $     150.00      0.0        $       -
                                      Fee Request for Task 10           22.1 $ 14,515.50

                             Task 11: Misc. Motion for Final Approval
           Timekeepers            Position          Rate         Hours           Amount
      Thompson, Jason J.         Sr. Partner    $     725.00      18.4        $ 13,340.00
      Stoops, Kevin J.           Sr. Partner    $     615.00       0.0        $        -
      Parker, David R            Sr. Partner    $     500.00       0.0        $        -
      Kashima, Trent R           Jr. Partner    $     475.00      11.5        $   5,462.50
      Johnston, Rod             Sr. Associate   $      315.00     0.0          $         -
      Ash, Rob                  Sr. Associate   $      375.00     0.0          $         -
      Bailey, Elaina S          Jr. Associate   $      280.00     0.0          $         -
      Vaughn, Wendy E             Paralegal     $     125.00       0.3        $      37.50
      Stewart, Veronica L.        Paralegal     $      175.00     0.0          $         -
      Nichols, Debbie A.          Paralegal     $     150.00       0.0        $        -
                                      Fee Request for Task 11          30.2   $ 18,840.00

                             Task 12: Misc. Motions and Court Filings
           Timekeepers            Position          Rate         Hours             Amount
      Thompson, Jason J.         Sr. Partner    $     685.00       2.9        $     1,986.50
      Stoops, Kevin J.           Sr. Partner    $     615.00       0.0        $          -
      Parker, David R            Sr. Partner    $     500.00       1.0        $       500.00
      Kashima, Trent R           Jr. Partner    $     475.00      12.1        $     5,747.50
      Johnston, Rod             Sr. Associate   $      315.00      0.1        $        31.50
      Ash, Rob                  Sr. Associate   $      375.00      0.0         $           -
      Bailey, Elaina S          Jr. Associate   $      280.00      0.0         $           -
      Vaughn, Wendy E             Paralegal     $     125.00       0.3        $        37.50
      Stewart, Veronica L.        Paralegal     $      175.00      0.0         $           -
      Nichols, Debbie A.          Paralegal     $     150.00       0.0        $          -
                                      Fee Request for Task 12          16.4   $     8,303.00

                         Task 13: Mediation and Settlement Negotiations
          Timekeepers            Position         Rate         Hours            Amount
      Thompson, Jason J.        Sr. Partner   $     685.00      97.3          $ 66,650.50
      Stoops, Kevin J.          Sr. Partner   $     615.00       0.0          $       -
      Parker, David R           Sr. Partner   $     500.00       0.0          $       -


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      Kashima, Trent R        Jr. Partner    $     475.00    50.5         $ 23,987.50
      Johnston, Rod          Sr. Associate   $      315.00   0.0           $        -
      Ash, Rob               Sr. Associate   $      375.00   0.0           $        -
      Bailey, Elaina S       Jr. Associate   $      280.00   3.6          $  1,008.00
      Vaughn, Wendy E          Paralegal     $     125.00     0.1         $     12.50
      Stewart, Veronica L.     Paralegal     $      175.00   0.0           $        -
      Nichols, Debbie A.       Paralegal     $     150.00     0.0         $       -
                                   Fee Request for Task 13        151.5   $ 91,658.50




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                                                                TABLE 2

  TIMEKEEPER                RATE                               HOURS BY TASK                                          TOTALS
                                                                                Total Hours Spent by
                                                          Task
                                                                                 Attorney on Task
                                          Task 1: Case Management &
Thompson, Jason J. $         685-725* Administration                                     1.4                 Hours: 154.3
(Sr. Partner)                             Task 2: Communications with                                      Amount: $106,431.50
                                          Clients and Class Members                      0.2
                                          Task 3: Discovery                              4.0
                                          Task 4: Factual Investigation                  1.0
                                          Task 5: Legal Research                         3.5
                                          Task 6: Litigation Strategy and
                                          Case Analysis                                  3.4
                                          Task 7: Pleading                               1.1
                                          Task 8: Motion to Dismiss                      0.3
                                          Task 9: Motion to Transfer                     0.0
                                          Task 10: Motion for Preliminary
                                          Approval                                      20.8
                                          Approval                                      18.4
                                          Task 12: Misc. Motions and Court
                                          Filings                                        2.9
                                          Task 13: Mediation and Settlement
                                          Negotiations                                  97.3
*Please note that Mr. Thompson's hourly billing rate changed in 2021, to $725. This increased rate is only applied to Task 11: Motion for
Final Approval. All other tasks are billed at Mr. Thompon's prior rate of $685.
                                          Task 1: Case Management &
Stoops, Kevin J.        $       615.00 Administration                                    0.0                 Hours: 1.3
(Sr. Partner)                             Task 2: Communications with                                      Amount: $799.50
                                          Clients and Class Members                      0.0
                                          Task 3: Discovery                              0.0
                                          Task 4: Factual Investigation                  0.0
                                          Task 5: Legal Research                         0.0
                                          Task 6: Litigation Strategy and
                                          Case Analysis                                  0.0
                                          Task 7: Pleading                               0.5
                                          Task 8: Motion to Dismiss                      0.0
                                          Task 9: Motion to Transfer                     0.8
                                          Approval                                       0.0
                                          Task 11: Motion for Final
                                          Approval                                       0.0
                                          Task 12: Misc. Motions and Court
                                          Filings                                        0.0
                                          Task 13: Mediation and Settlement
                                          Negotiations                                   0.0
                                          Task 1: Case Management &
Parker, David R        $        500.00 Administration                                    0.0                 Hours: 23.0
(Sr. Partner)                             Task 2: Communications with                                      Amount: $11,500.00
                                          Clients and Class Members                      0.0
                                          Task 3: Discovery                              0.0
                                          Task 4: Factual Investigation                  0.0
                                          Task 5: Legal Research                         2.0
                                          Task 6: Litigation Strategy and
                                          Case Analysis                                  0.0
                                          Task 7: Pleading                               0.0
                                          Task 8: Motion to Dismiss                      0.0
                                          Task 9: Motion to Transfer                    20.0
                                          Approval                                       0.0
                                          Task 11: Motion for Final
                                          Approval                                       0.0
                                          Task 12: Misc. Motions and Court
                                          Filings                                        1.0
                                          Task 13: Mediation and Settlement
                                          Negotiations                                   0.0
                                          Task 1: Case Management &
Kashima, Trent R       $        475.00 Administration                                    0.1                 Hours: 93.2




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(Jr. Partner)                     Task 2: Communications with                        Amount: $44,274.75
                                  Clients and Class Members              0.0
                                  Task 3: Discovery                     16.1
                                  Task 4: Factual Investigation          0.1
                                  Task 5: Legal Research                 0.6
                                  Task 6: Litigation Strategy and
                                  Case Analysis                         0.0
                                  Task 7: Pleading                      0.1
                                  Task 8: Motion to Dismiss             0.0
                                  Task 9: Motion to Transfer      y     1.8
                                  Approval                              0.3
                                  Task 11: Motion for Final
                                  Approval                              11.5
                                  Task 12: Misc. Motions and Court
                                  Filings                               12.1
                                  Task 13: Mediation and Settlement
                                  Negotiations                          50.5
                                  Task 1: Case Management &
Johnston, Rod        $     315.00 Administration                        0.0           Hours: 8.4
(Sr. Associate)                   Task 2: Communications with                        Amount: $2,646.00
                                  Clients and Class Members             0.0
                                  Task 3: Discovery                     0.0
                                  Task 4: Factual Investigation         0.0
                                  Task 5: Legal Research                6.0
                                  Task 6: Litigation Strategy and
                                  Case Analysis                         0.0
                                  Task 7: Pleading                      2.3
                                  Task 8: Motion to Dismiss             0.0
                                  Task 9: Motion to Transfer            0.0
                                  Approval                              0.0
                                  Task 11: Motion for Final
                                  Approval                              0.0
                                  Task 12: Misc. Motions and Court
                                  Filings                               0.1
                                  Task 13: Mediation and Settlement
                                  Negotiations                          0.0
                                  Task 1: Case Management &
Ash, Rob             $     375.00 Administration                        0.0           Hours: 1.4
(Sr. Associate)                   Task 2: Communications with                        Amount: $525.00
                                  Clients and Class Members             1.4
                                  Task 3: Discovery                     0.0
                                  Task 4: Factual Investigation         0.0
                                  Task 5: Legal Research                0.0
                                  Task 6: Litigation Strategy and
                                  Case Analysis                         0.0
                                  Task 7: Pleading                      0.0
                                  Task 8: Motion to Dismiss             0.0
                                  Task 9: Motion to Transfer      y     0.0
                                  Approval                              0.0
                                  Task 11: Motion for Final
                                  Approval                              0.0
                                  Task 12: Misc. Motions and Court
                                  Filings                               0.0
                                  Task 13: Mediation and Settlement
                                  Negotiations                          0.0
                                  Task 1: Case Management &
Bailey, Elaina S     $     280.00 Administration                        0.0           Hours: 3.6
(Jr. Associate)                   Task 2: Communications with                        Amount: $1,008.00
                                  Clients and Class Members             0.0
                                  Task 3: Discovery                     0.0
                                  Task 4: Factual Investigation         0.0
                                  Task 5: Legal Research                0.0
                                  Task 6: Litigation Strategy and
                                  Case Analysis                         0.0
                                  Task 7: Pleading                      0.0
                                  Task 8: Motion to Dismiss             0.0
                                  Task 9: Motion to Transfer      y     0.0
                                  Approval                              0.0




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                                    Task 11 Motion for Final Approval     0.0
                                    Task 12: Misc. Motions and Court
                                    Filings                               0.0
                                    Task 13: Mediation and Settlement
                                    Negotiations                          3.6
                                    Task 1: Case Management &
Stewart, Veronica L. $       175.00 Administration                        0.8           Hours: 2.1
(Paralegal)                         Task 2: Communications with                        Amount: $367.50
                                    Clients and Class Members             0.9
                                    Task 3: Discovery                     0.0
                                    Task 4: Factual Investigation         0.0
                                    Task 5: Legal Research                0.0
                                    Task 6: Litigation Strategy and
                                    Case Analysis                         0.2
                                    Task 7: Pleading                      0.2
                                    Task 8: Motion to Dismiss             0.0
                                    Task 9: Motion to Transfer      y     0.0
                                    Approval                              0.0

                                    Task 11 Motion for Final Approval     0.0
                                    Task 12: Misc. Motions and Court
                                    Filings                               0.0
                                    Task 13: Mediation and Settlement
                                    Negotiations                          0.0
                                    Task 1: Case Management &
Vaughn, Wendy E        $     125.00 Administration                        0.0           Hours: 8.3
(Paralegal)                         Task 2: Communications with                        Amount: $1,037.50
                                    Clients and Class Members             0.0
                                    Task 3: Discovery                     4.8
                                    Task 4: Factual Investigation         0.0
                                    Task 5: Legal Research                0.0
                                    Task 6: Litigation Strategy and
                                    Case Analysis                         0.0
                                    Task 7: Pleading                      1.1
                                    Task 8: Motion to Dismiss             0.7
                                    Task 9: Motion to Transfer            0.0
                                    Approval                              1.0

                                    Task 11 Motion for Final Approval     0.3
                                    Task 12: Misc. Motions and Court
                                    Filings                               0.3
                                    Task 13: Mediation and Settlement
                                    Negotiations                          0.1
                                    Task 1: Case Management &
Nichols, Debbie A.     $     150.00 Administration                        0.0           Hours: 0.2
(Paralegal)                         Task 2: Communications with                        Amount: $30.00
                                    Clients and Class Members             0.0
                                    Task 3: Discovery                     0.2
                                    Task 4: Factual Investigation         0.0
                                    Task 5: Legal Research                0.0
                                    Task 6: Litigation Strategy and
                                    Case Analysis                         0.0
                                    Task 7: Pleading                      0.0
                                    Task 8: Motion to Dismiss             0.0
                                    Task 9: Motion to Transfer            0.0
                                    Approval                              0.0

                                     Task 11 Motion for Final Approval    0.0
                                     Task 12: Misc. Motions and Court
                                     Filings                              0.0
                                     Task 13: Mediation and Settlement
                                     Negotiations                         0.0
TOTAL                                                                                   Hours: 295.8
                                                                                       Amount: $168,619.75




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                                                 EXPENSES

Date           ExpCode             Amount                                     Narrative
 4/1/2019         Local travel        $18.01 Cab - 3.29.19, CA - Jason J. Thompson
 4/1/2019         Local travel        $24.48 Cab - 3.29.19, CA - Jason J. Thompson
                                             Lodging [Meeting w/Trent and Jean-Claude 3.28-29.2019]Jason J.
 4/15/2019             Lodging      $120.29 Thompson
 4/16/2019              Air fare    $631.97 Air fare [Meeting w/Claude Lapuyade 3.28.19]Jason J. Thompson
 4/17/2019         Local travel       $43.98 JJT Mileage & Parking Romulus 03-31-19
 4/29/2019      Legal Research         $8.80 Research - Pacer
 8/13/2019         Local travel       $47.02 Local travel [8/11-12/2019]Jason J. Thompson
 8/27/2019             Lodging      $207.69 Lodging [CA Mediation 8/11-12/2019]Jason J. Thompson
 8/27/2019               Meals        $40.53 Meals [CA Mediation 8/11-12/2019]Jason J. Thompson
 8/27/2019              Air fare    $801.00 Air fare [CA Mediation 8/11-12/2019]Jason J. Thompson
10/22/2019      Legal Research         $1.10 Research - Pacer
 11/8/2019              Postage        $2.00 Postage
12/13/2019              Postage        $9.30 Postage
12/18/2019          Filing Fees        $9.95 Court filing fee
12/18/2019          Filing Fees        $9.95 Court filing fee
 1/14/2020              Postage        $9.30 Postage
                                             Facilitation fee/Mediation Lisa Klerman,777 Silver Spur Road, Suites 233 /
 1/20/2020         Facilitation    $1,500.00 234, Rollings Hills Estates, CA 90274
 1/21/2020             Postage         $0.50 Postage
  2/4/2020      Legal Research         $1.40 Research - Pacer
  2/4/2020      Legal Research        $19.03 Research - Pacer
 2/25/2020             Air fare    $1,918.40 Air fare to LAX re Mediation 2.23-25.2020Jason J. Thompson
 3/12/2020         Local travel       $75.97 Local travel [Mediation 2.23-24.2020]Jason Thompson
 3/12/2020              Meals       $193.15 Lodging [Mediation 2.23-24.2020]Jason Thompson
 3/12/2020         Local travel       $20.00 Parking - Mediation 2.25.2020Jason J. Thompson
 3/12/2020              Meals         $41.31 Meals [mediation 2.23.2020]Jason J. Thompson
 3/12/2020              Meals         $89.30 Meals [Mediation meeting w/Counsel 3.24.2020]Jason J. Thompson
                         Total      $5,844.43




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TABLE 2
Attorney           Rate       Hours by Task                                                                          Totals:
                                                                                                        Total
                                                                                                        Hours
Shani O.                                                                                                Spent on
Zakay, Partner $500/hr Task                                                                             Task
                       Complaint (Preparing, Filing, Service)                                                  7.8
                       PAGA Notice and Complaint (Preparing, Filing, Service)                                  5.3
                       Removal and Remand                                                                      2.7
                       Motion to Dismiss (12b(6)) and Opposition                                               6.8
                       First Amended Complaint (Motion for Leave, Preparing, Filing, Service)                 10.1
                       Joint Motion to Extend Time to Respond to Complaint                                     2.6
                       Settlement Conference with Judge Abrams (Coordination, Preparation,                    48.1
                       Written Discovery to Defendant                                                          4.6
                       Joint Motion to Lift Stay / Extend Stay                                                 3.5
                       Stipulation to Continue CMC / Stay PAGA Action                                          1.5
                       Motion to Transfer (Review and Oppose)                                                  7.1
                       Answers to Complaint (Review)                                                           2.5
                       Early Neutral Evaluation (Preparation and Attendance)                                  10.9
                       Case Management Conference and Trial Setting Conference (PAGA Case)                     3.4
                       Motion to Stay PAGA Action (Review and Research)                                        1.6
                       Scheduling Conference Statement and Initial Disclosures                                 4.5
                       Joint Prosecution Agreement (Negotiation and Drafting)                                    4
                       Defendant’s Discovery (Review and Respond)                                              2.2
                       Mediation (Preparation and Attendance)                                                 23.7
                       Joint Motion to Stay Pending Mediation                                                  3.5
                       Mediation Status Report and Notice of Settlement                                        6.8
                       Memorandum of Understanding and Settlement Agreement                                     12
                       Motion for Preliminary Approval                                                          11
                       Misc. Document Review, Legal Research, Conferences with Co-Counsel                      5.2
                       Notice Administration and Motion for Final Approval                                     9.7
                                                                                                                     Hours:
Total                                                                                                                201.1
                                                                                                                     Amount:
                                                                                                                     $100,550

TASK 1:
Complaint
(Preparing,
Filing, Service)
             0.2          100 Emails with co-counsel regarding call yesterday.
             0.2          100 Emails and telephone conversation with co-counsel regarding additional
             0.1           50 Emails with co-counsel to schedule conference call.
                              Review the filed Complaint and related documents and upload to CLIO.
                              Calendar CMC and related dates. Research judge and discuss with co-
            1.5           750 counsel. Email co-counsel regarding filed documents. Review invoice for
            0.1            50 Review filed POS from OneLegal.
            0.2           100 Review invoice and update expenses in CLIO. Upload to CLIO.
            0.2           100 Review filed POS and calendar deadline to answer. Upload to CLIO and




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TASK 2: PAGA
Notice and
Complaint
(Preparing,
Filing, Service)
             1.5    750   Draft PAGA letter and PAGA fee letter
             2.5   1250   Draft new PAGA only complaint.
             0.3    150   Work on PAGA only complaint and email to co-counsel for review.
             0.1     50   Discussion with co-counsel regarding follow up on PAGA only action filing.
             0.8    400   Prepare Civil Case Cover Sheet and Summons
             0.4    200   Review the summons and civil cover sheet for the PAGA only complaint.
             0.7    350   Review filed PAGA only complaint and related documents. Calendar

TASK 3:
Removal and
Remand
          1.5       750   Review Notice of Removal and related documents. Discuss with co-
          0.5       250   Multiple discussions with co-counsel regarding removal and necessary
          0.2       100   Review Notice of Removal filed in state court and upload to CLIO.
          0.5       250   Meeting with co-counsel to discuss necessary work on motion to remand.

TASK 4:
Motion to
Dismiss
(12b(6)) and
Opposition
           1.5      750   Review portions of defendant's motion to dismiss. Legal research
             1      500   Begin work on opposition to motion to dismiss and motion to strike - draft
           1.5      750   Continue work on opposition to 12(b)(6) motion. Draft standard of review
             2     1000   Review Defendant's motion to strike class allegations. Conference with co-
           0.8      400   Telephone conference with co-counsel to discuss strategy responding to


TASK 5: First
Amended
Complaint
(Motion for
Leave,
Preparing,
Filing, Service)
               5   2500 Draft the First Amended Complaint.
               1    500 Multiple emails with co-counsel and further revisions to the FAC. Emails
                        Telephone conversation with the client to discuss various matters. Prepare
            1.5     750 FLSA consent form for signature. Prepare new fee agreement. Discussion
            0.5     250 Review related case motion and order on certification and email co-
            0.5     250 Telephone conference with co-counsel to discuss stipulation and motion
            0.4     200 Review revised motion and joint stip regarding filing of FAC. Emails with
            0.2     100 Download and review signed order. Email to co-counsel. Upload to CLIO.
            0.5     250 Work with staff to file FAC. Review filed FAC. Review email from co-
            0.5     250 Review the revised FAC and PAGA action and discuss with staff.




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TASK 6: Joint
Motion to
Extend Time
to Respond to
Complaint
            0.3   150 Review stipulation and order extending time to respond to the FAC.
            0.2   100 Review filed motion to extend time to respond to the Complaint and
            0.1    50 Review order granting extension to respond to the complaint and upload
                      Emails and telephone conversation with OPC regarding stipulation to
           0.8    400 extend time to respond to the complaint. Review proposed joint
             1    500 Prepare for and attend two telephone conferences with co-counsel.
           0.2    100 Review filed order granting extension to answer and upload to CLIO.


TASK 7:
Settlement
Conference
with Judge
Abrams
(Coordination,
Preparation,
Attendance)
           0.5    250    Prepare for and attend conference call with co-counsel regarding
           0.1     50    Emails with co-counsel regarding mediation negotiations and meeting to
           0.5    250    Review stipulation for stay pending mediation and emails with OPC and co-
           0.3    150    Review stipulation and proposed order submitted for filing. Review notice
           0.4    200    Review signed order granting stay pending mediation. Calendar all related
             1    500    Prepare for and attend conference call with co-counsel and OPC to discuss
           0.3    150    Review email from OPC with client's file and discuss with co-counsel.
                         Emails and discussions with co-counsel regarding sampling and mediation
             1     500   timing. Call court to inquire about new mediation date. Review email from
           0.7     350   Prepare for and attend conference call with OPC and co-counsel to discuss
           0.4     200   Review email from OPC and order regarding settlement conference.
           0.2     100   Emails with co-counsel regarding telephone conference to discuss
           0.7     350   Draft joint report regarding status of mediation for co-counsel's review.
           0.8     400   Draft notice of consent to order re settlement conference and emails with
           0.2     100   Emails with co-counsel and review notice of consent.
           0.5     250   Emails and telephone conversation with co-counsel regarding sample data
           0.3     150   Review emails regarding various locations to be used for sample data.
             1     500   Multiple emails and conversations with OPC and co-counsel regarding joint
           0.2     100   Emails with co-counsel regarding status of mediation and
           0.8     400   Draft stipulation and proposed order to continue settlement conference.
           0.3     150   Review revisions to stipulation to continue settlement conference and
           0.1      50   Review email from co-counsel and docket entry regarding stipulation and
           0.5     250   Review new stipulation and order and emails with co-counsel regarding the
           0.2     100   Review email from co-counsel with signed order continuing status
           0.2     100   Review new order regarding settlement conference and calendar date
           0.2     100   Emails with counsel to set up a call to discuss workflow in preparation for
           0.2     100   Emails regarding data production.
             3    1500   Review documents produced for mediation.




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  0.2   100    Emails and calls with OPC regarding joint motion to excuse Van Cleave
  0.5   250    Review email from OPC and proposed report re: mediation to be submitted
  0.2   100    Review filed status report regarding mediation.
  0.2   100    Emails with co-counsel to set up conference call.
  0.2   100    Multiple emails regarding conference call with co-counsel today.
  0.1    50    Emails with OPC regarding stipulation to permit Van Cleave to appear at
  0.7   350    Prepare for and attend conference call with co-counsel in preparation for
               Conference with co-counsel to discuss plans for mediation, client's
  0.7   350    attendance, and travel arrangements. Emails with OPC regarding
               Telephone conversation with the client to provide an update and to discuss
  0.6   300    transportation to mediation. Coordinate travel arrangements for client for
  0.3   150    Begin work on the mediation brief - draft title page.
  1.5   750    Continue work on mediation brief - draft introduction and background
               Continue work on the mediation brief - draft discussion section. Discussion
  2.5   1250   with co-counsel regarding the various claims and review documents
    1    500   Review expert report for the mediation and discuss with co-counsel.
  0.4    200   Prepare for call with co-counsel. Telephone conference with co-counsel to
  0.3    150   Review pay code produced by OPC and upload to CLIO.
  0.5    250   Multiple emails with co-counsel regarding missing information for
  0.4    200   Review settlement offer letter from OPC. Discuss with co-counsel. Emails
  0.4    200   Review and approve joint mediation report and emails with OPC regarding
  0.3    150   Emails with co-counsel and Matern regarding mediation dates and issues
  0.3    150   Review new mediation report and emails with OPC regarding the same.
  0.1     50   Review filed report and upload to CLIO.
  0.2    100   Emails with co-counsel regarding mediation dates.
  0.2    100   Meeting with staff to discuss necessary research in preparation for
  0.1     50   Emails with co-counsel to follow up on new dates for mediation.
  0.3    150   Emails and discussion with co-counsel regarding new mediation dates.
  0.2    100   Coordinate new transportation for client to the settlement conference.
  0.7    350   Review legal research on discretionary v. non-discretionary bonuses and
  0.7    350   Review research on 203 penalties for meal premium payment violations
  0.3    150   Review additional research and findings on the Stewart case in preparation
               Review additions to the mediation brief regarding 203 for meal break
  0.7   350    penalties and discretionary v. non-discretionary bonuses. Finalize and
  0.2   100    Discussion with co-counsel and emails to set up a call to discuss issues for
  0.5   250    Prepare for and attend conference call with co-counsel to discuss
  0.5   250    Prepare status report per court's order.
  0.1    50    Follow up with Matern on mediation brief and numbers from expert.
  0.7   350    Review the revised mediation brief and emails with co-counsel regarding
  0.3   150    Emails regarding joint mediation report. Review final report and filed
  0.3   150    Review file and emails with Scott Brooks regarding client's position and
  0.3   150    Multiple telephone conversations and emails with co-counsel regarding
               Review the final mediation brief. Multiple emails regarding the same and
    1    500   regarding total fees incurred. Discussion with co-counsel regarding travel
  0.2    100   Discussion with co-counsel regarding travel and lodging for mediation.
    1    500   Review final mediation brief and damage analysis. Emails regarding the
    1    500   Prepare for and attend meeting with client in preparation for mediation.
  0.1     50   Review order of transfer. Upload to CLIO.
    3   1500   Travel to LA for the settlement conference.
    8   4000   Attend settlement conference. Travel back to San Diego,
  1.5    750   Multiple meetings with co-counsel to prepare for mediation.




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TASK 8:
Written
Discovery to
Defendant
             1    500   Work on the special interrogatories for the PAGA case.
             1    500   Work on the RFPs for the PAGA only case.
           1.5    750   Review and revise written discovery to defendant in both the class case
           0.1     50   Review email from co-counsel regarding discovery and final versions of

TASK 9: Joint
Motion to Lift
Stay / Extend
Stay
            1.5   750   Draft stipulation and joint motion to lift stay and proposed order and
            0.3   150   Review the report drafted by defense and emails regarding the same.
            0.6   300   Review email from OPC regarding lifting the stay. Call with co-counsel to
            0.2   100   Emails and calls with co-counsel regarding OPC's proposed stipulation to
            0.6   300   Review proposed stipulation and order to extend stay. Emails regarding
            0.1    50   Review signed order extending stay and upload to CLIO.
            0.2   100   Discuss upcoming lift of stay and email counsel in related matter to set call.

TASK 10:
Stipulation to
Continue CMC
/ Stay PAGA
Action
            0.4   200   Review stipulation to stay PAGA action and emails regarding the same.
            0.2   100   Review fully executed stipulation to continue the CMC in the PAGA only
            0.2   100   Emails with OPC and co-counsel regarding conference call scheduling.
            0.1    50   Emails with OPC and co-counsel to set up conference call.
            0.2   100   Review fully executed stipulation to stay PAGA action received via mail.
            0.2   100   Conference with co-counsel to discuss various matters in preparation for
            0.2   100   Review docket and confirm CMC is off calendar and continued. Calendar

TASK 11:
Motion to
Transfer
(Review and
Oppose)
          0.7     350   Legal research on motion to transfer and MDL and discuss consolidation of
          0.2     100   Discuss status with co-counsel and emails with Matern accordingly.
          0.2     100   Review notice of filing of motion to transfer venue and upload to CLIO.
          0.1      50   Review proposed order on motion for transfer venue and upload to CLIO.
          1.3     650   Review opposition to motion to transfer and revise. Legal research on
          0.2     100   Review and finalize opposition to motion to transfer and email to staff for
          0.2     100   Review Trent's notice of appearance and upload to CLIO.
            1     500   Review Defendant's Reply on the Motion to Transfer and discuss with co-
            1     500   Multiple conversations with co-counsel regarding strategy in transferring
            1     500   Prepare for and attend call with counsel in related case and with co-
          0.3     150   Review joint motion to transfer and proposed order. Review filed joint




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             0.3   150    Review order regarding transfer. Review standing order for new judge.
             0.3   150    Review notice of receipt of transferred case, notice of assignment, and
             0.1    50    Review order regarding transfer of case to Abrams.
             0.2   100    Review consolidation order and email to co-counsel accordingly.

TASK 12:
Answers to
Complaint
(Review)
             0.2   100    Review calendar and deadline to answer complaint in PAGA only matter.
             0.6   300    Review answer to the complaint in the PAGA only state case.
             0.7   350    Review Answer to the PAGA only complaint and upload to CLIO.
             0.6   300    Review Defendant's Answer and upload to CLIO.
             0.4   200    Call and email to OPC to discuss extension to respond to the PAGA only

TASK 13: Early
Neutral
Evaluation
(Preparation
and
Attendance)
                          Review ENE order and insure all relevant dates and deadlines are
             0.6   300    calendared. Review notice of consent to magistrate and emails with co-
             0.5   250    Meeting with co-counsel to discuss necessary data for a settlement
             0.1    50    Emails with staff to follow up on client's attendance at the ENE.
             0.2   100    Review multiple emails regarding letter to defendant and stipulation to
             0.6   300    Review joint motion to continue ENE and scheduling conference and
                          Review email from OPC regarding joint report and stipulation to continue
             0.3   150    conference and ENE. Review revised stipulation and review emails
             0.3   150    Review the filed joint motion to continue the ENE and the proposed order.
             0.5   250    Review order denying joint motion to continue ENE and discuss with co-
                          Review the draft ENE statement and emails with co-counsel regarding the
             0.8    400   same. Locate meal break damage analysis and email to co-counsel for the
             0.8    400   Further review and revisions to the ENE statement and emails with co-
             0.4    200   More work on the ENE statement and emails with co-counsel and staff
             4.5   2250   Prepare for, travel to/from and attend ENE and scheduling conference.
             0.2    100   Review Order setting follow-up calls and upload to CLIO. Calendar dates
             0.5    250   Prepare for and attend call with Magistrate post-ENE.
             0.1     50   Review email from magistrate regarding update on post-ENE
             0.5    250   Review email from OPC with data. Discuss with co-counsel. Emails with co-

TASK 14: Case
Management
Conference
and Trial
Setting
Conference
(PAGA Case)
           0.3     150 Review proposed CMC statement and discuss changes and issues with co-
           0.4     200 Review the CMC statement and 2 attachments for the CMC in the PAGA
           0.1      50 Review filed CMC statement and upload to CLIO.




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           0.2     100   Emails with co-counsel to schedule a call.
           0.4     200   Review multiple emails from co-counsel regarding update on case and
           0.5     250   Review outcome of CMC in PAGA action and review motion to stay.
           0.5     250   Review notice of trial and notice of TRC and calendar dates accordingly.
           0.2     100   Review notice of status conference and calendar and discuss with co-
           0.2     100   Review status report from OPC. Emails with co-counsel regarding the
           0.1      50   Review filed joint report and upload to CLIO.
           0.2     100   Review joint report for the PAGA action and emails with co-counsel
           0.3     150   Review and revise the CMS for the CMC in state court.
             1     150   Drafting CMS & Submitting it
           0.3     150   Call with co-counsel and emails with OPC regarding upcoming CMC in the
           0.2     100   Call with co-counsel regarding CMC and motion for approval.
           0.3     150   Review and approve joint status report for the state court action.

TASK 15:
Motion to
Stay PAGA
Action
(Review and
Research)
          0.2      100 Review notice of served motion to stay PAGA action. Download the
          0.2      100 Review more emails between OPC and co-counsel regarding ex parte
          0.2      100 Review more emails with OPC and co-counsel regarding ex parte
          0.2      100 Review emails about new ex parte date. Calendar accordingly and review
          0.2      100 Emails with co-counsel and OPC regarding stipulation for an order
                       Emails with OPC regarding stipulation to move motion to stay up. Review
           0.4     200 revised stipulation and discuss with co-counsel. Revise and sign and email
           0.2     100 Review order granting stipulation. Emails with co-counsel regarding filing

TASK 16:
Scheduling
Conference
Statement
and Initial
Disclosures
            0.2    100   Review multiple emails between co-counsel and OPC regarding 26(f)
            0.1     50   Emails regarding joint scheduling conference report.
              2   1000   Review filed scheduling conference statement. Draft Initial Disclosures and
            0.2    100   Emails with co-counsel and staff regarding initial disclosures. Email to OPC.
            0.6    300   Review defendant's initial disclosures and upload to CLIO. Discuss with co-
            0.5    250   Review and revise OPC's changes/additions to the joint statement and
            0.7    350   Review the scheduling order and calendar all relevant dates and discuss
            0.2    100   Review order regarding Rule 26 conference. Emails with co-counsel

TASK 17: Joint
Prosecution
Agreement
(Negotiation
and Drafting)
                       Draft JPA agreement. Multiple discussions with co-counsel regarding the
             2    1000 same. Emails with new co-counsel regarding the same. Review changes




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          0.5     250   Multiple emails with co-counsel regarding JPA and strategy moving
          0.1      50   Emails with co-counsel regarding fee split.
          0.4     200   Multiple emails with co-counsel regarding JPA and negotiation of the same.
          0.5     250   Work on the JPA
          0.5     250   Conference call with Mattern's office regarding JPA and strategy.

TASK 18:
Defendant’s
Discovery
(Review and
Respond)
          0.2     100   Review written discovery from defendant and calendar deadline to
          1.5     750   Review responses to Defendant's discovery and emails with co-counsel
          0.2     100   Review emails regarding extensions for deadline to respond to discovery by
          0.3     150   Review final responses to discovery and emails regarding the same.

TASK 19:
Mediation
(Preparation
and
Attendance)
           0.4    200 Telephone conference with co-counsel to discuss necessary work towards
           0.3    150 Meeting with co-counsel to review data and discuss information needed to
           0.3    150 Telephone conference with co-counsel regarding data analysis and
                      Review order regarding mediation and calendar deadline to file report post-
          0.3     150 mediation and deadline to file joint motion to lift stay. Discuss with co-
          0.2     100 Emails with co-counsel regarding call with OPC and scheduling of the same.
          0.2     100 Multiple emails with co-counsel regarding rescheduling of call with OPC.
          0.7     350 Conference call with OPC and co-counsel to discuss possible mediation.
          0.8     400 Multiple telephone conversations with co-counsel regarding mediation and
          0.2     100 Emails with co-counsel regarding deadline to amend the complaint and
                      Review all documents from the mediator and calendar relevant dates
            1     500 accordingly. Discuss with co-counsel and instruct staff on necessary work
          0.2     100 Emails and discussions with co-counsel regarding payment of mediation
          0.2     100 Process payment for mediation.
          0.2     100 Emails with co-counsel and staff regarding division of fees for mediation.
          0.1      50 Emails with mediator regarding split in costs of mediation.
          0.5     250 Call with co-counsel to discuss necessary discovery for mediation.
          0.2     100 Emails with co-counsel regarding the mediation brief.
          0.2     100 Emails and discussion with co-counsel regarding necessary work on the
          0.1      50 Emails with co-counsel to schedule conference call pre-mediation.
          0.3     150 Telephone conference with co-counsel regarding data and damage analysis
          1.5     750 Review and revise the mediation brief.
          0.5     250 Review multiple versions of the mediation brief and emails regarding the
          0.3     150 More emails with co-counsel regarding the mediation brief.
           12    6000 Travel to/from and attend mediation.
          0.3     150 Conference call with co-counsel following up on mediation.
          0.6     300 Multiple telephone calls and discussions with co-counsel and OPC
          0.2     100 Meeting with co-counsel to discuss strategy moving forward assuming the
            1     500 Review payroll and time records and notate in preparation for call with
          0.2     100 Review VM and email from OPC and respond.




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           0.3   150 Multiple emails with co-counsel and OPC regarding setup of call to discuss
           0.2   100 Review the joint mediation plan and upload to CLIO.
           0.2   100 Review order setting follow up call with magistrate regarding mediation

TASK 20: Joint
Motion to
Stay Pending
Mediation
                       Telephone conversation with the Magistrate regarding the mediation and
             1   500   the joint motion. Draft stipulation and joint motion to stay discovery per
           0.3   150   Review the proposed stipulation and order in the related matter staying
           0.3   150   Review and approve stipulation to stay and proposed order per mediation.
           0.3   150   Emails with co-counsel and OPC regarding stipulation to stay.
           0.4   200   Emails with co-counsel and OPC regarding stipulation to stay discovery
           0.5   250   Review emails and stipulations regarding stay and respond accordingly.
           0.3   150   Review filed stipulation to stay action pending mediation (PAGA action)
           0.4   200   Review signed order granting joint motion to stay pending mediation.

TASK 21:
Mediation
Status Report
and Notice of
Settlement
           0.1    50   Emails with co-counsel to discuss upcoming call with Magistrate.
           0.4   200   Prepare for and attend call with OPC to discuss possible mediation and call
           0.4   200   Numerous emails with co-counsel regarding all with OPC on Friday and in
           0.2   100   Emails with co-counsel regarding response to the mediator and regarding
           0.2   100   Emails with co-counsel regarding continued deadlines and status report to
           0.3   150   Review proposed joint status report and emails with co-counsel regarding
           0.3   150   Review joint status report for the PAGA action and emails with co-counsel
           0.4   200   Prepare for and attend call with the magistrate.
           0.6   300   Review joint report in the related matter and emails regarding the same.
           0.3   150   More emails regarding the notice of settlement and the terms in the same.
           0.3   150   More emails and telephone conversations with co-counsel regarding the
           0.2   100   Review more emails between co-counsel regarding the notice of
           0.2   100   More emails regarding notice of settlement to be filed in SD case.
           0.8   400   Draft joint status report post-mediation and email to co-counsel for
           0.5   250   Prepare for and attend conference call with OPC and co-counsel. Follow
           0.2   100   Emails with co-counsel and OPC regarding joint report regarding
           0.3   150   Review email from OPC. Review notice of settlement. Emails with OPC
           0.3   150   Review and revise joint status report regarding mediation.
           0.3   150   Emails with co-counsel and OPC regarding the joint report.
           0.3   150   Review order continuing call with the judge. Upload to CLIO. Calendar
           0.1    50   Review status report and email to co-counsel approving.
           0.1    50   Emails with OPC regarding status report.




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TASK 22:
Memorandum
of
Understandin
g and
Settlement
Agreement
           0.2   100   Emails with co-counsel and discussion regarding acceptance of mediator's
           0.2   100   Emails with co-counsel regarding issues with OPC regarding venue for
           0.5   250   Emails with co-counsel regarding issues with venue for settlement
           0.3   150   Attend call with co-counsel regarding negotiation with mediator regarding
           0.4   200   Emails and conversation with co-counsel regarding email from mediator
           0.5   250   Emails with co-counsel to set up call to discuss. Conference call with co-
           0.5   250   Review proposed report regarding status of settlement. Multiple emails
           0.5   250   Prepare for and attend conference call with the mediator regarding the
           0.3   150   Multiple emails regarding the venue for the settlement approval.
           0.8   400   Review and revise the MOU. Email to co-counsel accordingly.
           0.2   100   Review further revisions to the MOU. Emails with co-counsel accordingly.
           0.1    50   Review final revised MOU sent to OPC and upload to CLIO.
             1   500   Review numerous emails from OPC and co-counsel regarding revisions and
           0.8   400   Conference call with co-counsel to go over the terms of the settlement
           0.3   150   Review multiple emails between OPC and co-counsel regarding the MOU,
           0.1    50   More emails with co-counsel and Lisa regarding call today.
           0.1    50   More emails regarding call with co-counsel.
             1   500   Call with co-counsel before call with OPC. Conference call with OPC and
           0.5   250   Review the MOU and more emails regarding the MOU with co-counsel and
           0.2   100   Review more emails from OPC and co-counsel regarding the MOU and the
           0.2   100   More emails and correspondence with co-counsel regarding the MOU and
                       More emails with co-counsel and OPC regarding the MOU. Emails with
          0.8    400   client regarding the settlement and MOU. Coordinate execution of the
            1    500   Review the settlement agreement. Comment and revise and email to co-
          0.2    100   Review order setting telephonic hearing regarding dismissal and
          0.3    150   Review quotes for settlement administration and emails regarding the
          0.4    200   Review the final version of the settlement agreement and execute. Emails
          0.1     50   Emails with staff regarding status of client signature.
          0.2    100   Obtain signed agreement and review client's signature. Emails with staff
          0.3    150   Review notice of class settlement and emails with co-counsel regarding the

TASK 23:
Motion for
Preliminary
Approval
           1.2   600 Review and revise Plaintiffs' motion for preliminary approval.
                     Review final version of the MPA and emails regarding the same. Review
          0.5    250 settlement agreement with more revisions from defense and emails
                     Review email from co-counsel and email from court regarding court order
          0.2    100 on MPA. Calendar deadline to file accordingly Emails with staff regarding
          0.1     50 Review emails between counsel and revise MPA for circulation. Upload to
                     Review joint stipulation and order and proposed order to transfer case to
          0.5    250 central district. Review stipulation to stay PAGA action. Emails with co-
          0.1     50 Emails with co-counsel regarding new filing deadline for MPA.




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             4    2000    More work on the MPA
           1.5     750    Draft declaration in support of MPA
           0.6     300    More work on the motion for preliminary approval. Emails regarding the
           0.1      50    Emails with co-counsel regarding appearance on Monday.
             1     500    Prepare for and attend MPA hearing. Follow up call with co-counsel.
           0.2     100    Review Court Order regarding MPA and upload to CLIO.
           0.3      45    Left message with District Court Clerk Re Status of the Order filed in
           0.1      50    Review and approve joint request for ruling.
           0.1      50    Review and approve the joint request for ruling.
           0.5     250    Review preliminary approval order and discuss with co-counsel. Provide

TASK 24:
Notice
Administratio
n and Motion
for Final
Approval
Attorney       Rate       Hours                                                                         Fee
Shani O.       $500/hr                                                                            5.2         $2,700
Zakay
                    200   Review draft notice and timeline from Simpluris. Emails with co-counsel
           0.4            regarding the notice, timeline and regarding possibility of moving the MFA
           0.1       50   Emails with simpluris regarding status of mailing.
           0.2      100   Emails and discussion with co-counsel regarding class member's request
           0.1       50   Review weekly report from Admin.
           0.2      100   Review weekly report from Admin.
           0.3      150   Review admin's declaration for MFA.
           0.2      100   Review weekly report from admin. Emails regarding validity of opt-out.
           1.5      750   Review and revise the motion for final approval and emails with co-counsel
           0.2      100   Emails regarding work on the MFA
             2    1000    More work on the MFA

TASK 25:
Misc.
Document
Review, Legal
Research,
Conferences
with Co-
Counsel
           0.5     250    Review Dart decision and review 2014 certification order in preparation for
           0.5     250    Multiple emails and conference call with co-counsel to discuss claims in
           1.2     600    Attend conference call with OPC. Review various documents following up
           0.2     100    Emails with co-counsel regarding call yesterday.
           0.2     100    Emails and telephone conversation with co-counsel regarding additional
           0.1      50    Emails with co-counsel to schedule conference call.
           0.4     200    Conference call with co-counsel to discuss status and claims and strategy
           0.5     250    Prepare for and hold conference call with OPC.
           0.4     200    Conference call with co-counsel regarding strategy of coordinating cases.
           0.3     150    Review multiple emails regarding call with OPC, motion to stay, discovery,
           0.8     400    Prepare for and attend conference call with co-counsel and Matern




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              Prepare for and attend call with co-counsel to discuss status of the case,
  0.6   300   mediation, and JPA. Discussion with JCL regarding the same and strategy
    1   500   Telephone conversation with co-counsel to discuss strategy moving
  0.2   100   More emails with co-counsel regarding scheduling of a call.
  0.2   100   Multiple emails with co-counsel regarding scheduling of conference call
  0.5   250   Prepare for and attend conference call with co-counsel and Matern.




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TABLE 1

TASK 1: Complaint (Preparing, Filing, Service)
Attorney Rate        Hours      Fee
Shani O. $500/hr           7.8 $3,900
Zakay
       0.2      100 Emails with co-counsel regarding call yesterday.
       0.2      100 Emails and telephone conversation with co-counsel regarding additional class reps.
       0.1       50 Emails with co-counsel to schedule conference call.
       1.5      750 Review the filed Complaint and related documents and upload to CLIO. Calendar CMC and related dates. Research judge and discuss with co-counsel. Email co-counsel regarding filed documents. Review invoice for filing fee and update expenses. Upload to CLIO. Emails with co-counsel regarding serv
       0.1       50 Review filed POS from OneLegal.
       0.2      100 Review invoice and update expenses in CLIO. Upload to CLIO.
       0.2      100 Review filed POS and calendar deadline to answer. Upload to CLIO and discuss filing the POS with staff.

TASK 2: PAGA Notice and Complaint (Preparing, Filing, Service)
Attorney Rate       Hours     Fee
Shani O. $500/hr          5.3 $2,650
Zakay
       1.5     750 Draft PAGA letter and PAGA fee letter
       2.5    1250 Draft new PAGA only complaint.
       0.3     150 Work on PAGA only complaint and email to co-counsel for review.
       0.1      50 Discussion with co-counsel regarding follow up on PAGA only action filing.
       0.8     400 Prepare Civil Case Cover Sheet and Summons
       0.4     200 Review the summons and civil cover sheet for the PAGA only complaint. Revise and emails with co-counsel accordingly.
       0.7     350 Review filed PAGA only complaint and related documents. Calendar relevant dates. Upload to CLIO.

TASK 3: Removal and Remand
Attorney Rate       Hours      Fee
Shani O. $500/hr           2.7 $1,350
Zakay
       1.5      750 Review Notice of Removal and related documents. Discuss with co-counsel. Calendar deadline to file Motion to Remand. Upload documents to CLIO.
       0.5      250 Multiple discussions with co-counsel regarding removal and necessary work for motion to remand.
       0.2      100 Review Notice of Removal filed in state court and upload to CLIO.
       0.5      250 Meeting with co-counsel to discuss necessary work on motion to remand.

TASK 4: Motion to Dismiss (12b(6)) and Opposition
Attorney Rate        Hours     Fee
Shani O. $500/hr            6.8 $3,400
Zakay
       1.5      750 Review portions of defendant's motion to dismiss. Legal research regarding the same. Email co-counsel with strategy accordingly.
         1      500 Begin work on opposition to motion to dismiss and motion to strike - draft introduction and skeleton.
       1.5      750 Continue work on opposition to 12(b)(6) motion. Draft standard of review and argument in opposition to motion to dismiss.
         2     1000 Review Defendant's motion to strike class allegations. Conference with co-counsel to review cited authorities and discuss.
       0.8      400 Telephone conference with co-counsel to discuss strategy responding to the MTS and 12(b)(6).

TASK 5: First Amended Complaint (Motion for Leave, Preparing, Filing, Service)
Attorney Rate        Hours      Fee
Shani O. $500/hr           10.1 $5,050
Zakay
         5      2500 Draft the First Amended Complaint.
         1       500 Multiple emails with co-counsel and further revisions to the FAC. Emails regarding consent form and conversation with client.
       1.5       750 Telephone conversation with the client to discuss various matters. Prepare FLSA consent form for signature. Prepare new fee agreement. Discussion with co-counsel and emails to co-counsel with update.
       0.5       250 Review related case motion and order on certification and email co-counsel regarding the same.
       0.5       250 Telephone conference with co-counsel to discuss stipulation and motion for leave to file FAC and strategy moving forward with the FAC.
       0.4       200 Review revised motion and joint stip regarding filing of FAC. Emails with OPC and instructions to staff regarding filing.
       0.2       100 Download and review signed order. Email to co-counsel. Upload to CLIO.
       0.5       250 Work with staff to file FAC. Review filed FAC. Review email from co-counsel regarding OPC's claim that bonuses were discretionary.
       0.5       250 Review the revised FAC and PAGA action and discuss with staff.

TASK 6: Joint Motion to Extend Time to Respond to Complaint
Attorney Rate        Hours      Fee
Shani O. $500/hr            2.6 $1,300
Zakay
       0.3      150 Review stipulation and order extending time to respond to the FAC. Discuss with co-counsel.
       0.2      100 Review filed motion to extend time to respond to the Complaint and proposed order and upload to CLIO.
       0.1        50 Review order granting extension to respond to the complaint and upload to CLIO.
       0.8      400 Emails and telephone conversation with OPC regarding stipulation to extend time to respond to the complaint. Review proposed joint stipulation and order and approve. Review submitted documents and proposed order. Upload all documents to CLIO.
         1      500 Prepare for and attend two telephone conferences with co-counsel.
       0.2      100 Review filed order granting extension to answer and upload to CLIO.

TASK 7: Settlement Conference with Judge Abrams (Coordination, Preparation, Attendance)
Attorney Rate       Hours       Fee
Shani O. $500/hr          48.1 $24,050
Zakay
       0.5      250 Prepare for and attend conference call with co-counsel regarding mediation.
       0.1       50 Emails with co-counsel regarding mediation negotiations and meeting to discuss.
       0.5      250 Review stipulation for stay pending mediation and emails with OPC and co-counsel regarding the same.
       0.3      150 Review stipulation and proposed order submitted for filing. Review notice of related case. Email to co-counsel regarding the same.
       0.4      200 Review signed order granting stay pending mediation. Calendar all related deadlines and dates ordered by the Court. Upload to CLIO.
         1      500 Prepare for and attend conference call with co-counsel and OPC to discuss information discovery. Follow up call with co-counsel.
       0.3      150 Review email from OPC with client's file and discuss with co-counsel.
         1      500 Emails and discussions with co-counsel regarding sampling and mediation timing. Call court to inquire about new mediation date. Review email from OPC regarding sampling.
       0.7      350 Prepare for and attend conference call with OPC and co-counsel to discuss mediation and sampling.
       0.4      200 Review email from OPC and order regarding settlement conference. Discuss with co-counsel.
       0.2      100 Emails with co-counsel regarding telephone conference to discuss mediation scheduling.
       0.7      350 Draft joint report regarding status of mediation for co-counsel's review.
       0.8      400 Draft notice of consent to order re settlement conference and emails with co-counsel regarding the same.
       0.2      100 Emails with co-counsel and review notice of consent.
       0.5      250 Emails and telephone conversation with co-counsel regarding sample data for mediation and notice of consent to mediation.
       0.3      150 Review emails regarding various locations to be used for sample data.
         1      500 Multiple emails and conversations with OPC and co-counsel regarding joint report regarding status of mediation. Process filing electronically.
       0.2      100 Emails with co-counsel regarding status of mediation and stipulation/request to continue the mediation.
       0.8      400 Draft stipulation and proposed order to continue settlement conference.
       0.3      150 Review revisions to stipulation to continue settlement conference and emails regarding the same
       0.1       50 Review email from co-counsel and docket entry regarding stipulation and order to continue the mediation.
       0.5      250 Review new stipulation and order and emails with co-counsel regarding the same.
       0.2      100 Review email from co-counsel with signed order continuing status conference and possible mediation. Emails regarding the same.
       0.2      100 Review new order regarding settlement conference and calendar date accordingly.
       0.2      100 Emails with counsel to set up a call to discuss workflow in preparation for mediation.
       0.2      100 Emails regarding data production.
         3     1500 Review documents produced for mediation.
       0.2      100 Emails and calls with OPC regarding joint motion to excuse Van Cleave from attending the conference.
       0.5      250 Review email from OPC and proposed report re: mediation to be submitted to court. Emails regarding the same.
       0.2      100 Review filed status report regarding mediation.
       0.2      100 Emails with co-counsel to set up conference call.
       0.2      100 Multiple emails regarding conference call with co-counsel today.
       0.1       50 Emails with OPC regarding stipulation to permit Van Cleave to appear at the mediation telephonically.
       0.7      350 Prepare for and attend conference call with co-counsel in preparation for mediation.
       0.7      350 Conference with co-counsel to discuss plans for mediation, client's attendance, and travel arrangements. Emails with OPC regarding attendance by client at mediation. Discussion with co-counsel and emails regarding the same. Discuss meeting with client before the mediation.
       0.6      300 Telephone conversation with the client to provide an update and to discuss transportation to mediation. Coordinate travel arrangements for client for mediation. Emails and telephone call to schedule a pre-mediation meeting.
       0.3      150 Begin work on the mediation brief - draft title page.
       1.5      750 Continue work on mediation brief - draft introduction and background sections.
       2.5     1250 Continue work on the mediation brief - draft discussion section. Discussion with co-counsel regarding the various claims and review documents produced by defendant.
         1      500 Review expert report for the mediation and discuss with co-counsel.
       0.4      200 Prepare for call with co-counsel. Telephone conference with co-counsel to discuss necessary information for mediation and the report from the expert.
       0.3      150 Review pay code produced by OPC and upload to CLIO.
       0.5      250 Multiple emails with co-counsel regarding missing information for mediation and regarding opening demand.
       0.4      200 Review settlement offer letter from OPC. Discuss with co-counsel. Emails with co-counsel accordingly. Upload to CLIO.
       0.4      200 Review and approve joint mediation report and emails with OPC regarding the same.
       0.3      150 Emails with co-counsel and Matern regarding mediation dates and issues with scheduling.
       0.3      150 Review new mediation report and emails with OPC regarding the same.
       0.1       50 Review filed report and upload to CLIO.
       0.2      100 Emails with co-counsel regarding mediation dates.
       0.2      100 Meeting with staff to discuss necessary research in preparation for mediation.
       0.1       50 Emails with co-counsel to follow up on new dates for mediation.
       0.3      150 Emails and discussion with co-counsel regarding new mediation dates.
       0.2      100 Coordinate new transportation for client to the settlement conference.
       0.7      350 Review legal research on discretionary v. non-discretionary bonuses and discuss with co-counsel.
       0.7      350 Review research on 203 penalties for meal premium payment violations and discuss with co-counsel.
       0.3      150 Review additional research and findings on the Stewart case in preparation for mediation and discuss with co-counsel.
       0.7      350 Review additions to the mediation brief regarding 203 for meal break penalties and discretionary v. non-discretionary bonuses. Finalize and email to co-counsel for review.
       0.2      100 Discussion with co-counsel and emails to set up a call to discuss issues for the upcoming mediation.
       0.5      250 Prepare for and attend conference call with co-counsel to discuss necessary work in preparation for the mediation.
       0.5      250 Prepare status report per court's order.
       0.1       50 Follow up with Matern on mediation brief and numbers from expert.
       0.7      350 Review the revised mediation brief and emails with co-counsel regarding the same.
       0.3      150 Emails regarding joint mediation report. Review final report and filed report and emails regarding the same.
       0.3      150 Review file and emails with Scott Brooks regarding client's position and facility and necessary changes to the mediation brief.




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      0.3       150   Multiple telephone conversations and emails with co-counsel regarding time and billing status for the mediation brief.
        1       500   Review the final mediation brief. Multiple emails regarding the same and regarding total fees incurred. Discussion with co-counsel regarding travel arrangements for the mediation.
      0.2       100   Discussion with co-counsel regarding travel and lodging for mediation. Review invoice and process payment.
        1       500   Review final mediation brief and damage analysis. Emails regarding the same.
        1       500   Prepare for and attend meeting with client in preparation for mediation.
      0.1        50   Review order of transfer. Upload to CLIO.
        3      1500   Travel to LA for the settlement conference.
        8      4000   Attend settlement conference. Travel back to San Diego,
      1.5       750   Multiple meetings with co-counsel to prepare for mediation.

TASK 8: Written Discovery to Defendant
Attorney Rate        Hours     Fee
Shani O. $500/hr            4.6 $2,300
Zakay
         1      500 Work on the special interrogatories for the PAGA case.
         1      500 Work on the RFPs for the PAGA only case.
       1.5      750 Review and revise written discovery to defendant in both the class case and the PAGA case and emails with co-counsel accordingly.
       0.1        50 Review email from co-counsel regarding discovery and final versions of discovery. Upload to CLIO.

TASK 9: Joint Motion to Lift Stay / Extend Stay
Attorney Rate        Hours        Fee
Shani O. $500/hr              3.5 $1,750
Zakay
       1.5      750 Draft stipulation and joint motion to lift stay and proposed order and emails with co-counsel regarding the same.
       0.3      150 Review the report drafted by defense and emails regarding the same.
       0.6      300 Review email from OPC regarding lifting the stay. Call with co-counsel to discuss. Call OPC accordingly.
       0.2      100 Emails and calls with co-counsel regarding OPC's proposed stipulation to extend stay.
       0.6      300 Review proposed stipulation and order to extend stay. Emails regarding them same and approve.
       0.1        50 Review signed order extending stay and upload to CLIO.
       0.2      100 Discuss upcoming lift of stay and email counsel in related matter to set call.

TASK 10: Stipulation to Continue CMC / Stay PAGA Action
Attorney Rate         Hours      Fee
Shani O. $500/hr             1.5     $750
Zakay
       0.4       200 Review stipulation to stay PAGA action and emails regarding the same.
       0.2       100 Review fully executed stipulation to continue the CMC in the PAGA only case and upload to CLIO.
       0.2       100 Emails with OPC and co-counsel regarding conference call scheduling.
       0.1         50 Emails with OPC and co-counsel to set up conference call.
       0.2       100 Review fully executed stipulation to stay PAGA action received via mail.
       0.2       100 Conference with co-counsel to discuss various matters in preparation for call with OPC tomorrow.
       0.2       100 Review docket and confirm CMC is off calendar and continued. Calendar new CMC date and deadline to submit CMC statement and discuss with staff.

TASK 11: Motion to Transfer (Review and Oppose)
Attorney Rate       Hours      Fee
Shani O. $500/hr           7.1 $3,550
Zakay
       0.7      350 Legal research on motion to transfer and MDL and discuss consolidation of case with related matter.
       0.2      100 Discuss status with co-counsel and emails with Matern accordingly.
       0.2      100 Review notice of filing of motion to transfer venue and upload to CLIO.
       0.1       50 Review proposed order on motion for transfer venue and upload to CLIO.
       1.3      650 Review opposition to motion to transfer and revise. Legal research on burden of proof and add language accordingly. Email to co-counsel with changes.
       0.2      100 Review and finalize opposition to motion to transfer and email to staff for filing.
       0.2      100 Review Trent's notice of appearance and upload to CLIO.
         1      500 Review Defendant's Reply on the Motion to Transfer and discuss with co-counsel.
         1      500 Multiple conversations with co-counsel regarding strategy in transferring the cases.
         1      500 Prepare for and attend call with counsel in related case and with co-counsel to discuss strategy moving forward.
       0.3      150 Review joint motion to transfer and proposed order. Review filed joint motion and filed order and upload all documents to CLIO.
       0.3      150 Review order regarding transfer. Review standing order for new judge. Emails with co-counsel regarding the same and upload to CLIO.
       0.3      150 Review notice of receipt of transferred case, notice of assignment, and notice Re ADR and upload to CLIO.
       0.1       50 Review order regarding transfer of case to Abrams.
       0.2      100 Review consolidation order and email to co-counsel accordingly.

TASK 12: Answers to Complaint (Review)
Attorney Rate       Hours     Fee
Shani O. $500/hr          2.5 $1,250
Zakay
       0.2     100 Review calendar and deadline to answer complaint in PAGA only matter. Emails with co-counsel regarding the same and regarding extension.
       0.6     300 Review answer to the complaint in the PAGA only state case.
       0.7     350 Review Answer to the PAGA only complaint and upload to CLIO.
       0.6     300 Review Defendant's Answer and upload to CLIO.
       0.4     200 Call and email to OPC to discuss extension to respond to the PAGA only complaint. More emails with co-counsel and OPC regarding the same.

TASK 13: Early Neutral Evaluation (Preparation and Attendance)
Attorney Rate        Hours      Fee
Shani O. $500/hr           10.9 $5,450
Zakay
       0.6       300 Review ENE order and insure all relevant dates and deadlines are calendared. Review notice of consent to magistrate and emails with co-counsel regarding the same.
       0.5       250 Meeting with co-counsel to discuss necessary data for a settlement position. Email co-counsel accordingly.
       0.1        50 Emails with staff to follow up on client's attendance at the ENE.
       0.2       100 Review multiple emails regarding letter to defendant and stipulation to continue ENE. Discuss with co-counsel.
       0.6       300 Review joint motion to continue ENE and scheduling conference and review emails regarding the same.
       0.3       150 Review email from OPC regarding joint report and stipulation to continue conference and ENE. Review revised stipulation and review emails regarding the same.
       0.3       150 Review the filed joint motion to continue the ENE and the proposed order. Upload to CLIO.
       0.5       250 Review order denying joint motion to continue ENE and discuss with co-counsel.
       0.8       400 Review the draft ENE statement and emails with co-counsel regarding the same. Locate meal break damage analysis and email to co-counsel for the ENE statement.
       0.8       400 Further review and revisions to the ENE statement and emails with co-counsel regarding the same.
       0.4       200 More work on the ENE statement and emails with co-counsel and staff regarding the same.
       4.5      2250 Prepare for, travel to/from and attend ENE and scheduling conference. Meeting with co-counsel post ENE to discuss strategy moving forward.
       0.2       100 Review Order setting follow-up calls and upload to CLIO. Calendar dates accordingly.
       0.5       250 Prepare for and attend call with Magistrate post-ENE.
       0.1        50 Review email from magistrate regarding update on post-ENE conversations.
       0.5       250 Review email from OPC with data. Discuss with co-counsel. Emails with co-counsel regarding the same.

TASK 14: Case Management Conference and Trial Setting Conference (PAGA Case)
Attorney Rate      Hours      Fee
Shani O. $500/hr           3.4 $1,700
Zakay
       0.3     150 Review proposed CMC statement and discuss changes and issues with co-counsel.
       0.4     200 Review the CMC statement and 2 attachments for the CMC in the PAGA action. Emails with co-counsel regarding the same.
       0.1      50 Review filed CMC statement and upload to CLIO.
       0.2     100 Emails with co-counsel to schedule a call.
       0.4     200 Review multiple emails from co-counsel regarding update on case and outcome of the CMC and prospect of mediation.
       0.5     250 Review outcome of CMC in PAGA action and review motion to stay. Calendar numerous relevant dates.
       0.5     250 Review notice of trial and notice of TRC and calendar dates accordingly.
       0.2     100 Review notice of status conference and calendar and discuss with co-counsel.
       0.2     100 Review status report from OPC. Emails with co-counsel regarding the same.
       0.1      50 Review filed joint report and upload to CLIO.
       0.2     100 Review joint report for the PAGA action and emails with co-counsel regarding the same.
       0.3     150 Review and revise the CMS for the CMC in state court.
         1     150 Drafting CMS & Submitting it
       0.3     150 Call with co-counsel and emails with OPC regarding upcoming CMC in the PAGA action and possible approval in state court.
       0.2     100 Call with co-counsel regarding CMC and motion for approval.
       0.3     150 Review and approve joint status report for the state court action.

TASK 15: Motion to Stay PAGA Action (Review and Research)
Attorney Rate       Hours     Fee
Shani O. $500/hr           1.6 $1,800
Zakay
       0.2      100 Review notice of served motion to stay PAGA action. Download the motion documents.
       0.2      100 Review more emails between OPC and co-counsel regarding ex parte application to stay vs. application to shorten time.
       0.2      100 Review more emails with OPC and co-counsel regarding ex parte application and purpose of the same.
       0.2      100 Review emails about new ex parte date. Calendar accordingly and review emails regarding availability.
       0.2      100 Emails with co-counsel and OPC regarding stipulation for an order shortening time on the motion to stay.
       0.4      200 Emails with OPC regarding stipulation to move motion to stay up. Review revised stipulation and discuss with co-counsel. Revise and sign and email back to OPC.
       0.2      100 Review order granting stipulation. Emails with co-counsel regarding filing of SAC.

TASK 16: Scheduling Conference Statement and Initial Disclosures
Attorney Rate        Hours    Fee
Shani O. $500/hr           4.5 $2,250
Zakay
       0.2      100 Review multiple emails between co-counsel and OPC regarding 26(f) conference.
       0.1       50 Emails regarding joint scheduling conference report.
         2    1000 Review filed scheduling conference statement. Draft Initial Disclosures and emails with co-counsel regarding the same.
       0.2      100 Emails with co-counsel and staff regarding initial disclosures. Email to OPC.
       0.6      300 Review defendant's initial disclosures and upload to CLIO. Discuss with co-counsel.
       0.5      250 Review and revise OPC's changes/additions to the joint statement and email to OPC accordingly. Discuss with co-counsel.
       0.7      350 Review the scheduling order and calendar all relevant dates and discuss with co-counsel and staff.
       0.2      100 Review order regarding Rule 26 conference. Emails with co-counsel regarding the same and discuss calendaring issues. Upload to CLIO.




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TASK 17: Joint Prosecution Agreement (Negotiation and Drafting)
Attorney Rate        Hours      Fee
Shani O. $500/hr              4 $2,000
Zakay
         2      1000 Draft JPA agreement. Multiple discussions with co-counsel regarding the same. Emails with new co-counsel regarding the same. Review changes and discuss with co-counsel.
       0.5       250 Multiple emails with co-counsel regarding JPA and strategy moving forward.
       0.1        50 Emails with co-counsel regarding fee split.
       0.4       200 Multiple emails with co-counsel regarding JPA and negotiation of the same.
       0.5       250 Work on the JPA
       0.5       250 Conference call with Mattern's office regarding JPA and strategy.

TASK 18: Defendant’s Discovery (Review and Respond)
Attorney Rate       Hours      Fee
Shani O. $500/hr           2.2 $1,100
Zakay
       0.2     100 Review written discovery from defendant and calendar deadline to respond.
       1.5     750 Review responses to Defendant's discovery and emails with co-counsel regarding changes to the same.
       0.2     100 Review emails regarding extensions for deadline to respond to discovery by defendant and calendar new date.
       0.3     150 Review final responses to discovery and emails regarding the same. Upload to CLIO.

TASK 19: Mediation (Preparation and Attendance)
Attorney Rate       Hours      Fee
Shani O. $500/hr          23.7 $12,350
Zakay
       0.4      200 Telephone conference with co-counsel to discuss necessary work towards settlement and upcoming calls and data review.
       0.3      150 Meeting with co-counsel to review data and discuss information needed to engage in further settlement negotiations.
       0.3      150 Telephone conference with co-counsel regarding data analysis and settlement negotiations and strategy in call with OPC.
       0.3      150 Review order regarding mediation and calendar deadline to file report post-mediation and deadline to file joint motion to lift stay. Discuss with co-counsel.
       0.2      100 Emails with co-counsel regarding call with OPC and scheduling of the same.
       0.2      100 Multiple emails with co-counsel regarding rescheduling of call with OPC. Calendar accordingly.
       0.7      350 Conference call with OPC and co-counsel to discuss possible mediation. Discuss with co-counsel.
       0.8      400 Multiple telephone conversations with co-counsel regarding mediation and mediation dates.
       0.2      100 Emails with co-counsel regarding deadline to amend the complaint and joint motion to continue dates in light of the mediation.
         1      500 Review all documents from the mediator and calendar relevant dates accordingly. Discuss with co-counsel and instruct staff on necessary work accordingly.
       0.2      100 Emails and discussions with co-counsel regarding payment of mediation fee.
       0.2      100 Process payment for mediation.
       0.2      100 Emails with co-counsel and staff regarding division of fees for mediation.
       0.1       50 Emails with mediator regarding split in costs of mediation.
       0.5      250 Call with co-counsel to discuss necessary discovery for mediation.
       0.2      100 Emails with co-counsel regarding the mediation brief.
       0.2      100 Emails and discussion with co-counsel regarding necessary work on the mediation brief.
       0.1       50 Emails with co-counsel to schedule conference call pre-mediation.
       0.3      150 Telephone conference with co-counsel regarding data and damage analysis in preparation for the mediation.
       1.5      750 Review and revise the mediation brief.
       0.5      250 Review multiple versions of the mediation brief and emails regarding the same.
       0.3      150 More emails with co-counsel regarding the mediation brief.
        12    6000 Travel to/from and attend mediation.
       0.3      150 Conference call with co-counsel following up on mediation.
       0.6      300 Multiple telephone calls and discussions with co-counsel and OPC regarding discovery and data exchange and settlement negotiations.
       0.2      100 Meeting with co-counsel to discuss strategy moving forward assuming the case does not settle.
         1      500 Review payroll and time records and notate in preparation for call with expert tomorrow.
       0.2      100 Review VM and email from OPC and respond.
       0.3      150 Multiple emails with co-counsel and OPC regarding setup of call to discuss settlement negotiations and PAGA action.
       0.2      100 Review the joint mediation plan and upload to CLIO.
       0.2      100 Review order setting follow up call with magistrate regarding mediation and calendar accordingly. Discuss availability with co-counsel. Upload to CLIO.

TASK 20: Joint Motion to Stay Pending Mediation
Attorney Rate        Hours      Fee
Shani O. $500/hr            3.5 $1,750
Zakay
         1      500 Telephone conversation with the Magistrate regarding the mediation and the joint motion. Draft stipulation and joint motion to stay discovery per the mediation.
       0.3      150 Review the proposed stipulation and order in the related matter staying discovery.
       0.3      150 Review and approve stipulation to stay and proposed order per mediation.
       0.3      150 Emails with co-counsel and OPC regarding stipulation to stay.
       0.4      200 Emails with co-counsel and OPC regarding stipulation to stay discovery pending mediation and revise the stipulation.
       0.5      250 Review emails and stipulations regarding stay and respond accordingly.
       0.3      150 Review filed stipulation to stay action pending mediation (PAGA action) and joint motion to stay federal action and upload to CLIO.
       0.4      200 Review signed order granting joint motion to stay pending mediation. Calendar all relevant dates accordingly and discuss coverage with co-counsel.

TASK 21: Mediation Status Report and Notice of Settlement
Attorney Rate       Hours       Fee
Shani O. $500/hr           6.8 $3,400
Zakay
       0.1       50 Emails with co-counsel to discuss upcoming call with Magistrate.
       0.4      200 Prepare for and attend call with OPC to discuss possible mediation and call with magistrate.
       0.4      200 Numerous emails with co-counsel regarding all with OPC on Friday and in preparation for call with magistrate on Monday.
       0.2      100 Emails with co-counsel regarding response to the mediator and regarding status report to the judge.
       0.2      100 Emails with co-counsel regarding continued deadlines and status report to magistrate. Calendar new dates accordingly.
       0.3      150 Review proposed joint status report and emails with co-counsel regarding the same.
       0.3      150 Review joint status report for the PAGA action and emails with co-counsel regarding the same.
       0.4      200 Prepare for and attend call with the magistrate.
       0.6      300 Review joint report in the related matter and emails regarding the same. Review the notice of settlement and emails with co-counsel regarding the same.
       0.3      150 More emails regarding the notice of settlement and the terms in the same. Revise and emails with co-counsel accordingly.
       0.3      150 More emails and telephone conversations with co-counsel regarding the notice of settlement and language regarding venue choice.
       0.2      100 Review more emails between co-counsel regarding the notice of settlement to be filed in both courts.
       0.2      100 More emails regarding notice of settlement to be filed in SD case.
       0.8      400 Draft joint status report post-mediation and email to co-counsel for review.
       0.5      250 Prepare for and attend conference call with OPC and co-counsel. Follow up call with co-counsel.
       0.2      100 Emails with co-counsel and OPC regarding joint report regarding mediation.
       0.3      150 Review email from OPC. Review notice of settlement. Emails with OPC regarding the same.
       0.3      150 Review and revise joint status report regarding mediation.
       0.3      150 Emails with co-counsel and OPC regarding the joint report.
       0.3      150 Review order continuing call with the judge. Upload to CLIO. Calendar new dates.
       0.1       50 Review status report and email to co-counsel approving.
       0.1       50 Emails with OPC regarding status report.

TASK 22: Memorandum of Understanding and Settlement Agreement
Attorney Rate     Hours      Fee
Shani O. $500/hr          12 $6,000
Zakay
       0.2    100 Emails with co-counsel and discussion regarding acceptance of mediator's proposal.
       0.2    100 Emails with co-counsel regarding issues with OPC regarding venue for settlement approval.
       0.5    250 Emails with co-counsel regarding issues with venue for settlement approval.
       0.3    150 Attend call with co-counsel regarding negotiation with mediator regarding venue of settlement approval and review emails accordingly.
       0.4    200 Emails and conversation with co-counsel regarding email from mediator and venue for settlement approval.
       0.5    250 Emails with co-counsel to set up call to discuss. Conference call with co-counsel regarding the same.
       0.5    250 Review proposed report regarding status of settlement. Multiple emails with co-counsel regarding the same.
       0.5    250 Prepare for and attend conference call with the mediator regarding the venue for settlement approval.
       0.3    150 Multiple emails regarding the venue for the settlement approval.
       0.8    400 Review and revise the MOU. Email to co-counsel accordingly.
       0.2    100 Review further revisions to the MOU. Emails with co-counsel accordingly.
       0.1     50 Review final revised MOU sent to OPC and upload to CLIO.
         1    500 Review numerous emails from OPC and co-counsel regarding revisions and additions to the MOU.
       0.8    400 Conference call with co-counsel to go over the terms of the settlement agreement.
       0.3    150 Review multiple emails between OPC and co-counsel regarding the MOU, settlement, and call with Lisa.
       0.1     50 More emails with co-counsel and Lisa regarding call today.
       0.1     50 More emails regarding call with co-counsel.
         1    500 Call with co-counsel before call with OPC. Conference call with OPC and mediator. Follow up call with co-counsel.
       0.5    250 Review the MOU and more emails regarding the MOU with co-counsel and OPC.
       0.2    100 Review more emails from OPC and co-counsel regarding the MOU and the release language.
       0.2    100 More emails and correspondence with co-counsel regarding the MOU and obtaining signatures.
       0.8    400 More emails with co-counsel and OPC regarding the MOU. Emails with client regarding the settlement and MOU. Coordinate execution of the MOU by client. Obtain signatures from other parties and upload to CLIO.
         1    500 Review the settlement agreement. Comment and revise and email to co-counsel.
       0.2    100 Review order setting telephonic hearing regarding dismissal and settlement and calendar accordingly.
       0.3    150 Review quotes for settlement administration and emails regarding the same.
       0.4    200 Review the final version of the settlement agreement and execute. Emails with co-counsel regarding the same and regarding obtaining client's signature.
       0.1     50 Emails with staff regarding status of client signature.
       0.2    100 Obtain signed agreement and review client's signature. Emails with staff accordingly. Email to co-counsel with signed agreement.
       0.3    150 Review notice of class settlement and emails with co-counsel regarding the same and necessary revisions.

TASK 23: Motion for Preliminary Approval
Attorney Rate        Hours     Fee
Shani O. $500/hr            11 $5,500
Zakay
       1.2      600 Review and revise Plaintiffs' motion for preliminary approval.
       0.5      250 Review final version of the MPA and emails regarding the same. Review settlement agreement with more revisions from defense and emails regarding the same.
       0.2      100 Review email from co-counsel and email from court regarding court order on MPA. Calendar deadline to file accordingly Emails with staff regarding status of client's execution of settlement agreement.
       0.1       50 Review emails between counsel and revise MPA for circulation. Upload to CLIO.




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      0.5       250   Review joint stipulation and order and proposed order to transfer case to central district. Review stipulation to stay PAGA action. Emails with co-counsel accordingly.
      0.1        50   Emails with co-counsel regarding new filing deadline for MPA.
        4      2000   More work on the MPA
      1.5       750   Draft declaration in support of MPA
      0.6       300   More work on the motion for preliminary approval. Emails regarding the same.
      0.1        50   Emails with co-counsel regarding appearance on Monday.
        1       500   Prepare for and attend MPA hearing. Follow up call with co-counsel.
      0.2       100   Review Court Order regarding MPA and upload to CLIO.
      0.3        45   Left message with District Court Clerk Re Status of the Order filed in December 2020 - T.D.
      0.1        50   Review and approve joint request for ruling.
      0.1        50   Review and approve the joint request for ruling.
      0.5       250   Review preliminary approval order and discuss with co-counsel. Provide instructions to staff accordingly.




TASK 25: Misc. Document Review, Legal Research, Conferences with Co-Counsel
Attorney Rate       Hours      Fee
Shani O. $500/hr            9.7 $4,850
Zakay
       0.5      250 Review Dart decision and review 2014 certification order in preparation for call today. Email co-counsel with analysis.
       0.5      250 Multiple emails and conference call with co-counsel to discuss claims in preparation for call with OPC.
       1.2      600 Attend conference call with OPC. Review various documents following up the phone call.
       0.2      100 Emails with co-counsel regarding call yesterday.
       0.2      100 Emails and telephone conversation with co-counsel regarding additional class reps.
       0.1       50 Emails with co-counsel to schedule conference call.
       0.4      200 Conference call with co-counsel to discuss status and claims and strategy moving forward.
       0.5      250 Prepare for and hold conference call with OPC.
       0.4      200 Conference call with co-counsel regarding strategy of coordinating cases.
       0.3      150 Review multiple emails regarding call with OPC, motion to stay, discovery, mediation, and other issues.
       0.8      400 Prepare for and attend conference call with co-counsel and Matern regarding strategy moving forward.
       0.6      300 Prepare for and attend call with co-counsel to discuss status of the case, mediation, and JPA. Discussion with JCL regarding the same and strategy moving forward.
         1      500 Telephone conversation with co-counsel to discuss strategy moving forward and possible addition of ADP to the case. Meeting with co-counsel to discuss.
       0.2      100 More emails with co-counsel regarding scheduling of a call.
       0.2      100 Multiple emails with co-counsel regarding scheduling of conference call today.
       0.5      250 Prepare for and attend conference call with co-counsel and Matern.
       0.5      250 Review newly filed case. Emails to set up a call. Emails with co-counsel regarding the same.
         1      500 Call with OPC and co-counsel. Review complaint in related matter. Call with John Scheppach.
       0.4      200 Follow up call to discuss conversation with schepach with JCL. Follow up call to discuss conversation with Schepach with Scott.
       0.2      100 Emails with Schepach with the Schlieser complaint regarding the 2802 claim.




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                                                                            JCL LAW FIRM
                                                     (002-058) Van Cleave v. Sunrise Senior Living Management, LLC
                                                                         ALL TIME ENTRIES

                                                                                  TASK # 1
                                                              PRE-FILING INVESTIGATION AND RESEARCH
   Date            Attorney                                                      Description                                      Rate      Hours        Fee
11/16/2018   Jean Claude Lapuyade    Fact Investigation - R&R Client File                                                         $400.00        3.3    $1,320.00
11/29/2018   Jean Claude Lapuyade    Fact Investigation - Client Meeting                                                          $400.00        3.4    $1,360.00
12/03/2018   Jean Claude Lapuyade    Fact Investigation - Claim Analysis                                                          $400.00        7.9    $3,160.00
12/03/2018   Jean Claude Lapuyade    Legal Research - Dart, Regular Rate, Meal, Rest Non Discretionary Bonus                      $400.00        7.7    $3,080.00
12/04/2018   Jean Claude Lapuyade    Draft, Read, Review, Revise and Edit Complaint                                               $400.00        3.7    $1,480.00
                                                                                                               SUMS for TASK #1                   26   $10,400.00

                                                                              TASK # 2
                                                                   DRAFT, FILE, SERVE, COMPLAINT
   Date          Attorney                                                    Description                                          Rate      Hours        Fee
12/05/2018 Jean Claude Lapuyade Draft and Edit Complaint                                                                          $400.00        5.1    $2,040.00
12/05/2018 Jean Claude Lapuyade Draft, Read, Review, Revise and Edit Complaint                                                    $400.00        3.3    $1,320.00
                                                                                                            SUMS for TASK # 2                    8.4    $3,360.00

                                                                                TASK # 3
                                      MOTION FOR REMOVAL, REMAND, MOTION TO DISMISS AND MOTION TO AMEND
   Date            Attorney                                                   Description                                         Rate      Hours        Fee
01/08/2019   Jean Claude Lapuyade    Read, Review and Analyze Removal Motion                                                      $400.00        6.5    $2,600.00
01/10/2019   Jean Claude Lapuyade    Read and Review Minute Order Re Recusal                                                      $400.00        0.7      $280.00
01/12/2019   Jean Claude Lapuyade    Legal Research - Remand                                                                      $400.00        4.2    $1,680.00
01/14/2019   Jean Claude Lapuyade    Legal Research - Remand                                                                      $400.00        1.9      $760.00
01/16/2019   Jean Claude Lapuyade    Read, Review and Legal Reserch Motion to Dismiss                                             $400.00        5.5    $2,200.00
02/11/2019   Jean Claude Lapuyade    Draft, Revise and Review Remand Motion                                                       $400.00        5.6    $2,240.00
01/28/2019   Jean Claude Lapuyade    Drafted JM to Amend                                                                          $400.00        1.5      $600.00
                                                                                          SUMS for TASK # 3                                    25.9    $10,360.00

                                                                               TASK # 4
                                                       JOINT MOTION TO CONTINUE RESPONSE DATES
   Date          Attorney                                                    Description                                          Rate      Hours        Fee
02/24/2019 Jean Claude Lapuyade Draft Joint Stip to Extension to Respond                                                          $400.00        1.2      $480.00
03/17/2019 Jean Claude Lapuyade Draft Joint Stipulation for Extension of Time to Repond                                           $400.00        0.8      $320.00
04/08/2019 Jean Claude Lapuyade Draft, Revise and Review Stip to Stay and Notice of Related Case                                  $400.00        1.1      $440.00
                                                                                                 SUMS for TASK # 4                               3.1    $1,240.00

                                                                    TASK # 5
                                                RESEARCH, DRAFT, FILE AND SERVE PAGA COMPLAINT
    Date          Attorney                                         Description                                                     Rate     Hours        Fee
04/22/2019 Jean Claude Lapuyade Legal Research PAGA Complaint                                                                     $400.00        5.9    $2,360.00
04/25/2019 Jean Claude Lapuyade Drafted PAGA Complaint                                                                            $400.00        4.2    $1,680.00
04/29/2019 Jean Claude Lapuyade Drafted PAGA Complaint                                                                            $400.00        2.1      $840.00
                                                                                         SUMS for TASK # 5                                      12.2    $4,880.00

                                                                                  TASK # 6
                                                          PREPARATION FOR SETTLEMENT CONFERENENCE
   Date            Attorney                                                     Description                                       Rate      Hours        Fee
06/03/2019   Jean Claude Lapuyade    Read, Review and Analyze Data for Mediation                                                  $500.00        6.2    $3,100.00
06/12/2019   Jean Claude Lapuyade    TCW Counsel Re Data and Mediation                                                            $500.00          1      $500.00
06/14/2019   Jean Claude Lapuyade    Legal Research - Mediation Brief Regular Rate                                                $500.00        4.7    $2,350.00
06/14/2019   Jean Claude Lapuyade    Read and Review Correspondence from OC Re Settlement Conference                              $500.00        0.3      $150.00
06/26/2019   Jean Claude Lapuyade    Fact Investigation - R&R Payroll Codes                                                       $500.00          1      $500.00
07/09/2019   Jean Claude Lapuyade    Read, Review and Analyze Memo and Case Law Re Bonus Codes                                    $500.00        3.2    $1,600.00
07/09/2019   Jean Claude Lapuyade    Researched - Discretionary Bonus Issue                                                       $500.00        7.4    $3,700.00
07/15/2019   Jean Claude Lapuyade    Draft and Revise Section on ND Bonus                                                         $500.00        4.1    $2,050.00
                                                                                                     SUMS for TASK # 6                         27.9    $13,950.00

                                                                        TASK # 7
                                                            ATTEND SETTLEMENT CONFERENCE
   Date          Attorney                                              Description                                                Rate      Hours        Fee
08/11/2019 Jean Claude Lapuyade Travel to Settlement Conference                                                                   $500.00        6.5    $3,250.00
08/12/2019 Jean Claude Lapuyade Attended Settlement Conference                                                                    $500.00          7    $3,500.00
08/12/2019 Jean Claude Lapuyade Travel Back from Settlement Conference                                                            $500.00        5.2    $2,600.00
                                                                                                            SUMS for TASK # 7                  18.7     $9,350.00

                                                                              TASK # 8
                                                                     MOTION TO TRANSFER VENUE
   Date             Attorney                                                 Description                                          Rate      Hours        Fee
08/16/2019   Jean Claude Lapuyade    Legal Research Re Transfer                                                                   $500.00        3.8    $1,900.00
10/17/2019   Jean Claude Lapuyade    Legal Research - Transfer of Venue Motion                                                    $500.00        4.3    $2,150.00
10/17/2019   Jean Claude Lapuyade    TCW JT, TK, KS RE Change of Venue Motion                                                     $500.00        0.6      $300.00
10/25/2019   Jean Claude Lapuyade    Edited and revised response to change of venue version 1                                     $500.00        1.7      $850.00
10/26/2019   Jean Claude Lapuyade    Revised and Edited Response to Change of Venue                                               $500.00        1.5      $750.00
10/28/2019   Jean Claude Lapuyade    Revised and Edited Response to Change of Venue                                               $500.00        0.9      $450.00
11/08/2019   Jean Claude Lapuyade    Motions R&R Motion to Transfer Reply                                                         $500.00        1.8      $900.00
11/10/2019   Jean Claude Lapuyade    Legal Research - Reply Motion to Transfer                                                    $500.00        0.9      $450.00
                                                                                                            SUMS for TASK # 8                  15.5     $7,750.00

                                                                            TASK # 9
                                                          STIPULATION TO STAY PAGA ACTION
   Date          Attorney                                                  Description                                            Rate      Hours        Fee
09/13/2019 Jean Claude Lapuyade Read, Review and Edit Proposed Stip to Stay PAGA Action                                           $500.00        0.5      $250.00
11/14/2019 Jean Claude Lapuyade Read, Review, Edit and Analyze Motion to Stay                                                     $500.00        3.1    $1,550.00
                                                                                                            SUMS for TASK # 9                    3.6    $1,800.00




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                                                                                  TASK # 10
                                                        PREPARE AND ATTEND ENE IN SOUTHERN DISTRICT
   Date              Attorney                                                    Description                                             Rate      Hours        Fee
10/15/2019    Jean Claude Lapuyade    Read, Review and Analyze Defendant Time and Payroll Data Produced Pursuant to Settlement Discuss   $500.00        6.7    $3,350.00
10/15/2019    Jean Claude Lapuyade    Read, Review and Analyze Defendant's Settlement Offer and Data                                     $500.00        7.3    $3,650.00
11/05/2019    Jean Claude Lapuyade    TCW Co- Counsel Re Claim Status                                                                    $500.00          1      $500.00
11/08/2019    Jean Claude Lapuyade    Read, Review, Edit Letter to OC Re Settlement Status                                               $500.00        1.5      $750.00
11/15/2019    Jean Claude Lapuyade    Drafted Email to Counsel Re Mediation                                                              $500.00          1      $500.00
11/26/2019    Jean Claude Lapuyade    TCW S. Brooks Re Mediation                                                                         $500.00        0.7      $350.00
12/02/2019    Jean Claude Lapuyade    Drafted ENE Statement                                                                              $500.00        1.5      $750.00
12/02/2019    Jean Claude Lapuyade    TCW OC A. Allen Re ENE                                                                             $500.00        0.7      $350.00
12/02/2019    Jean Claude Lapuyade    TCW Co Cousnel S Brooks Re ENE                                                                     $500.00        0.6      $300.00
12/03/2019    Jean Claude Lapuyade    TCW Co Counsel TK Re ENE Brief                                                                     $500.00        0.6      $300.00
12/06/2019    Jean Claude Lapuyade    Prepared for ENE Reviewed Pleadings, Drafted Brief, and Damage Reports                             $500.00        3.5    $1,750.00
12/10/2019    Jean Claude Lapuyade    Attended ENE                                                                                       $500.00          6    $3,000.00
01/06/2020    Jean Claude Lapuyade    Attended TCW Mag. Goddard Re ENE Follow Up                                                         $500.00        0.4      $200.00
                                                                                                              SUMS for TASK # 10                      31.5    $15,750.00

                                                                                   TASK # 11
                                                                  PAGA STATE COURT ACTION CMC
   Date             Attorney                                                      Description                                            Rate      Hours        Fee
10/28/2019    Jean Claude Lapuyade    Revised and Edited PAGA CMS                                                                        $500.00        0.5      $250.00
11/15/2019    Jean Claude Lapuyade    Attended CMC                                                                                       $500.00        2.5    $1,250.00
   7/8/2021   Jean Claude Lapuyade    Drafted Joint Status Report                                                                        $500.00        1.5      $750.00
  7/12/2021   Jean Claude Lapuyade    Read, Review and Revised Joint Stipulation to Continue CMC                                         $500.00          2    $1,000.00
                                                                                                             SUMS FOR TASK # 11                         6.5    $3,250.00

                                                                             TASK # 12
                                                 PLAINTIFF'S DISCOVERY RESPONSES (Southern District)
   Date           Attorney                                                  Description                                                  Rate      Hours        Fee
 12/01/2019 Jean Claude Lapuayde Read, Review and Analyze Defendant's Discovery Requests                                                 $500.00        1.3      $650.00
 12/10/2019 Jean Claude Lapuayde TCW Client Re Discovery Responses                                                                       $500.00        1.5      $750.00
01/08/2020 Jean Claude Lapuyade Read, Review and Edit Plaintiffs Draft Discovery Responses                                               $500.00        2.2    $1,100.00
                                                                                           SUMS FOR TASK #12                                              5    $2,500.00

                                                                             TASK # 13
                                                                      FEBRUARY 2020 MEDIATION
   Date             Attorney                                                Description                                                  Rate      Hours        Fee
01/03/2020    Jean Claude Lapuyade    TCW OC Re Mediation                                                                                $500.00        0.5      $250.00
02/07/2020    Jean Claude Lapuyade    Fact Investigation - Data Analysis for Magadia Claim                                               $500.00        6.3    $3,150.00
02/10/2020    Jean Claude Lapuyade    Fact Investigation - Data Analysis Regular Rate Claim                                              $500.00        5.4    $2,700.00
02/12/2020    Jean Claude Lapuyade    Legal Research for Mediation Brief _ Magadia and Regular Rate                                      $500.00        4.2    $2,100.00
02/20/2020    Jean Claude Lapuyade    Mediation Prep. R&R Statements                                                                     $500.00        1.4      $700.00
02/21/2020    Jean Claude Lapuyade    Read, Review and Analyze Damages Model                                                             $500.00        2.3    $1,150.00
02/24/2020    Jean Claude Lapuyade    Attended Mediation                                                                                 $500.00         14    $7,000.00
04/08/2020    Jean Claude Lapuyade    TCW Co Counsel Re Proposal                                                                         $500.00        0.6      $300.00
04/08/2020    Jean Claude Lapuyade    TCW Mediator Klerman re Proposal                                                                   $500.00        0.5      $250.00
                                                                                                              SUMS FOR TASK #13                       35.2    $17,600.00

                                                                                TASK # 14
                                                 DRAFTING, EDITING AND FINALIZING SETTLEMENT DOCUMENTS
   Date             Attorney                                                   Description                                               Rate      Hours        Fee
04/13/2020    Jean Claude Lapuyade    Drafted Status Letter to Client                                                                    $500.00        2.2    $1,100.00
04/16/2020    Jean Claude Lapuyade    TCW Client Re Settlement Status                                                                    $500.00        0.6      $300.00
04/27/2020    Jean Claude Lapuyade    Drafted Email to OC Re MOU                                                                         $500.00        0.3      $150.00
04/27/2020    Jean Claude Lapuyade    TCW Co-Counsel SB Re Settlement Status                                                             $500.00        0.3      $150.00
05/14/2020    Jean Claude Lapuyade    Draft, Revise, Edit Settlement Agreement                                                           $500.00        1.1      $550.00
05/15/2020    Jean Claude Lapuyade    TCW Co Counsel Re Settlement Agreement Edits                                                       $500.00        1.3      $650.00
06/22/2020    Jean Claude Lapuyade    Read, Review and Edit Settlement Agreement and Executed SAR                                        $500.00        0.8      $400.00
                                                                                                  SUMS FOR TASK #14                                     6.6    $3,300.00

                                                                  TASK # 15
                                                       MOTION FOR CLASS CERTIFICATION
   Date          Attorney                                        Description                                                             Rate      Hours        Fee
12/05/2019 Jean Claude Lapuyade TCW Counsel SB Re MCC and JPA                                                                            $500.00        0.5     $250.00
                                                                                                              SUMS FOR TASK #15                         0.5     $250.00

                                                                           TASK # 16
                                                   PLAINTIFF'S DISCOVERY REQUESTS (PAGA ACTION)
  Date            Attorney                                                Description                                                    Rate      Hours        Fee
12/07/2019 Jean Claude Lapuyade Drafted Edited, Revised SI to Defendant                                                                  $500.00        2.4    $1,200.00
12/12/2019 Jean Claude Lapuyade Reviewed Edited, Revised Form Roggs to Defendant                                                         $500.00        1.5      $750.00
12/12/2019 Jean Claude Lapuyade Reviewed Edited, Revised RFP to Defendant                                                                $500.00        0.7      $350.00
                                                                                          SUMS FOR TASK #16                                             4.6    $2,300.00

                                                                                   TASK # 17
                                                                 MOTION FOR PRELIMINARY APPROVAL
   Date             Attorney                                                     Description                                             Rate      Hours        Fee
06/05/2020    Jean Claude Lapuyade    Read, Review and Revise Preliminary Approval Motion with Edits to JT                               $500.00        2.7    $1,350.00
06/08/2020    Jean Claude Lapuyade    Review and Edit Motion for Preliminary Approval                                                    $500.00        1.9      $950.00
06/09/2020    Jean Claude Lapuyade    Draft Correspondence to Counsel Re Preliminary Approval Hearing                                    $500.00        0.3      $150.00
06/19/2020    Jean Claude Lapuyade    TCW Co-Counsel Re Approval Hearing Date                                                            $500.00        0.5      $250.00
07/06/2020    Jean Claude Lapuyade    Drafted Declaration for Preliminary Approval                                                       $500.00          3    $1,500.00
07/07/2020    Jean Claude Lapuyade    Read, Review, Revise and Edit Class Notice                                                         $500.00        0.4      $200.00
07/08/2020    Jean Claude Lapuyade    Drafted Fees Tables                                                                                $500.00        4.9    $2,450.00
07/07/2021    Jean Claude Lapuyade    Read and Reviewed Preliminary Approval Order                                                       $500.00        1.5      $750.00
                                                                                                              SUMS FOR TASK #17                       15.2     $7,600.00




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                                   JCL LAW FIRM
           (002-058) Van Cleave v. Sunrise Senior Living Management, LLC
                                     TABLE #1

                                   TASK # 1
                  PRE-FILING INVESTIGATION AND RESEARCH
      Attorney        Rate   Hours                 Fee
Jean-Claude Lapuyade $400.00   26               $10,400.00


                                   TASK # 2
                       DRAFT, FILE, SERVE, COMPLAINT
      Attorney        Rate   Hours                  Fee
Jean-Claude Lapuyade $400.00  8.4                $3,360.00


                                   TASK # 3
OTION FOR REMOVAL, REMAND, MOTION TO DISMISS AND MOTION TO AMEN
      Attorney        Rate   Hours             Fee
Jean-Claude Lapuyade $400.00  25.9          $10,360.00


                                   TASK # 4
                JOINT MOTION TO CONTINUE RESPONSE DATES
      Attorney        Rate   Hours               Fee
Jean-Claude Lapuyade $400.00  3.1             $1,240.00


                                   TASK # 5
            RESEARCH, DRAFT, FILE AND SERVE PAGA COMPLAINT
      Attorney        Rate   Hours                Fee
Jean-Claude Lapuyade $400.00  12.2             $4,880.00


                                   TASK # 6
                PREPARATION FOR SETTLEMENT CONFERENCE
      Attorney        Rate   Hours              Fee
Jean-Claude Lapuyade $500.00  27.9           $13,950.00


                                   TASK # 7
                      ATTEND SETTLEMENT CONFERENCE
      Attorney        Rate   Hours               Fee
Jean-Claude Lapuyade $500.00  18.7            $9,350.00


                                   TASK # 8
                        MOTION TO TRANSFER VENUE
      Attorney        Rate   Hours                Fee
Jean-Claude Lapuyade $500.00 15.5              $7,750.00


                                   TASK # 9
                     STIPULATION TO STAY PAGA ACTION
      Attorney        Rate   Hours                 Fee
Jean-Claude Lapuyade $500.00  3.6               $1,800.00


                                   TASK # 10
              PREPARE AND ATTEND ENE IN SOUTHERN DISTRICT
      Attorney        Rate   Hours               Fee
Jean-Claude Lapuyade $500.00  31.5            $15,750.00


                                   TASK # 11
                       PAGA STATE COURT ACTION CMC
      Attorney        Rate   Hours                 Fee
Jean-Claude Lapuyade $500.00  6.5               $3,250.00




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                                   TASK # 12
                      PLAINTIFF'S DISCOVERY RESPONSES
      Attorney        Rate   Hours                  Fee
Jean-Claude Lapuyade $500.00   5                 $2,500.00


                                    TASK # 13
                           FEBRUARY 2020 MEDIATION
      Attorney        Rate    Hours                 Fee
Jean-Claude Lapuyade $500.00   35.2              $17,600.00


                                   TASK # 14
       DRAFTING, EDITING AND FINALIZING SETTLEMENT DOCUMENTS
      Attorney        Rate   Hours               Fee
Jean-Claude Lapuyade $500.00  6.6             $3,300.00


                                   TASK # 15
                      MOTION FOR CLASS CERTIFICATION
      Attorney        Rate   Hours                 Fee
Jean-Claude Lapuyade $500.00  0.5                $250.00


                                   TASK # 16
                   PLAINTIFF'S DISCOVERY REQUESTS PAGA
      Attorney        Rate   Hours                 Fee
Jean-Claude Lapuyade $500.00  4.6               $2,300.00


                                   TASK # 17
                    MOTION FOR PRELIMINARY APPROVAL
      Attorney        Rate   Hours                Fee
Jean-Claude Lapuyade $500.00  15.2             $7,600.00


                              TASK # 18
             SETTLEMENT ADMINISTRATION & FINAL APPROVAL




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                                                      JCL LAW FIRM
                              (002-058) Van Cleave v. Sunrise Senior Living Management, LLC

                                              TABLE #2 - HOURS BY TASK

      Attorney         Rate                            Hours by Task                                   Total
Jean-Claude Lapuayde   $400    Task                                           Hours on Task     Hours: 75.6
                               #1 Pre-Filing Investigation                                   26 Amount: $30,240
                               #2 Draft, File, Serve Complaint                              8.4
                               #3 Removal, Remand, MTD                                    25.9
                               #4 JM to Continue Dates                                      3.1
                               #5 Research, Draft, File, Serve PAGA Complaint             12.2
Jean-Claude Lapuayde   $500    Task                                           Hours on Task     Hours: 177.2
                               #6 Preparation for Settlement Conference                   27.9 Amount: $88,600
                               #7 Attend Settlement Conference                            18.7
                               #8 Motion to Transfer Venue                                15.5
                               #9 Stipulation to Stay PAGA Action                           3.6
                               #10 Prepare and Attend ENE (Southern District)             31.5
                               #11 PAGA State Court CMC                                     6.5
                               #12 Plaintiff's Discovery Responses (S.D.)                     5
                               #13 February 2020 Mediation                                35.2
                               #14 Draft, Edit, Finalize Settlement Documents               6.6
                               #15 Motion for Class Cert                                    0.5
                               #16 Plaintiff's Discovery Requests                           4.6
                               #17 Motion for Preliminary Approval                        15.2
                               #18 Settlement Administration & Final Approval               6.4
Total                                                                                           Hours: 252.8
                                                                                                Amount: $118,840




                                              EXHIBIT 9, Page 122
